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                  Exhibit 1
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                             United States District Court
_ _ _ __.C=E=N....T.....RA=L""------ DISTRICT OF ------'C=A=L=I=F_.O"""RN'-="-IA=---------

              In the Matter of the Seizure of
                                                               APPLICATION AND AFFIDAVIT
(Address or Brief description of property or premises to be seized)


Any and all funds held in Knab Battf,~eetlttftt----------,FOR SEIZURE WARRANT
# NL15KNAB0255357664                          FILED
                                    CLERK, U.S. DISTRICT COfflSE UMBER: 2: 18-MJ-01000


                                                                        I   APR 26 2018                  I
                                                                      CENTRAL DISTRICT OF CALIFORNIA

I, LYNDON A. VERSOZA, being duly ~W:!!O!!_!rjjffb'._Y~cl~~~~!!:t==~D:EP~U~T'._'.Y~_J

I am a United States Postal Inspector with the United States Postal Inspection Service, and I have reason to believe that
in the              KINGDOM OF THE NETHERLANDS                               and elsewhere there is now concealed a certain
person or property' namely (describe the person or property to be sei,:ed)

Any and all funds held in Knab Bank Account# NL15KNAB0255357664

which is (state one or more bases for seizure under United States Code)

subject to seizure and forfeiture underl8 U.S.C. § 98l(a)(l)(A) and (C)

concerning a violations of Title ...IB_ United States Code, Sections 1952 1956 and 1957.

The facts to support a finding of Probable Cause for issuance of a Seizure Warrant are as follows:

Continued on the attached sheet and made a part hereof.                               X Yes     No




                                                                                                                                                  Isl
                                                                                                              Signature of Affiant

Sworn to before me, and subscribed in my presence


                  April 26 2018                                                                           Los Angeles, CA
Date


Hon. JOHN E. MCDERMOTT, U.S. Magistrate Judge
Name and Title of Judicial Officer
                                                                                              ft~Nw-t--_
                                                                                              ,._, ... e----------.-. _, ..., ... "------------- ................ _,_, ...


John Kucera:drb




                                                                                                                                                                             DOJ-BP-0004598397
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                AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

   I, Lyndon A. Versoza, being duly sworn, hereby depose and state

  as follows:

         I.     TRAINING AND EXPERIENCE

         1.     I am a United States Postal Inspector employed by the

  United States Postal Inspection Service ("USPIS"), Los Angeles

  Division, in Los Angeles, California, where I have served since

   June 2005.     Currently, I am responsible for investigating

  criminal violations of money laundering and structuring laws,

  such as when United States Postal Service ("USPS") Money Orders

  or the United States Mail are used as a means to launder or

  structure funds.       During my career as a Postal Inspector, I have

  participated in or investigated financial violations including

  money laundering, darknet investigations, digital currency

  investigations, structuring, bank, wire and mail fraud, and

  identity theft.       In addition,    I have received both formal and

  informal training from USPIS and other agencies regarding money

  laundering and financial crimes.            For approximately five years

  prior to investigating money laundering, I was assigned to

  investigate child exploitation and sex trafficking.                 In that

  assignment,     I worked both independently and in a task force

  where I led and participated in investigations related to crimes

  involving the exploitation of children and sex trafficking.




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         2.    Prior to my service as a U.S. Postal Inspector, I

  attended the University of Southern California in Los Angeles,

  where, in 2001, I received a bachelor's degree.               While in

  college, I was the website administrator for a non-profit media

  company in Los Angeles where, among other things, I learned

  about domain names, domain name servers, and remote hosting.

   Following college, from 2002 to 2005, I served as a law

  enforcement officer with the U.S. Immigration and Naturalization

  Service, which later became U.S. Customs and Border Protection.

  There, among other things, I worked on cases involving human

  smuggling and international sex trafficking.

         3.    I am familiar with the facts and circumstances

  described herein.        This affidavit is based upon my personal

  involvement in this investigation, my training and experience,

  and information obtained from various law enforcement personnel

  and witnesses, including information that has been reported to

  me either directly or indirectly.             This affidavit does not

  purport to set forth my complete knowledge or understanding of

  the facts related to this investigation.              Unless specifically

  indicated otherwise, all conversations and statements described

  in this affidavit are related in substance and part only.                  All

   figures, times, and calculations set forth herein are

  approximate.



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          II.     Sill-1MARY AND PURPOSE OF AFFIDAVIT

          4.      This affidavit is made in support of applications for

  warrants to seize all funds held in certain SUBJECT ACCOUNTS,

  all owned or controlled by "Backpage.com" (referred to herein as

  "Backpage"), associated entities, and their owners and

  operators.

               A. Background

          5.      This case is being investigated by the USPIS, the

   Federal Bureau of Investigation ("FBI") and the Internal Revenue

  Service-Criminal Investigation ("IRS-CI"), with assistance from

  the Los Angeles Joint Regional Intelligence Center.

          6.      The focus of the investigation has been on violations

  by Backpage, its associated entities, and their owners and

  operators, of Title 18, United States Code, Sections

  1952 (a) (3) (A) and (b) (i) (1)    (Interstate and Foreign Travel in

  Aid of Racketeering Enterprise); and Title 18 U.S.C.               §§   1956 and

  1957,    (Money Laundering) .

          7.      From speaking with other agents in this investigation,

  and reviewing emails, internal documents, and other records

  related to this investigation, I know the following:

                  a.   Backpage.com, LLC, incorporated in Delaware in

  2004, is an internet-based company that allows customers to post

  on-line classified advertisements.            These advertisements include

  sections dedicated to a variety of matters, including adult,

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  automotive, community, dating, jobs, local places, musicians,

  rentals and services.        Backpage receives between 75 million to

  100 million unique internet visitors per month.

               b.    Backpage realizes profits in the tens of millions

  of dollars per year from adult advertisement.               Historically,

  adult ads, where Backpage advertisers post sex trafficking ads,

  constitute less than ten percent of all advertisements posted on

  the website.      However, the adult ads generate over 90 percent of

  Backpage's revenue.        In short, Backpage derives almost all its

  revenue and profits from adult service ads, including

  advertising for sex trafficking. 1

               c.     In or about 2004, operators Michael Lacey

   ("Lacey"), James Larkin ("Larkin"), and Carl Ferrer ("Ferrer")

  created Backpage.        There were also two minority owners; John

  Brunst ("Brunst"), who owned 5.67 percent; and Scott Spear



    1According to Backpage accounting records, for the period May 1
  to May 31, 2014, over 90% of Backpage's revenues derived from
  what they characterized as "adult entertainment." Backpage's
  internal documents suggest that this 90% figure has been
  consistent since its 2004 inception.
    For example, between October 6, 2014, and May 31, 2015,
  Backpage grossed almost $105 million from advertising "adult
  entertainment." During this same period, Backpage grossed only
  $1.6 million from all other advertisements combined. Assuming
  that Backpage has accurately estimated that 90% of its revenues
  are generated from "adult" and "escort" ads, Backpage has
  generated as much as $500 million in prostitution-related
  revenue since 2004.



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   ("Spear"), who owned 4.09 percent.           From 2004 until 2015, Lacey

  and Larkin oversaw the website's policies and strategic

  direction.        In 2015, Lacy and Larkin purportedly sold all or

  substantially all of their interests in Backpage to Ferrer. 2

  However Lacey and Larkin retained significant control over the

  website, and both Lacey and Larkin continue to receive tens of

  millions of dollars of annual distributions of Backpage revenue.

               d.     While not an original owner, Ferrer was one of

  the original officers of Backpage, having initially served as

  Backpage's vice-president, and later as CEO.               Ferrer is also the

  CEO of several Backpage related entities in the Netherlands,

  including "Website Technologies," "Amstel River Holdings," and

  "Ad Tech BV."

               e.     Michael Thomas Gage ("Gage") has no formal

  position at Backpage, but is the President, Chief Executive

  Officer, Treasurer, and Secretary of another Backpage controlled

  entity, "Posting Solutions," a wholly owned subsidiary of

  Backpage that receives payments from Backpage advertisers.

  According to his social media profile, Gage is also the Chief




    2   From my review of financial records related to Ferrer's 2015
  agreement to purchase Backpage, it appears that, through a
  series of loans from other Backpage Operators to be repaid by
   Ferrer, Ferrer agreed to purchase Backpage for approximately
  $400 million.
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  Financial Officer of Website Technologies.             Based on emails he

  has sent and wire transfer information, Gage appears to control

  much of the international and domestic financial transactions of

  Backpage and its related entities.

               f.    Daniel Hyer ("Hyer") at one time was the Sales

  and Marketing Director of Backpage.             He remains an account

  signatory for Backpage controlled entities, including Website

  Technologies.

         8.    Throughout this affidavit, the individuals identified

  in paragraphs 7(c) through (f), along with others not named in

  this affidavit, are collectively referred to as the "Backpage

  Operators."

         9.    Based on a review of publicly available materials

  obtained in the course of the investigation, and my review of

  the Backpage website, I have learned the following:

               a.    The majority of the paid advertisements on the

  Backpage website relate to prostitution activities in violation

  of 18 U.S.C. §§ 1591 and 1252.

               b.    As further described below, Backpage itself, as

  well as its operators, who are in control of the SUBJECT

  ACCOUNTS    (as defined below), is in the business of promoting the

  trafficking of children and adults for sex.              Sex trafficking of

  adults is a violation of 18 U.S.C. § 1952, and sex trafficking

  of children is a violation of 18 U.S.C. 1591, each of which

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  statutes is a Specified Unlawful activity ("SUA'') within the

  meaning of federal law.        (see 18 U.S.C.     §   1956 (c) (7) (vii)).

               c.    The SUBJECT ACCOUNTS are located both inside and

  outside the United States.          The domestic accounts have received

  wire transfers from places outside of the United States or have

  received funds traceable to wire transfers from places outside

  of the United States, which funds Backpage has used to promote

  sex trafficking, in violation of 18 U.S.C.              §   1956(a) (2) (A)

   (International Money Laundering).            Some of the SUBJECT ACCOUNTS

  have received transfers or deposits in excess of $10,000

  traceable to the SUA, in violation of 18 U.S.C. § 1957                  (Money

  Laundering Spending Statute).

               d.    Backpage, until recently, controlled numerous

  domain names that have since been seized by the government

  pursuant to a seizure warrant issued in this district in case

  no. CR. Misc. 2:18-MJ-00711. 3         The Seized Domains are registered

  by "ASCIO TECHNOLOGIES INC" DBA "NETNAMES," a domain registrar

  that manages the reservation of internet domain names.                   A domain

  registrar serves to ensure that a registered domain name, like

  each of the Seized Domains, is not double sold.                 Additionally, a

  domain registration will allow the owner of the domain to direct




  3   The domain names seized pursuant to that warrant are referred to
  herein as the "seized domains."
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  internet traffic to a company's webserver.              The Seized Domains

  were found to have been acquired and maintained with funds

  traceable to the money laundering scheme described herein,

  specifically with funds from an account seized pursuant to a

  separate seizure warrant in case no. CR. Misc. 2:18-MJ-00721,

  and the Seized Domains were the mechanism Backpage used to

  promote the prostitution and sex trafficking activity described

  below.

            B. SUBJECT ACCOUNTS

          10.   This affidavit is offered in support of applications

  for warrants to seize all funds and securities held in the

  following U.S. and foreign bank accounts            4   (hereinafter referred

  to collectively as the "SUBJECT ACCOUNTS"):

                a.   SUBJECT ACCOUNT 16A: 5 Republic Bank of Arizona




    4   Pursuant to 18 U.S.C. § 981(b) (3), this Court has authority to
  issue a seizure order for foreign accounts              ("Notwithstanding the
  provisions of Rule 41(a) of the Federal Rules of Criminal
  Procedure, a seizure warrant may be issued .                  in any district
  in which a forfeiture action may be filed .                . and may be
  transmitted to the central authority of any foreign state for
  service with any treaty or other international agreement").
    5   The numbering of the subject accounts picks up from prior
  warrant applications for different accounts, the contents of
  which have already been seized.           See 18-MJ-711;     18-MJ-712; 18-
  MJ-713; 18-MJ-715; 18-MJ-716; 18-MJ-178; 18-MJ-720; 18-MJ-721;
  18-MJ-722; 18-MJ-723; 18-MJ-724; 18-MJ-751; 18-MJ-752; 18-MJ-
  797; and 18-MJ-798.
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   account number 11402485 is a money market account held in the

   name of Lacey.

                b.    SUBJECT ACCOUNT 16B: Republic Bank of Arizona

   account number 11101897 is a checking account held in the name

   of Lacey.

                c.    SUBJECT ACCOUNT 16C: Republic Bank of Arizona

   account number 11003126 is an account held in the name of Lacey.

                d.    SUBJECT ACCOUNT 16D:         Republic Bank of Arizona

   account number 1021078316 is a Certificate of Deposit Account

   Registry Service ("CDARS") account held in the name of Lacey.

                e.    SUBJECT ACCOUNT 16E: Republic Bank of Arizona

   account number 1021078324 is a CDARS account held in the name of

   Lacey.

                f.    SUBJECT ACCOUNT 16F: Republic Bank of Arizona

   account number 1021078332 is a CDARS account held in the name of

   Lacey.

                g.    SUBJECT ACCOUNT 16G: Republic Bank of Arizona

   account number 1021078103 is a CDARS account held in the name of

   Larkin.

                h.    SUBJECT ACCOUNT 16H: Republic Bank of Arizona

   account number 1021078162 is a CDARS account held in the name of

   Larkin.

                i.    SUBJECT ACCOUNT 16I: Republic Bank of Arizona

   account number 1021078189 is a CDARS account held in the name of

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   Larkin.

                j.    SUBJECT ACCOUNT 17: K&H Bank, located in Hungary,

   account number HU63104010935052676785761210, is an account held

   in the name of Primus Trust Company (Binghampton Trust)               for the

   benefit of Lacey.

                k.    SUBJECT ACCOUNT 18A: Fio Bank, located in the

   Czech Republic, account number CZ9020100000002300995803, is an

   account held in the name of Ad Tech BV, with Ferrer as the

   ultimate beneficial owner.

               1.     SUBJECT ACCOUNT 18B: Fio Bank, in the Czech

   Republic, account number CZ1220100000002000995801, is an account

   held in the name of Ad Tech BV, with Ferrer as the ultimate

   beneficial owner.

               m.     SUBJECT ACCOUNT 18C: Fio Bank, in the Czech

   Republic, account number CZ7120100000002600995805, is an account

   held in the name of Ad Tech BV, with Ferrer as the ultimate

   beneficial owner.

               n.     SUBJECT ACCOUNT 18D: Fio Bank, in the Czech

   Republic, account number CZ7020100000002001002226, is an account

   held in the name of Gold Leaf SRO.            All funds and securities in

   this account are held for Backpage.com by a third party, Gold

   Leaf SRO.

               o.     SUBJECT ACCOUNT 18E: Fio Bank, in the Czech

   Republic, account number CZ7620100000002101002231, is an account

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   held in the name of Gold Leaf SRO.            All funds and securities in

   this account are held for Backpage.com by a third party, Gold

   Leaf SRO.

                p.    SUBJECT ACCOUNT 18F: Fio Bank, in the Czech

   Republic, account number CZ8520100000002501002230, is an account

   held in the name of Gold Leaf SRO.            All funds and securities in

   this account are held for Backpage.com by a third party, Gold

   Leaf SRO.

                q.    SUBJECT ACCOUNT 18G: Fio Bank, in the Czech

   Republic, account number CZ4620100000002000914194, is an account

   held in the name of Protecctio SRO.            All funds and securities in

   this account are held for Backpage.com by a third party,

   Protecctio SRO.

                r.    SUBJECT ACCOUNT 18H: Fio Bank, in the Czech

   Republic, account number CZ2720100000002300914196, is an account

   held in the name of Protecctio SRO.            All funds and securities in

   this account are held for Backpage.com by a third party,

   Protecctio SRO.

                s.    SUBJECT ACCOUNT 18I: Fio Bank, in the Czech

   Republic, account number CZ0820100000002600914198, is an account

   held in the name of Protecctio SRO.            All funds and securities in

   this account are held for Backpage.com by a third party,

   Protecctio SRO.

                t.    SUBJECT ACCOUNT 18J: Fio Bank, in the Czech

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   Republic, account number CZ4820100000002801118083, is an account

   held in the name of Varicok Company SRO.             All funds and

   securities in this account are held for Backpage.com by a third

   party, Varicok Company SRO.

                u.    SUBJECT ACCOUNT 18K: Fio Bank, in the Czech

   Republic, account number CZ2020100000002701118086, is an account

   held in the name of Varicok Company SRO.             All funds and

   securities in this account are held for Backpage.com by a third

   party, Varicok Company SRO.

                v.    SUBJECT ACCOUNT 18L: Fio Bank, in the Czech

   Republic, account number CZ7620100000002901118080, is an account

   held in the name of Varicok Company SRO.             All funds and

   securities in this account are held for Backpage.com by a third

   party, Varicok Company SRO.

                w.    SUBJECT ACCOUNT 19A: Bank Frick, located in

   Liechtenstein, account number LI09 0881 1060 7717 K000 K, is an

   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

                x.    SUBJECT ACCOUNT 19B: Bank Frick, in

   Liechtenstein, account number LI30 0881 1060 7717 K000 U, is an

   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

                y.    SUBJECT ACCOUNT 19C: Bank Frick, in

   Liechtenstein, account number LI74 0881 1060 7717 K000 E, is an

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   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

                z.    SUBJECT ACCOUNT 19D: Bank Frick, in

   Liechtenstein, account number LI90 0881 1060 7717 K00l E, is an

   account held in the name of Ad Tech BV, and Ferrer is the

   ultimate beneficial owner.

                aa.   SUBJECT ACCOUNT 20: Knab Bank, located in the

   Netherlands, account number NL15KNAB0255357664, is an account

   held in the name of Procop Services BV.             All funds and

   securities in this account are held for Backpage.com by Procop

   Services BV.

                bb.   SUBJECT ACCOUNT 21A: Rabo Bank, in the

   Netherlands, account number NL44RABO0307182452, is an account

   held in the name of Gulietta Group BV.            All funds and securities

   in this account are held for Backpage.com by Guilietta Group BV.

                cc.   SUBJECT ACCOUNT 21B: Rabo Bank, in the

   Netherlands, account number NL64RABO0307604721, is an account

   held in the name of UniversAds BV.            All funds and securities in

   this account are held for Backpage.com by UniversAds BV.

         III. APPLICABLE LAW

         11.    There is probable cause to believe that funds and/or

   securities on deposit in the SUBJECT ACCOUNTS are subject to

   seizure and forfeiture by the United States under the following

   provisions:

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                    a.   18 U.S.C.   §   981(a) (1) (A), because the funds

   and/or securities are involved in, and traceable to, one or more

   transactions or attempted transactions in violation of 18 U.S.C.

   §    1956 (h)    (Conspiracy to Launder Money), 18 U.S.C.       §   1956 (a) (2)

   (International Money Laundering for Promotion), and 18 U.S.C. §

   1957     (Financial Transactions Involving Illicit Proceeds).

   Pursuant to 18 U.S.C.        §    981(a) (1) (A), any property involved in a

   transaction, or attempted transaction, in violation of 18 U.S.C.

   §§    1956 or 1957, or any property traceable to such property, is

   subject to forfeiture to the United States; and

                   b.    18 U.S.C.   §   981 (a) (1) (C), because the funds

   and/or securities constitute and are derived from proceeds

   traceable to one or more violations of 18 U.S.C. § 1956(h), 18

   U.S.C.     §    1956(a)(2), and 18 U.S.C.     §   1957.

           12.      Title 18 U.S.C. § 1956 prohibits, among other things,

   financial transactions involving the proceeds of SUAs

   committed or attempted (1) with the intent to promote further

   predicate offenses;        (2) with the intent to evade taxation;           (3)

   knowing the transaction is designed to conceal the source,

   location, ownership or control of the proceeds; or (4)                knowing

   the transaction is designed to avoid anti-laundering financial

   reporting requirements.            18 U.S.C. § 1956(h) prohibits two or

   more parties agreeing to accomplish the unlawful purpose of

   money laundering.

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         13.    Title 18 U.S.C. § 1957 prohibits a party from

   knowingly engaging in a monetary transaction in excess of

   $10,000 with property that is criminally derived from some SUA.

         14.    Title 18 U.S.C.     §   1956(a) (2)       (International Money

   Laundering for Promotion) makes it a crime to transport,

   transmit, or transfer, or attempt to transport, transmit, or

   transfer, monetary instruments or funds                 (including funds that

   are not criminal proceeds)           from the United States to or through

   a place outside the United States, or to the United States from

   or through a place outside the United States, with the intent to

   promote some SUA, as that term is defined in 18 U.S.C. §

   1956 (c) (7).

         15.    The "Travel Act," 18 U.S.C.           §   1952(a), an SUA,

   prohibits, in part, the use of the mail or any facility in

   interstate or foreign commerce with the intent to otherwise

   promote, manage, establish, carry on, or facilitate the

   promotion, management, establishment, or carrying on of any

   unlawful activity, by any person who thereafter performs or

   attempts to perform an act to promote, manage, establish, carry

   on, or facilitate the promotion, management, establishment and

   carrying on of such unlawful activity.                 "Unlawful Activity," as

   defined in 18 U.S.C. § 1952(b), includes prostitution offenses

   in violation of the laws of the state in which such acts are

   committed or in violation of the laws of the United States.

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   Prostitution is illegal in the State of California.                (Seer   e.g.,

   Cal. Penal Code§ 647(b) .)

          16.   Sex trafficking of juveniles or any person by means of

   force,   fraud or coercion, is a violation of 18 U.S.C. § 1591, an

   SUA.

      IV.       DIGITAL CURRENCY/BITCOIN

          17.   Digital currency (also known as crypto-currency) is

   generally defined as an electronic-sourced unit of value that

   can be used as a substitute for fiat currency (i.e., currency

   created and regulated by a sovereign government).               It exists

   entirely on the Internet and is not stored in any physical form.

   It is not issued by any government, bank, or company, but is

   instead generated and controlled through computer software

   operating on a decentralized peer-to-peer network.               Digital

   currency is not illegal in the United States and may be used for

   legitimate financial transactions.            However, it is often used to

   conduct illegal transactions, such as the sale of controlled

   substance, or as in this investigation, to purchase ads to

   promote prostitution.

          18.   Bitcoin is a type of digital currency accepted by

   Backpage.     Bitcoin payments are recorded on a public ledger that

   is maintained by peer-to-peer verification, and is thus not

   maintained by a single administrator or entity.              Individuals can

   acquire Bitcoins either by "mining" them or purchasing Bitcoins

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   from other individuals.        An individual can "mine" Bitcoins by

   allowing his/her computing power to verify and record the

   Bitcoin payments into a public ledger.             Individuals are rewarded

   for this by being given newly created Bitcoins.               Bitcoins can be

   bought and sold in fractions.

         19.    Backpage also accepts other digital currencies,

   including Litecoin, Bitcoin Cash, and Ether.              Sometimes called

   "alt-coins," because they are alternatives to Bitcoins, these

   digital currencies were created after Bitcoin to address

   perceived weaknesses or problems with Bitcoin technology.                 Based

   on my review of Backpage transactions, the majority of

   Backpage's digital currency transactions are in Bitcoin.

         20.   An individual can send and receive Bitcoins through

   peer-to-peer digital transactions or by using a third-party

   broker.     Such transactions can be done on any type of computer,

   including laptop computers and smart phones.

         21.    Digital currency is generally stored in digital

   "wallets," which essentially store the access codes that allows

   individuals to conduct digital currency transactions on the

   public ledger.      To access digital currency on the public ledger,

   an individual must use a public address            (or "public key")     and a

   private address      (or "private key").       The public address can be

   analogized to a bank account number, while the private key is

   like a password used to access an online account.

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         22.    Even though the public addresses of those engaging in

   Bitcoin transactions are recorded on the public ledger, the true

   identities of the individuals or entities behind the public

   addresses are not.       If, however, an individual or entity is

   linked to a public address, it would be possible to determine

   what transactions were conducted by that individual or entity.

   For these reasons, digital currency transactions are described

   as "pseudonymous," meaning they are partially anonymous.

      V. STATEMENT OF PROBABLE CAUSE

            A. Buying a Backpage Ad

         23.     In February 2018, I visited Backpage.com and, posing

   as an advertising purchaser, engaged in the regular process of

   posting an ad in the Backpage "Dating" section, which is one of

   the places on Backpage.com where prostitution ads are commonly

   found.      Through this process, I learned the following:

                 a.   A person looking to post an advertisement on

   Backpage (an "advertiser") must first create an account.                 Once

   an account is created, the advertiser clicks on a link called

   "Post an ad," which will then toggle certain categories

   regarding where the ad should be posted (e.g., "Los Angeles,"

   "Riverside," etc.) and under what category the ad should appear

   (e.g.,   "Dating," "Adult," etc.).         The advertiser also has the

   option to post pictures and videos.            In the adult sections,

   opting to post in more than one geographical area, or opting to

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   post more frequently occurring ads will increase the

   advertisement price.          Currently, Backpage.com charges $5 per ad

   posted in the adult sections.          In some of the non-adult and non-

   dating sections I checked, there was no charge at all to post an

   ad.

               b.         Once an advertiser selects the desired options,

   he or she is required to enter a phone number, a link to a

   social media page (such as Facebook), and an email address.                 The

   Backpage website claims to verify the advertiser's phone number

   before he or she can continue on to actually purchasing an ad.

                c.        In order to pay for Backpage ads, an advertiser

   must first buy "credits."          Backpage offers several ways for an

   advertiser to acquire credits:

                     i.       A Backpage advertiser may mail gift cards,

   checks, and money orders to "Posting Solutions" at a P.O. Box in

   Dallas, Texas      (as further described below, this P.O. Box is

   associated with Posting Solutions and SUBJECT ACCOUNT 1) . 6



     6   I have reviewed the cash purchase of USPS money orders
   subsequently directed to this P.O. Box.            Between September 2014
   and June 2016, several millions of dollars in money orders were
   purchased in what appears to have been structured transactions
   (i.e.,    transactions carried out in a manner intended to avoid
   certain reporting requirements that USPS maintains for money
   order purchases greater than $3000).           Based on my review,
   hundreds of these money orders include email addresses with
   words consistent with prostitution, such as "sex" or "sexy."
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                     ii.         Backpage directly accepts credit card

   payment through a third-party credit card payment processor.

                 iii.           Backpage also accepts several types of

   digital currency (specifically, Backpage accepts Bitcoin,

   Bitcoin Cash, Litecoin, and Ethereum).             If the advertiser

   selects this option, Backpage provides a digital currency wallet

   address where the advertiser can send the electronic transfer of

   the digital currency.

                     iv.        Backpage also accepts cash, but only through

   third party payment processors.           Based on information gathered

   during this investigation, I believe that once the third-party

   payment processor receives cash, it converts the cash into

   digital currency and then electronically transfers that digital

   currency to a Backpage digital currency wallet.

         24.    Digital Currency is processed through the subject

   accounts in the following way:

                a.         When Backpage receives digital currency, it will

   aggregate the digital currency and then transfer it to a third-

   party exchanger like GoCoin. 7




     7GoCoin is a digital currency exchanger that converts Bitcoin,
   Litecoin and another digital currency into fiat currency, like
   the U.S. Dollar or the Euro. GoCoin is owned by Manx
   Broadcasting Corporation, based in the Isle of Man.  GoCoin has
   offices in Singapore and Santa Monica, California and appears to
   hold bank accounts in several countries outside the United
   States.
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                b.    In exchange for the digital currency, the exchanger

   transfers U.S. dollars from its foreign bank accounts into

   Backpage operating accounts, such as SUBJECT ACCOUNT 1.                The

   exchanger, if it so elects, may then sell its Bitcoin on various

   Bitcoin markets.

         25.     I reviewed records obtained from GoCoin.           From this

   review,     I estimate that between 5 to 10 percent of the ads posted

   on Backpage.com are ads within the Central District of California

   (including Los Angeles and Orange Counties).             For example, between

   January 10 and February 3, 2016, approximately 500,000 ads were

   posted on Backpage.com and paid for with Bitcoin, for which

   Backpage received over $3,840,000 in revenue.              Of these

   approximately 500,000 ads, approximately 28,400 were posted only

   in LosAngeles.Backpage.com, Ventura.Backpage.com,

   SanLuisObispo.Backpage.com, OrangeCounty.Backpage.com, and

   SanGabrielValley.Backpage.com.          These specific ads generated

   approximately $184,479 in revenue.

             B. Backpage Promotion of Prostitution and Sex Trafficking

         26.     I have reviewed several Backpage ads that were used to

   sell minors for sex and forcibly traffic adult women for sex.                  I

   have also reviewed the criminal records of certain of the pimps

   and sex traffickers, most of whom were convicted after having used

   Backpage to advertise their victims.            From this review,     I learned

   the following:

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                a.    Between 2014 and 2015, a pimp sold S.F., a minor

   girl, for sex.       The pimp advertised S.F. on Backpage's "Escort"

   section in the Los Angeles area of California and in Arizona.                  The

   ad contained phrases such as "New In Town" and "Sexy Dark Asain

   Bombshell with a Nice & Tight {Booty}."            The ad selling S.F. on

   Backpage included multiple pictures showing her legs, stomach,

   shoulders and buttocks.        Later, the pimp was arrested and

   convicted on state sex trafficking charges, and sentenced to 196

   years imprisonment.

               b.     Between 2014 and 2015, the same pimp sold A.C., a

   minor girl, for sex.        In November 2014, at the age of 17, A.C. was

   first sold for sex through a Backpage ad using phrases such as

   "NEW IN TOWN," "sexy sweet," and "sweet like honey but super hot

   like fire."       The Backpage ad selling A.C. included pictures of her

   showing her legs, stomach, shoulder, and buttocks, and posed her

   in sexually provocative positions.

                c.    Between November 2015 and December 2015, in a

   different incident, a pimp drove two women and four minor girls

   (T.S., S.L., K.O., and R.W.)        from Columbus, Ohio to a hotel in St.

   Charles, Missouri.       The next day, the pimp told the girls to post

   ads on Backpage.com.       Some of the girls took calls and engaged in

   paid sex acts with Backpage customers who responded to the ads.

   The ads the girls posted included pictures of them sitting on the

   bed showing their buttocks.         Another image I saw was of a naked

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   girl's body pressed against a mirror.            Other pictures appeared

   more mundane, such as images of girls posing clothed in front of a

   mirror.    However, these ads used phrases like "I'm sweet as a

   treat maybe even sweeter" and "not a lot need to be said. my pie

   are 100% real."      In 2017, this pimp was convicted on sex

   trafficking charges and a federal court sentenced him to 300

   months in prison.

               d.     In or around 2010, in Washington, J.S., a minor

   girl, was sold for sex through the use of Backpage ads.                J. s.' s

   pimp drafted the ads that were placed a Backpage that contained

   words and phrases such as, "W'E'L'L_W'O'R'T'H I'T***/\***150HR" and

   "IT WONT TAKE LONG AT ALL."         The ads also included pictures of

   J.S. in provocative positions showing her breasts and buttocks.

   On March 29, 2011, the pimp who sold J.S. for sex was sentenced to

   over 26 years imprisonment on charges related to sex trafficking.

                e.    Between in or around 2011 and 2016, a female

   victim, D.O., who was between the ages of 14 and 19 during those

   years, was sold for sex through Backpage ads.              D.O.'s female pimp

   instructed D.O. that Backpage was the safest place to advertise

   because Backpage did not require age verification.               D.O.'s

   Backpage ads included words and phrases that were indicative of

   prostitution, such as "roses" (money) and "back door" (anal sex)

   Some of the customers who responded to D.O.'s Backpage ads forced

   D.O. to perform sexual acts at gunpoint, choked her to the point

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   of having seizures, and gang-raped her. 8

         27.    I have reviewed documents and reports from multiple

   state and government agencies and authorities regarding Backpage's

   promotion of sex trafficking and prostitution.              From these

   reports, and from my review of internal Backpage correspondence

   following Backpage management receiving these reports, I am aware

   that all levels of Backpage management are aware of Backpage's

   role in promoting criminal activity.            For example:

                a.    On September 21, 2010, a group of state attorneys

   general wrote a letter to Backpage observing that "ads for

   prostitution-including ads trafficking children-are rampant on the

   site," and arguing that "[b]ecause Backpage cannot, or will not,

   adequately screen these ads, it should stop accepting them



     8 Using these examples, I also reviewed financial transactions
   for some of these ads. Using email addresses and other
   identifiers associated with the Backpage ads, I reviewed GoCoin
   records for some of these transactions.   From these records, I
   found bitcoin payments associated with the email addresses used
   to post the ads, which transactions were processed by GoCoin.
   For example, in the case involving victims S.F. and A.C.
    (described in paragraphs 28(a) and (b)) prosecuted in Arizona,
   the bitcoin payments for these ads were made in November and
   October 2015.    In the case involving T.S., S.L., K.O., and R.W.
    (described in paragraph 28(c)) prosecuted in Missouri, the
   bitcoin payments were made in October and November 2015. As
   described in paragraph 48 of this affidavit, between December
   2015 and June 2016, over 130 wires from Slovakia from GoCoin,
   totaling over $16.8 million was sent to a Website Technologies
   account at Branch Bank & Trust Company account number
   1440001712008. Between December 2015 and October 2016, 32 wires
   totaling $48 million were sent from the BBT Account to a Cereus
   Properties Account 9361116211 at Arizona Bank and Trust, which
   made its way into 11 accounts named in prior seizure warrants.
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   altogether."      The state AGs acknowledged that this step would

   cause Backpage to, "lose the considerable revenue generated by the

   adult services ads," but stated that "no amount of money can

   justify the scourge of illegal prostitution, and the misery of the

   women and children who will continue to be victimized in the

   marketplace provided by backpage."

               b.     Following this letter, on September 25, 2010,

   Ferrer wrote an email explaining that Backpage was unwilling to

   delete ads that included terms indicative of prostitution because

   doing so would "piss[] off a lot of users who will migrate

   elsewhere" and force Backpage to refund those customers' fees.

                c.    In January 2017, the U.S. Senate Subcommittee on

   Permanent Investigations        ("Subcommittee") conducted a lengthy

   investigation into sex trafficking and Backpage.               I have reviewed

   the Subcommittee's 50-page report entitled "Backpage.com's Knowing

   Facilitation of Online Sex Trafficking."            This report concluded,

   among other things, that virtually all of Backpage's "adult" ads

   are actually solicitations for illegal prostitution services and

   that "Backpage has maintained a practice of altering ads before

   publication by deleting words, phrases, and images indicative of

   criminality, including child sex trafficking.                      Those

   practices served to sanitize the content of innumerable

   advertisements for illegal transactions-even as Backpage

   represented to the public and the courts that it merely hosted

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   content others had created."             In response to the Subcommittee's

   report, Backpage purported to shut down the "adult" section of its

   website.     However, based on my review of several thousands of

   Backpage ads, I believe that the prostitution ads simply migrated

   to other sections of the website, where they remain to this day.

                d.    On August 5, 2011, Backpage received a letter from

   the mayor of Seattle.        This letter warned, "Seattle Police have

   identified an alarming number of juvenile prostitutes advertised

   on Backpage.com since January 2010," and explained that Backpage

   was dissimilar from other companies whose products and services

   are "occasionally or incidentally" utilized by criminals because

   "[y]our company is in the business of selling sex ads" and "your

   services are a direct vehicle for prostitution."               The letter also

   recommended that Backpage require in-person age verification for

   all of the "escorts" depicted in its ads.             Based on knowledge

   gained through this investigation, I do not believe that Backpage

   has ever instituted an in-person age verification.

         28.    I have reviewed internal documents, emails, and

   correspondence among Backpage employees and management.                 From

   those emails I have learned that Backpage has instituted policies

   and procedures designed to maintain its promotion of sex

   trafficking and prostitution, but which "sanitize" some of the

   language Backpage customers use to advertise in order to make the

   advertising of sex trafficking less overt.              From my review of

                                        -    26 -




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   Backpage documents, I know that Backpage refers to this practice

   as "moderation."       For example:

                a.    In April 2008, Ferrer wrote an email explaining

   that, although he was "under pressure to clean up phoenix's adult

   content," he was unwilling to delete prostitution ads because

   doing so "would put us in a very uncompetitive position with

   craig[slist]" 9 and result in "lost pageviews and revenue."                Thus,

   Ferrer instructed Backpage's technical staff to edit the wording

   of such ads by removing particular terms that were indicative of

   prostitution, and then allow the remainder of the ad to be

   featured on Backpage's website.

                b.    On October 8, 2010, a Backpage manager sent an

   email threatening to fire any Backpage employee who acknowledged,

   in writing, that a customer was advertising prostitution:

   "Leaving notes on our site that imply that we're aware of

   prostitution, or in any position to define it, is enough to lose

   your job over.             This isn't open for discussion. If you don't

   agree with what I'm saying completely, you need to find another

   job."

                c.    On October 16, 2010, the same Backpage manager

   again sent an email to a large group of Backpage employees that




     9   Craigslist is a competing internet based advertising company
   that features classified ads.
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                                                                             DOJ-BP-0004598424
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   contained two attachments providing guidance on how to "moderate"

   ads.    The first was a PowerPoint presentation that displayed a

   series of 38 nude and partially-nude photographs, some of which

   depicted graphic sex acts.         Next to each picture was an

   instruction as to whether it should be approved or disapproved by

   a Backpage moderator.        These instructions included "Approve.           Nude

   rear shots are okay as long the model is not exposing her anus or

   genitalia." and "Approve.         Rear shot okay.      Transparent wet

   panties okay."      The second was an Excel spreadsheet identifying 50

   terms   (all of which were indicative of prostitution) that should

   be "stripped" from ads before publication.             The Backpage manager

   concluded the email by stating, "[I]t's the language in ads that's

   really killing us with the Attorneys General.              Images are almost

   an afterthought to them."

               d.     On October 16, 2010, the same Backpage manager sent

   a separate internal email explaining, "I'd like to still avoid

   Deleting ads when possible," that "we're still allowing phrases

   with nuance," and that "[i]n the case of lesser violations,

   editing should be sufficient."

                e.    On October 25, 2010, Ferrer sent an email

   acknowledging that the "[i]llegal content removed" through

   Backpage's moderation processes was "usually money for sex act."

   This email also explained that, after the "sex act pies are

   removed," the "ad text may stay."

                                        -   28 -




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                f.    On October 27, 2010, a different Backpage manager

   sent an internal email stating that Backpage was "editing 70 to

   80%" of the ads it received from customers.

                g.    On June 7, 2011, Ferrer received an inquiry from a

   law enforcement official about a particular ad that included the

   term "amber alert."       In response, Ferrer acknowledged this might

   be "some kind of bizarre new code word for an under aged person."

   Ferrer then forwarded this exchange to a Backpage manager and

   instructed that the term "amber alert" be added to Backpage's

   "strip out" list.       I believe that this email indicates that

   Backpage did not require all future ads involving this particular

   coded term for the prostitution of a child to be blocked from

   Backpage, but merely required that such ads be edited before

   publication.

               h.     On August 31, 2011, Backpage managers exchanged

   emails in which they discussed a list of 100 "solid sex for money

   terms."    Later emails indicate that this list of terms would

   change but, in general, the list prohibited use of certain terms

   that Backpage management and employees too closely identified with

   the obvious promotion of sex trafficking and prostitution.

                i.    Based on knowledge gained during this investigation

   and my training and experience,         I believe that this manager

   acknowledged that a large proportion of the ads originally

   submitted by Backpage's customers contained text and pictures that

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   were indicative of sex trafficking.           Nevertheless, Backpage would

   still publish those ads after editing them to appear less obvious

   in promoting illegal activity.          Using the words the Backpage

   manager used in the email described in paragraph 28(d) above,                I

   believe that Backpage sex trafficking ads have adapted to

   Backpage's moderation policy by using "phrases with nuance" when

   promoting sex trafficking.         Also, based on knowledge gained during

   this investigation, and my training and experience, I believe

   that, following the implementation of "moderation," Backpage's

   list of prohibited terms needed to change and evolve to adjust to

   the reality of Backpage advertisers' use of new code words to

   promote prostitution.        That is, once a coded word or phrase not

   previously associated with sex-for-money would become too familiar

   and associated with certain sex trafficking activities in the

   Backpage community of advertisers, Backpage's "moderation" policy

   would need to adapt by adding such words or phrases to the

   "blocked" list or risk being too obvious in its promotion.

         29.   Based on my review of several thousand Backpage ads and

   internal Backpage documents and correspondence, I believe that

   Backpage's policy of "moderation" only caused ads explicitly

   promoting sex trafficking to become more coded and implicit in the

   ads' purpose.      I have reviewed several thousand Backpage ads

   posted in the various "adult" categories of Backpage (including

   "massage," "dating," "escort" and others)              From this review,     I

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   learned the following:

                a.    Well over half of the Backpage classified ads in

   these categories use terms and phrases that, in my training and

   experience, I believe to be consistent with sex trafficking and

   prostitution.      These terms and phrases include, "roses" (money,

   e.g., "150 roses/half hour"), "in-call"           (where the customer goes

   to the prostitute's location), "outcall" (where the prostitute

   goes to the customer's location), "GFE" (girlfriend experience),

   and "PSE" (porn star experience).

               b.     Other Backpage ads use language that can be mostly

   free of coded language, but that include sexually provocative

   pictures.     In my training and experience, the sexually suggestive

   images included in these ads are typical of ads for prostitution.

   For example, one such ad posted in Backpage's Los Angeles dating

   section depicted images of a woman on a bed with her buttocks

   presented in a sexual manner; another included a picture of a

   woman's cleavage; others included pictures of women posing in

   sexual positions wearing lingerie and pictures of a woman bending

   over revealing her naked buttocks.

                c.    Based on knowledge gained through this

   investigation, and my training and experience, I believe that

   Backpage's policy of moderation has had its intended effect.

   Moderation has caused and allowed otherwise neutral or innocuous

   terms to be understood within the Backpage community as coded

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   language for sex trafficking and prostitution.              Because of this

   evolving use of coded terms, a reader of such ads who is familiar

   with the particular vocabulary used in Backpage "adult" ads may

   readily identify coded terms and images indicating an ad for

   prostitution, while an uninitiated reader may not understand these

   terms at all, or at least not as being associated with sex-for-

   money.

         30.   Notwithstanding many Backpage advertisements' use of

   seemingly innocuous language in promoting prostitution, based on

   my conversations with law enforcement officers around the country

   and from my review of law enforcement officers' statements and

   reports regarding Backpage, I believe that the majority of

   Backpage ads that appear in the traditionally "adult" categories

   (such as "escort," "massage," or "body rubs")            are actually

   advertisements promoting sex trafficking or prostitution.                 For

   example, in August 2015, the Detective-Sergeant in charge of the

   Seattle Police Department's Vice/High Risk Victims Unit and Human

   Trafficking Task Force made a sworn statement that provided, in

   pertinent part,

       Since 2014, the Seattle Police Department has made arrests
       that include hundreds of related charges, such as charges
       for patronizing a prostitute/sexual exploitation, hundreds
       of charges for prostitution, dozens of charges [of]
       Promoting Prostitution, up to 100 charges for Commercial
       Sexual Abuse against a Minor and have investigated dozens
       of rape reports involving victims who are prostitutes and
       one murder of a prostitute. As a result of hundreds of
       investigations, the Seattle Police Department Vice/High

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       Risk Victims Unit has found that Backpage.com has become
       the primary web site in Seattle/Washington State for those
       looking to solicit a prostitute, post prostitution ads or
       traffic prostitutes and minors.

       Vice/High Risk Victims Unit Detectives also make use of
       this site to respond to ads posted under the 'escorts' and
       'body rubs' categories posing as male customers and
       successfully arrest females and males who charge
       undercover operatives money in exchange for sex.   To date,
       no Detective within the Seattle Police Department's
       Vice/High Risk Victims Unit has ever found a legitimate
       'escort', (person who charges simply for companionship
       with no offer of sex) or 'masseuse', (person offering
       legitimate and licensed massage therapy rather than sex)
       while responding to ads placed in these categories on
       Backpage.com.

       As stated previously, every time the Seattle Police
       Department Vice/High Risk Victims Unit has responded to an
       ad in the adult section of Backpage.com, we have found
       that the ad was a posting for illegal activity. The
       Seattle Police Department Vice/High Risk Victims Unit has
       not once found that the individual posting or responding
       to one of our decoy ads in the adult section of
       Backpage.com was in fact seeking any type of innocent,
       legal activity. In my professional experience, the adult
       section of Backpage.com not only contains ads for illegal
       activity, including prostitution, solicitation and
       trafficking, but it is a primary source for such ads and
       is well known for that purpose in the sex trafficking
       industry in the city of Seattle and State of Washington.

   Additionally, in August 2015, the Sergeant Detective who is

   Commander of the Human Trafficking Unit ("HTU")             for the Boston,

   Massachusetts Police Department made a sworn statement that

   provided, in pertinent part,

       Since 2009, the [HTU] has made numerous arrests that
       include enticement of a minor into prostitution, sex
       trafficking of a minor, sex trafficking of an adult,
       forcible rape     . and sex for a fee for soliciting a
       prostitute.


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       As a result of investigations, the HTU has found that
       Backpage.com is the go-to Web site in Boston for those
       looking to solicit a prostitute, post prostitution ads,
       and recruit and traffic young women and minors.  The
       detectives have been able to identify numerous would-be
       exploiters by setting up decoy ads and responding to ads
       on the site.  The have arrested pimps, traffickers and
       buyers who facilitate prostitution and fuel the harmful
       and violent sex trade.  Backpage.com is the number one
       site that detectives go to in order to look for underage
       girls who are on the run and are being commercially
       sexually exploited by pimps.

       Since 2010, the HTU has arrested over 100 buyers of sex of
       both adults and minors through Backpage.com ads
       exclusively in hotel stings.

       Since 2013, 12 individuals have been charged in federal
       court for sex trafficking of both minors and adults.  In
       all these aforementioned cases, Backpage.com played a
       pivotal role in facilitating these crimes.

       Detectives of the HTU often get tips about illegal
       activity concerning ads posted on the escort, adult and
       massage sections of Backpage.com.  In almost every case
       detectives have found that in fact there was illegal
       activity which resulted in fines, arrests, or further
       investigations of sex trafficking.

       Therefore, in my professional experience as a law
       enforcement officer for over thirty years, the adult
       section of Backpage.com not only contains ads for illegal
       activity, including prostitution, solicitation and
       trafficking, but it is also the primary source for such
       ads and well known for that purpose in the sex trafficking
       industry in Boston, Massachusetts. Backpage.com's adult
       section provides a vehicle and anonymity for its users who
       exploit and traffic young women and girls.       . It is my
       humble opinion that the adult section of Backpage.com
       serves no legitimate service and nearly all the cases we
       find associated with it involve pimp controlled
       prostitution.

         31.   Almost all "adult"-type Backpage ads list phone numbers

   or emails for a potential customer to use to make contact with the


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   advertiser.       I have compared a sample of phone numbers and emails

   found within Backpage ads with phone numbers and emails that

   frequently are included in the memo section of some of the checks

   that Backpage advertisers use to pay Backpage for those ads.                 From

   my review,    I have found that very often the same number and/or

   email appears in multiple Backpage ads as the contact information

   to make an appointment.        For example:

                a.    A $25 USPS Money Order purchased on June 15, 2017,

   in Duarte, California, made payable to "Posting Solutions PO BOX

   802426, Dallas, TX," and thereafter deposited into a Seized

   Account, included writing on the money order listing a phone

   number and the words "Dulce Latina."            From a search of Backpage

   ads,   I found almost 800 advertisements listing the same phone

   number found on the $25 USPS Money Order.

                b.    A $20 USPS Money Order purchased in Sacramento,

   California, and later deposited into a Seized Account, included

   writing listing a phone number and the words "love my lips."                 From

   a search of Backpage ads,        I found almost 1300 advertisements

   listing the same phone number found on the $20 USPS Money Order.

                c.    A $150 Wells Fargo Bank Money Order, purchased in

   Arizona, and made payable to "Posting Solutions," included an

   email and the words, "red hot stuff".            From an internet search of

   the email address listed on this $150 money order, I found

   advertisements on several female escort websites that directed

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   customers to contact an Arizona phone number ending in 2397.                        I

   then searched Backpage.com records for this phone number and found

   approximately 760 ads that included this same phone number.                        My

   review of these Backpage ads revealed images indicative of

   prostitution.        For example, one such ad posted on Backpage's

   "massage" section included sexual images such as a woman lying on

   a bed wearing lingerie and a woman laying naked on her stomach.

   One of the ads describes, "Pampering provider                  I   Body Rub Massage

   Body Shampoo     I   Body Scrub   I   4 hands      I   Walk ins or appointment."

   From my training and experience,            I know that legal massage

   advertisements do not typically depict sexual images.                     This

   advertisement depicted sexual images and included terms like "4

   hands," which I know to be coded language describing a massage

   given to a customer by two women.                 Such advertisements are often

   indicative of prostitution.

         32.   Despite the fact that several thousand Backpage ads

   shared the exact same phone number or email address to contact the

   advertiser, these same ads included sexually suggestive images of

   hundreds of different women.           Based on my training and experience,

   multiple different women do not share the same email address or

   phone number when posting ads for dating.                   Rather, in my training

   and experience, such ads are consistent with ads posted by pimps

   or prostitution agencies that are using the same phone number or

   email to advertise several different women (or girls) to

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   prospective prostitution clients.

          33.     On March 28, 2018, a grand jury returned a 93 count

   indictment charging certain Backpage Operators with criminal

   violations of 18 U.S.C. § 371           (Conspiracy), § 1952 (Travel Act-

   Facilitation of Prostitution), § 1956 (Money Laundering), § 1957

   (Financial Transactions Involving Illicit Proceeds), and including

   Forfeiture Allegations pursuant to 18 U.S.C. §§ 981 and 982

   (seeking criminal forfeiture of, among other assets, the Seized

   Accounts and the Seized Domains).           A copy of that indictment is

   attached hereto (as Exhibit A) and incorporated herein as though

   fully set forth.

             C. THE SEIZED ACCOUNTS AND SUBJECT ACCOUNTS.!:.Q

             1. Seized Account 1

                   i.   Foreign Transfers Into SEIZED ACCOUNT 1

          34.     While Backpage accepts payments for ads from third-

   parties, for the purpose of this affidavit, I will focus on

   advertising payments made via the Posting Solutions' P.O. BOX

   using cash, money orders, or digital currency.

          35.     From my review of Posting Solutions' application for the

   USPS Dallas, Texas P.O. BOX, I learned that it was registered to




   10   Because   of    the   extensive   movement   of money by     the   Backpage
   operators, it is necessary to include here a discussion ofboth the
   accounts targeted in the prior warrant applications               (referred to
   herein as Seized Accounts 1 through 15G, and the SUBJECT ACCOUNTS.
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   "Website Technologies, LLC/Backpage.com."             Also listed on the P.O.

   BOX Application were the names of several Backpage Operators,

   including Ferrer.

         36.    I have reviewed bank records for Seized Account 1.

   Based on my review, I know the following:

               a.     On February 15, 2017, Posting Solutions LLC,

   located at 13601 Preston Rd., Ste. 801E, Dallas, Texas 75240,

   opened Prosperity Bank account number 216887188 (Seized Account

   1, which lists Gage as the sole signatory on the account).

               b.     Gage is the President, Chief Executive Officer,

   Treasurer and Secretary of Posting Solutions LLC.

         37.   Based on my knowledge of this investigation, having

   spoken to law enforcement personnel, and my review of the

   financial records, when an advertiser purchases an ad for

   prostitution using digital currency, the payments to Backpage (and

   certain subsequent expenditures) then proceed in the following

   manner:

               a.     A "poster" of a prostitution ad on backpage.com

   would pick a payment method, for example, through Bitcoin payments

   as previously described above.

               b.     The poster would already have Bitcoin or Backpage

   would direct the poster to a third-party exchanger in order to buy

   Bitcoin.

               c.     Backpage would then provide the poster with a

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   wallet address to send the specific amount of Bitcoin.

                d.    The poster would receive credit to then post ads on

   Backpage.

                e.    In batches, generally valued in hundreds of

   thousands of dollars, Backpage would sell the Bitcoin to a third

   party exchanger, frequently "GoCoin," in order to convert the

   Bitcoin into U.S. or foreign currency, which GoCoin generally

   holds in foreign bank accounts.

                f.    GoCoin would wire funds from these foreign accounts

   to either 1) Backpage controlled foreign accounts, or 2) Backpage

   controlled domestic operating accounts.

                g.    Backpage operators would hold these receiving

   accounts in the names of entities controlled by Backpage, such as

   Ad Tech BV, Posting Solutions (Seized Account 1 is held in the

   name of Posting Solutions), Website Technologies, or Cereus

   Properties (Seized Account 2A is held in the name of Cereus

   Properties)

                h.    These funds that originated from foreign

   transactions would be used to pay for services, like Verizon in

   Los Angeles, or would be transferred to Backpage Operators'

   accounts and accounts held in their family members' names.

         38.    I have reviewed records of wire transfers from countries

   outside the United States deposited into the Seized Account 1.

   Just for the period of August 1 through September 1, 2017, Seized

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   Account 1 received over $2.7 million in wire transfers from

   outside the United States.         For example:

                a.     On or about August 16, 2017, a company called

   "Binary Trading SG PTE LTD" ("Binary Trading") wired $535,500 from

   an account in Singapore into Seized Account 1.               Based on my review

   of records related to this transaction, Binary Trading is a name

   used by GoCoin. 11

                b.     On or about August 17, 2017, Binary Trading wired

   another $528,500 from a Singapore account into Seized Account 1.

                c.     On or about August 30, 2017, a company named

   "TRILIX PTE LTD," listing the same Singapore address as Binary

   Trading and GoCoin, in four wires ranging from $385,450 to

   $492,250, sent approximately $1,717,750 from a Singapore account

   into Seized Account 1.        Memo lines from these wires list "GC" or

   "GC FOR INTERNET SERVICES."          I understand "GC" to mean GoCoin.

                 ii.   Seized Account 1 Payments for Backpage Operations

          39.   I have reviewed outgoing payments from Seized Account 1

   and found that substantial percentages of these payments are for

   the operation of Backpage.com.           For example, between July and

   October, 2017, Seized Account 1 wired over $1.1 million to pay for

   the following:




     11 Further, according to GoCoin's website, GoCoin maintains
   offices at the Singapore address listed on the $535,500 wire
   from "Binary Trading."
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                a.     Between July and October 2017, Seized Account 1

   wired $570,530 to Verizon Digital Media Services in Los Angeles.

                b.     On August 4, 2017, Seized Account 1 wired $4,137 to

   "Netnames," also known as ASCIO, to pay for the registration

   renewal of all the Seized Domains, including Backpage.com.

                c.     In August 2017, Seized Account 1 sent numerous

   automated clearinghouse payments to "Netchex Tax Prep Clients"

   totaling over $437,000.         From a review of their website, I learned

   Netchex is a human resources company that provides payroll and

   other such services to Backpage.

                d.     Within a one-week period beginning on August 2,

   2017, Seized Account 1 wired approximately $77,800 to S&W Payroll

   Services.     An online search of S&W Payroll indicated that S&W

   Payroll is owned by Netchex.          As stated above, Netchex is a human

   resource service, and S&W Payroll appears to be Netchex's payroll

   division.

                e.     On August 11, 2017, Seized Account 1 wired

   $5,319.79 to the Telesign Corporation, located in Marina del Ray,

   California.       According to their website, Telesign is a

   communications platform that delivers security for websites.

                f.     On August 18, 2017, Seized Account 1 wired $1,497

   and $6,984, respectively, to two separate data backup companies

   for Backpage's on-line data backup.

         40.    Based on my review of bank records for Seized Account 1

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   throughout the existence of the account, these types of

   transactions and expenditures were typical.

              2. Seized Account 2A

                  i.   Transfers From Seized Account 1

         41.    From my review of bank documents, I have learned that

   Seized Account 2A is a Compass Bank business bank account owned

   by "Cereus Properties LLC," identifying Spear as the sole

   signatory.     My review revealed that this account was funded with

   transfers from Seized Account 1.           On average, during each month

   of 2017, Seized Account 1 transferred several hundred thousand

   dollars into Seized Account 2A.           For example:

         a.     On July 25, 2017, Seized Account 1 sent two wire

   transfers totaling about $566,562.47 to Seized Account 2A.

         b.     On August 8, 2017, Seized Account 1 sent a wire

   totaling $62,198.51 to Seized Account 2A.

         c.     On August 31, 2017, Seized Account 1 sent a wire

   transfer totaling $487,491.45 to SU Seized Account 2A.

         d.     On September 15, 2017, Seized Account 1 sent a wire

   transfer totaling $91,672.67 to Seized Account 2A.

         e.     On October 2, 2017, Seized Account 1 sent a wire

   transfer totaling $471,766 to Seized Account 2A.

                 ii.    Foreign Transfers into Seized Account 2A

         42.    I have reviewed financial records from a foreign bank

   in the Netherlands      (the "Foreign Account")          I have also

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   reviewed emails related to this account.             From my review of

   these records, I learned the following:

                a.        The Foreign Account was opened in March 2015 and

   is held in the name of Ad Tech BV, a Netherlands based company,

   and identifies Ferrer as the CEO and Gage as the CFO.

                b.        From March 2015 through November 2017, the

   Foreign Account received millions of dollars from Binary Trading

   SG PTE, Limited, the same company GoCoin used to wire funds into

   Seized Account 1.          In an April 4, 2017, email to employees of

   the bank that maintains the Foreign Account, Gage explained,

       Binary Capital is our trading partner, they hold money in
       trust for Go Coin [sic]. Rather than incurring 3 sets of
       wire fees which make our transactions unprofitable, they
       act as our agent and disburse payments directly from our
       trust account to our merchant.

                c.        During this same period, the Foreign Account wire

   transferred several million dollars into Seized Account 2A.                  For

   example, an April 25, 2017, an email from Gage to individuals at

   the bank holding the Foreign Account directed the bank to wire

   "USD $2,337,048" to Seized Account 2A.             Thereafter, I reviewed a

   wire record and confirmed that on April 25, 2017, the Foreign

   Account wired $2,337,048 into Seized Account 2A, as Gage

   directed in his email.          In reviewing the records, I found the

   following additional wires sent to Seized Account 2A:

                     i.        In December 2016, the Foreign Account wired

   approximately $1 million dollars to Seized Account 2A.

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                    ii.      On February 28, 2017, the Foreign Account

   wired $2,324,390 into Seized Account 2A.

                   iii.      On March 30, 2017, the Foreign Account wired

   $2,247,858 into Seized Account 2A.

                    iv.      On May 31, 2017, the Foreign Account wired

   $2,335,076 to SUBJECT ACCOUNT 2A.

                     v.      On June 28, 2017, the Foreign Account wired

   $2,324,390 to Seized Account 2A.

                    vi.      July 27, 2017, the Foreign Account wired

   $10,928 to Seized Account 2A.

            iii.          Seized Account 2A Payments for Backpage Operations

         43.    I then reviewed Seized Account 2A records for payments

   to promote Backpage operations.           From March through December

   2017, Seized Account 2A paid over $9,000 to "Cox

   Communications," an internet services company that provides

   voice-over-internet phone and cable services.              I believe that

   Backpage uses Cox Communications to facilitate its internet

   presence and promote its sale of prostitution advertising.

             3. Seized Account 2B

         44.    I reviewed records Seized Account 2A and Seized

   Account 2B.       On February 2, 2018, Seized Account 2A wired

   transferred $135,956.59 into Seized Account 2B.               I am aware of

   no other funding sources for Seized Account 2B.



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               4. Seized Account 3A, 3B, 3C

         45.     I have reviewed records for Seized Account 3A as well

   as the following accounts:         Branch Banking & Trust account

   number 1440001712008, belonging to Website Technologies (as

   detailed above, a Backpage controlled entity), held in Arizona

   ("BBT Account"); Arizona Bank & Trust account number 9361116211

   belonging to Cereus Properties, held in Arizona ("AZBT

   Account")          From this review, I learned the following:

                 a.     Between December 14, 2015, and January 15, 2016,

   in approximately 26 wires, a GoCoin account in Slovakia

   transferred over $2.5 million to the BBT Account in the United

   States.

                 b.     On January 15, 2016, the BBT account wired

   $189,571 to Verizon in Los Angeles, California, in payment for

   Backpage internet services.

                 c.     Between January 21, 2016, and August 31, 2016, in

   approximately 27 wires, the BBT Account transferred

   approximately $48 million to the AZBT Account.

                 d.     Between March 1, 2016, and July 1, 2016, the AZBT

   Account wired $892,426 into Seized Account 3A.

         46.     According to records for Seized Account 3A, 3B, and

   3C:

                 a.     On September 14, 2017, Seized Account 2A wired

   $50,162.05 into Seized Account 3A.

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                                                                              DOJ-BP-0004598442
       Case 2:18-cr-00422-DJH
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                                 128 Page ID #: 187



                 b.   On October 12, 2017, Seized Account 3A wired

   approximately $21,500 into SUBJ Seized Account 3B.

                 c.   On January 5, 2018, Seized Account 3A wired

   approximately $600,000 into Seized Account 3C.

             5. Seized Account 4

         47.     From my review of the records for Seized Account 4

   (belonging to Spear), I learned that on or about March 16, 2016,

   Seized Account 3A transferred $250,000 into Seized Account 4 as

   an opening deposit.        On March 20, 2018, Live Oak Bank confirmed

   that these funds have remained in Seized Account 4 since the

   account was opened.

               6. Seized Account 5A and 5B

         48.     I have reviewed financial records related to Seized

   Accounts 5A and 5B, held in the name of Natasha Spear, Scott

   Spear's adult daughter.         From this review, I learned the

   following:

                 a.   On February 23, 2017, Seized Account 3A wired

   approximately $50,000 into Seized Account 5A.

                 b.   On the February 23, 2017, Seized Account 3A wired

   $50,000 into Seized Account 5B.

             7. Seized Account 6

         49.     From my review of financial records related to Seized

   Account 2A, 2B and 6, I learned the following:



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                                                                              DOJ-BP-0004598443
       Case 2:18-cr-00422-DJH
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                                 128 Page ID #: 188



                           a.   On October 2, 2017, Seized Account 2A wired

   approximately $297,795 into Seized Account 6.




     CEREUS PROPER::-ltS                       l~ICHAEL Ll',CEV            MlCHJ\EL LACEY
          673845873                               51103620                 SAFE DEPOSi:T BOX
        COMPASS BANK                       F[RST FEDERAL SJ\VlNGS      Flf!ST FEDERAL SA.',1NGS
     (SUBJECT ACCOUNT 2)                    & LON, OF SAN RAF.AEl       &. LOAN OF SA.N RAFAEL
                                            (SUEUECT J\C COUNT 6)   (SUtUECT SAFE DEPOSir BO:X 2)




                   8. Seized Accounts 7A through 7E

             50.           From my review of financial records of Seized Accounts

   2A and 2B, 7A through 7D, and 12A, I learned the following:

                           a.   On July 6, 2017, Seized Account 2A wired

   $971,651.51 into Seized Account 7A.

                           b.   On July 28, 2017, Seized Account 7A wired

   $400,000 into Seized Account 7B.

             51.           From my review of financial records of Seized Account

   1 and 7C, and those concerning the Veritex Bank account ending

   in -1462, held in the name of Posting Solutions ("Account -

   1462") , 12 I learned the following:




     12   Veritex Bank is a U.S. bank located in Dallas, Texas.
   Posting Solutions opened Veritex Bank account -1462 on or about
   January 5, 2017.
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                                                                                               DOJ-BP-0004598444
       Case 2:18-cr-00422-DJH
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                                   Document      Filed 11/13/23
                                            3-1 *SEALED*          Page
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                                 128 Page ID #: 189



         a.      On January 13, 2017 and January 20, 2017, a GoCoin

   account in Singapore wired a total of approximately $1,318,800

   into Account -1462.

         b.      In February 2017, Account -1462 wired a total of

   $5,395 to Verizon, in Los Angeles.

         c.      On August 8, 2017, Seized Account 1 wired $62,000 into

   Seized Account 12A.

         d.      On November 3, 2017, Seized Account 12A wired $100,000

   to SUBJE Seized Account 7D.

               9. Seized Account 8A, 8B, BC, and 8D

         52.     From my review of the records for Seized Accounts 2A

   and 2B, 8A, and 8B, I learned the following:

                 a.   On February 2, 2018, Seized Account 2A wired

   $28,337 into Seized Account 8A.

                 b.   Also on February 2, 2018, Seized Account 2A wired

   $28,337 into Seized Account 8B.

         53.     From my review of Seized Account 1, BC, and 8D, I

   learned the following:

                 a.   On August 2 and August 8, 2017, Seized Account 1

   wired $33,700 and $44,000, respectively, to S&W Payroll, a

   company Backpage uses to pay its employees.

                 b.   Between August 11, 2017, and December 1, 2017,

   S&W Payroll wired a total of $207,125.81 into Seized Account BC.



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                                                                              DOJ-BP-0004598445
       Case 2:18-cr-00422-DJH
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                c.    Between November 3, 2017, and December 8, 2017,

   Seized Account BC wired $57,500 into Seized Account 8D.

            10.       Seized Account 9

         54.    From my review of the records for Seized Account 2A

   2B, and 9, I learned that on February 2, 2018, Seized Account 2A

   wired $734,603.70 into Seized Account 9.

            11.       Seized Account 10

         55.    From my review of records for Seized Accounts 2A and

   10, I learned that on February 2, 2018, Seized Account 2A wired

   $94,154.89 into Seized Account 10.

            12.       Seized Account 11

         56.    From my review of Seized Accounts 1, BC, 8D, and 11,

   as well as Account -1462        (as described above, a Posting

   Solutions' Veritex Bank account), I learned the following:

                a.    On January 4, 2017, GoCoin's Singapore account

   wired $489,500 into Account -1462, and on January 20, 2017,

   GoCoin's Singapore account directed two additional wires, for

   $358,150 and $470,150, respectively, into Account -1462               (for a

   total of $1,317,800 wired from GoCoin's Singapore account into

   Account -1462)

               b.     On January 24, 2017, Account -1462 wired

   approximately $1.3 million into S&W Payroll.

         57.   On January 27, 2017, an S&W Payroll account wired a

   total of $9,913.53 into Seized Account 11.

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                                                                             DOJ-BP-0004598446
       Case 2:18-cr-00422-DJH
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                                 128 Page ID #:191



            13.       Seized Accounts 12A and 12B

         58.    From my review of financial records for Seized Account

   1, 12A, and 12B, I learned the following:

                a.    On August 8, 2017, Seized Account 1 wired $62,000

   into Seized Account 12A.

         59.   On December 8, 2017, Seized Account 12A wired $20,000

   into Seized Account 12B.

            14.       Seized Account 13

         60.    From my review of financial records for Seized

   Accounts 1, 12A, and 13, I learned the following:

                a.    In January 2017, eized Account 1 wired $62,000

   into Seized Account 12A.

               b.     On August 16, 2017, Seized Account 12A wired

   $20,000 into Seized Account 13.

            15.       Seized Account 14

         61.    I have reviewed records for Seized Account 14 as well

   as the following accounts:         the BBT Account; the AZBT Account;

   Charles Schwab account number 49074693 in the name of Larkin

   ("Schwab Account"); Northern Trust Company account number

   2389562 under the name "Ocotillo Family Trust," belonging to

   James Larkin" ("Northern Trust Account"); and Morgan Stanley

   account number 237-061673 belonging to James Larkin and his

   wife, Margaret Larkin (the "Morgan Stanley Account").

   Additionally, I have reviewed GoCoin transactions related to

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       Case 2:18-cr-00422-DJH
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   certain ads posted on Backpage, specifically including ads that

   related to child victims A.C., S.F., T.S., S.L., K.O., and R.W.

   (previously described in paragraph 26, above) . 13            Finally, I

   reviewed emails associated with the email addresses used to post

   some of the ads promoting the trafficking of A.C., S.F., T.S.,

   S.L., K.O., and R.W.        From this review I observed the following:

                a.    On September 6, 2015, a bitcoin account

   associated with the owner of the email address who trafficked

   A.C. and S.F. paid Backpage about $4 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in Palm

   Springs, California.

               b.     On September 15, 2015, an email from the same

   email address owner indicated a payment to Backpage of about $8

   worth of bitcoin in order to "Fund Account" for

   palmsprings.backpage.com.         Based on information I have learned

   through this investigation, I believe that to "Fund Account"

   means that the email address owner provided bitcoin to Backpage

   as payment for credit to be used at a later time to pay for

   Backpage ads.




     13As previously described, the pimp who trafficked A.C. and
   S.F. was convicted and sentenced to 196 years imprisonment, and
   the pimp who trafficked T.S., S.L., K.O., and R.W. was convicted
   and sentenced to 300 months imprisonment.

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       Case 2:18-cr-00422-DJH
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                c.    On October 6, 2015, the same email address owner

   paid Backpage about $1 worth of bitcoin to "Fund Account" on

   palmsprings.backpage.com.

               d.     On October 30, 2015, a bitcoin account associated

   with the owner of the email address who trafficked T.S., S.L.,

   K.O., and R.W. paid Backpage about $1 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in

   Columbus, Ohio.

                e.    On November 2, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to "Move Ad to Top

   of Listings" in the Columbus, Ohio Backpage ads.

                f.    On November 21, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to Backpage for

   credit for that email owner's Backpage ad account.

                g.    During the period of September 4, 2015, and

   November 23, 2015, Backpage advertisers used bitcoin to purchase

   about 1,000,000 "adult" ads from Backpage.             Backpage then sold

   that bitcoin to GoCoin for approximately $8.6 million.                Included

   among the bitcoin sold to GoCoin during this period were the six

   payments the pimps made to Backpage to purchase ads to promote

   child prostitution.

               h.     During the period of December 14, 2015, through

   December 29, 2015, a GoCoin account held in Slovakia wired over

   $1.25 million to the BBT Account in the United States.                Based on

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                                                                             DOJ-BP-0004598449
       Case 2:18-cr-00422-DJH
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                                 128 Page ID #:194



   my review of GoCoin's financial records and GoCoin's pattern of

   payments to Backpage for bitcoin sales, I believe that this

   $1.25 million represented GoCoin's partial payment to Backpage

   for the bitcoin Backpage sold to GoCoin during the period of

   September 4, 2015, through November 23, 2015.

                i.    On December 31, 2015, the BBT Account wired

   $811,424 to the AZBT Account.

                j.    On January 11, 2016 the AZBT Account wired

   approximately $1.3 million to the Schwab Account.

                k.    On January 14, 2016, the Schwab Account wired

   approximately $13.5 million to the Northern Trust Account.

               1.     In July 21, 2017, the Northern Trust Account

   wired $6.014 million to the Morgan Stanley Account.

               m.     In or about November 2017, Morgan Stanley elected

   to terminate its business relationship with Larkin.

               n.     Following this, on November 30, 2017, Larkin

   wired all the funds then held the Morgan Stanley Account, about

   $10 million dollars, to Seized Account 14.

               o.     Some of the funds in Seized Account 14 were used,

   among other things, to purchase bonds and/or securities, which

   assets remain held in Seized Account 14.

            16.       Seized Accounts 15A through 15G

         62.      I have reviewed records for Seized Account 15 as well

   as the following accounts:         the BBT; the AZBT Account; Wells

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                                                                             DOJ-BP-0004598450
       Case 2:18-cr-00422-DJH
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   Fargo Bank Account number 6324184891, belonging to John Brunst

   ("WFB Account -891"); and Wells Fargo Bank Account number

   00007910147474, belonging to the Brunst Family Trust ("WFB

   Account -474").      Additionally, I have reviewed GoCoin

   transactions related to certain ads posted on Backpage,

   specifically including ads that related to child victims A.C.,

   S.F., T.S., S.L., K.O., and R.W.          (previously described in

   paragraph 26, above.)        Finally,   I reviewed emails associated

   with the email addresses used to post some of the ads promoting

   the trafficking of A.C., S.F., T.S., S.L., K.O., and R.W.                 From

   this review I observed the following:

                a.    On September 6, 2015, a bitcoin account

   associated with the owner of the email address who trafficked

   A.C. and S.F. paid Backpage about $4 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in Palm

   Springs, California.

               b.     On September 15, 2015, an email from the same

   email address owner indicated a payment to Backpage of about $8

   worth of bitcoin in order to "Fund Account" for

   palmsprings.backpage.com.         Based on information I have learned

   through this investigation, I believe that to "Fund Account"

   means that the email address owner provided bitcoin to Backpage

   as payment for credit to be used at a later time to pay for

   Backpage ads.

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                c.    On October 6, 2015, the same email address owner

   paid Backpage about $1 worth of bitcoin to "Fund Account" on

   palmsprings.backpage.com.

               d.     On October 30, 2015, a bitcoin account associated

   with the owner of the email address who trafficked T.S., S.L.,

   K.O., and R.W. paid Backpage about $1 worth of bitcoin in order

   to post an ad promoting the trafficking of those victims in

   Columbus, Ohio.

                e.    On November 2, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to "Move Ad to Top

   of Listings" in the Columbus, Ohio Backpage ads.

                f.    On November 21, 2015, this same email address

   owner paid Backpage about $1 worth of bitcoin to Backpage for

   credit for that email owner's Backpage ad account.

                g.    During the period of September 4, 2015, and

   November 23, 2015, Backpage advertisers used bitcoin to purchase

   about 1,000,000 "adult" ads from Backpage.             Backpage then sold

   that bitcoin to GoCoin for approximately $8.6 million.                Included

   among the bitcoin sold to GoCoin during this period were the six

   payments the pimps made to Backpage to purchase ads to promote

   child prostitution.

               h.     During the period of December 14, 2015, through

   December 29, 2015, a GoCoin account held in Slovakia wired over

   $1.25 million to the BBT Account in the United States.                Based on

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   my review of GoCoin's financial records and GoCoin's pattern of

   payments to Backpage for bitcoin sales, I believe that this

   $1.25 million represented GoCoin's partial payment to Backpage

   for the bitcoin Backpage sold to GoCoin during the period of

   September 4, 2015, through November 23, 2015.

                i.    On December 31, 2015, the BBT Account wired

   $811,424 to the AZBT Account.

                j.    On December 6, 2016 the AZBT Account wired

   $161,459 to the WFB Account -891.

                k.    On January 4, 2017, the AZBT Account wired

   another $258,841 to the WFB Account -891.

                1.    On January 5, 2017, the WFB Account transferred

   $300,000 to WFB Account -474.

                m.    On May 19, 2017 the WFB Account -474 wired about

   $1.5 million into Seized Account 15A.

                n.    On May 23, 2017 Seized Account 15A transferred

   about $350,000 to Seized Account 15B.

                o.    On June 7, 2017, Seized Account 15A transferred

   about $1.34 million to Seized Account 15C.

                p.    On September 13, 2017, Seized Account 15C

   transferred about $581,000 to Seized Account 15D.

                q.    On September 13, 2017, Seized Account 15C

   transferred about $250,000 to Seized Account 15E.



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                r.    On September 13, 2017, Seized Account 15C

   transferred about $250,000 to Seized Account 15F.

                s.    On September 15, 2017, Seized Account 15C

   transferred about $500,000 to Seized Account 15G.

            17.       SUBJECT ACCOUNTS 16A, 16B, 16C, 16D, 16E, 16F, 16G,

                16H, and 16I

         63.    From my review of financial records related to Seized

   Accounts 2A, 6, 7B, and 9, and Subject Accounts 16A, 16B, 16C,

   16D, 16E, 16F, 16G, 16H, and 16I, I learned the following:

                a.    On June 8, 2017, Seized Account 2A wired

   approximately $297,795 into SUBJECT ACCOUNT 16A.

               b.     On June 30, 2017 SUBJECT ACCOUNT 16A transferred

   $600,000 to SUBJECT ACCOUNT 16B.

                c.    On April 16, 2018, Lacey personally went into the

   Republic Bank of Arizona, withdrew $500,000 from SUBJECT ACCOUNT

   16A and opened SUBJECT ACCOUNT 16C with an initial deposit of

   the $500,000 he had just withdrawn from SUBJECT ACCOUNT 16A.

               d.     On or about February 15, 2018, Lacey drafted two

   checks totaling $1.2 million, which he used to fund his "CDARS"

   accounts at Republic Bank of Arizona.            The first check was drawn

   from Seized Account 6 in the amount of $600,000 and deposited

   into SUBJECT ACCOUNT 16D.         The second check also was drawn from

   Seized Account 9, also in the amount of $600,000, but was split



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   evenly into SUBJECT ACCOUNTS 16E (which received $300,000) and

   16F (which received $300,000).

                e.    On or about February 8, 2018, Larkin drafted a $1

   million check drawn from Seized Account 7B and made payable to

   Republic Bank of Arizona in order to fund his "CDARS" accounts

   at that bank.      SUBJECT ACCOUNT 16G received $500,000, SUBJECT

   ACCOUNT 16H received $250,000, and SUBJECT ACCOUNT 16I received

   $250,000.

             18.      SUBJECT ACCOUNT 1 7

         64.    I have reviewed records for SUBJECT ACCOUNT 17 as well

   as the following accounts: the BBT Account; the AZBT Account;

   Arizona Bank & Trust annuity trust account numbers 9361121967,

   9361121972, 9361121986, 9361121991, and 9361122014, all held in

   Lacey's name ("AZBT Annuity Accounts"); and Johnson Financial

   account number 1000879992 held in an IOLTA with Lacey as the

   sole beneficiary.       From this review, I learned the following:

                a.    Between December 14, 2015, and January 15, 2016,

   in approximately 26 wires, a GoCoin account in Slovakia

   transferred over $2.5 million to the BBT Account in the United

   States.

               b.     On January 15, 2016, the BBT account wired

   $189,571 to Verizon in Los Angeles, California, in payment for

   Backpage internet services.



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                c.    Between January 21, 2016, and August 31, 2016, in

   approximately 27 wires, the BBT Account transferred

   approximately $48 million to the AZBT Account.

               d.     Between April 1, 2016, through October 6, 2016,

   in approximately 12 transactions, the AZBT Account transferred

   over $18 million to the AZBT Annuity Trust Accounts.

                e.    On December 29, 2016, Lacey's AZBT Annuity Trusts

   Accounts sent five wires totaling $16.5 million to the Johnson

   Financial Bank Account.

                f.    On January 3, 2017, the Johnson Financial Account

   wired the $16.5 million to the SUBJECT ACCOUNT 17 in Hungary.

            19.       SUBJECT ACCOUNTS 18A, 18B, 18C, 18D, 18E, 18F, 18G,

                18H, 18J, 18K, and 18L

         65.   On April 5, 2018, pursuant to a plea agreement in the

   District of Arizona, Ferrer plead guilty to a single-count

   information charging him with a violation of 18 U.S.C. § 371,

   conspiracy to violate 18 U.S.C. §§ 1952 (the Travel Act) and

   1956 (money laundering).        As part of his plea agreement, Ferrer

   agreed to "take all steps within his power to forfeit to the

   United States all corporate assets and other property owned or

   controlled by Website Technologies, LLC, which own and operates

   the Backpage website, as well as corporate assets and other

   property owned or controlled by Backpage.com, LLC, Posting

   Solutions LLC, Amstel River Holdings, LLC, Ad Tech BV, and UGC

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   Tech Group CV."        That same day, also in the District of Arizona,

   Backpage.com, LLC and related entities plead guilty to 18 U.S.C.

   §   1956 (h)   (money laundering conspiracy) .

          66.     On April 17 and April 18, 2018, along with other law

   enforcement agents and prosecutors, I spoke with Ferrer and his

   attorneys in Phoenix, Arizona.          Following this in-person

   interview, I also have spoken with Ferrer on the phone and

   communicated via email.        From my review of Service Level

   Agreements, financial records related to SUBJECT ACCOUNTS 18,

   and records and statements provided by Ferrer, I know the

   following:

                  a.   SUBJECT ACCOUNTS 18A, 18B, 18C are accounts owned

   by Ad Tech BV and controlled by Backpage.             According to Ferrer,

   all funds in this account are the criminally derived proceeds of

   ads promoting prostitution. According to Ferrer, SUBJECT

   ACCOUNTS 18A, 18B, and 18C are accounts receivable bank

   accounts.       Payment processors and merchant processors would take

   credit card payments, and payments such as bitcoin payments from

   Backpage customers for prostitution and other ads, and would

   transfer these funds to accounts such as SUBJECT ACCOUNTS 18A,

   18B and 18C.        Per his plea agreement and his cooperation, Ferrer

   has agreed to surrender these funds and/or securities to the

   United States.

                  b.   SUBJECT ACCOUNTS 18D, 18E, and 18F are accounts

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   held by a third party, Gold Leaf SRO.            According to Ferrer and

   Service Level Agreements        ("SLA") between Ad Tech BV, a Backpage

   owned company and Gold Leaf SRO, which I have reviewed, the

   funds and/or securities in these accounts are the criminally

   derived proceeds of Backpage ads, including ads promoting

   prostitution.      The SLAs state that 99.5% of the net proceeds are

   to be paid to Ad Tech BV, which is owned by Backpage.               According

   to Ferrer, the arrangement between Gold Leaf, SRO, and Backpage

   was put into place to evade what he called a "blockade by credit

   card companies."       Ferrer explained that beginning around 2015,

   U.S. credit card companies such as MasterCard and Visa refused

   to process credit card payments for Backpage due to the negative

   press surrounding sex trafficking and prostitution content on

   Backpage.     As one of the ways around this "blockade," Backpage

   Operators set up agreements with foreign persons and partners to

   "franchise" websites for the sole purpose of accepting credit

   card payments.      According to Ferrer, this use of foreign third-

   parties and foreign accounts allowed Backpage to continue to

   accept credit card payments for prostitution ads while

   concealing from the credit card companies that the payments were

   for Backpage ads.       Ferrer said that Gold Leaf SRO existed for

   the sole purpose of funneling to Backpage accounts otherwise

   prohibited credit card payments for Backpage ads.               Ferrer

   explained that these accounts are owned by Backpage and are not

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   co-mingled with other funds, and are therefore subject to

   seizure and forfeiture to the United States.

                c.    SUBJECT ACCOUNTS 18G, 18H, and 18I are accounts

   held by a third party, Protecttio SRO.            According to Ferrer and

   an agreement between Protecttio SRO and Ad Tech BV, which I have

   reviewed, the arrangements between these entities are

   essentially the same as the Gold Leaf SRO arrangement.                This

   business arrangement existed for the sole purpose of allowing

   purchasers of prostitution ads to purchase ads on Backpage

   websites while evading the credit card company blockade.                Ferrer

   explained that these accounts are owned by Backpage and are not

   co-mingled with other funds and/or securities, and are therefore

   subject to seizure and forfeiture to the United States.

               d.     SUBJECT ACCOUNTS 18J, 18K, 18L are accounts held

   by a third party, Varicok SRO.          According to Ferrer and an

   agreement between Varicok SRO and Ad Tech BV, which I have

   reviewed, the arrangement is essentially the same as the Gold

   Leaf SRO, and Protecttio SRO.          This business arrangement existed

   for the sole purpose of allowing purchasers of prostitution ads

   to purchase ads on Backpage websites while evading the credit

   card company blockade.        Ferrer explained that these accounts are

   owned by Backpage and are not co-mingled with other funds and/or

   securities, and are therefore subject to seizure and forfeiture

   to the United States.

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            20.       SUBJECT ACCOUNTS 19A, 19B, 19C, and 19D

         67.      From speaking with Ferrer and reviewing financial

   records, I learned the following:

                 a.   SUBJECT ACCOUNTS 19A, 19B, 19C, and 19D, are

   owned by Ad Tech BV, with Ferrer as the ultimate beneficial

   owner.      According to Ferrer, SUBJECT ACCOUNTS 19A, 19B, 19C and

   19D are accounts receivable banking accounts.              Payment

   processors and merchant processors would take credit card

   payments, and payments such as bitcoin payments from Backpage

   customers for prostitution and other ads, and would transfer

   these funds to accounts such as SUBJECT ACCOUNTS 19A, 19B, 19C,

   and 19D.      These accounts contain funds and/or securities that

   are criminally derived and are subject to forfeiture.                Ferrer

   and Backpage has agreed to surrender these funds and/or

   securities as they are criminally derived.

            21.       SUBJECT ACCOUNT 2 0

         68.      From speaking with Ferrer and reviewing financial

   records, I learned the following:

                 a.   SUBJECT ACCOUNT 20 at Knab Bank in the

   Netherlands is an account held by a third party, Procop Services

   BV.   According to Ferrer the arrangement is essentially the same

   as the Gold Leaf SRO and Protecttio SRO, as described with

   respect to SUBJECT ACCOUNTS 19.          This business arrangement

   existed for the sole purpose of allowing purchasers of

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   prostitution ads to purchase ads on Backpage websites while

   evading the credit card company blockade.             Ferrer explained that

   these accounts are owned by Backpage and are not co-mingled with

   other funds and/or securities, and are therefore subject to

   seizure and forfeiture to the United States.

            22.       SUBJECT ACCOUNT 21A and 22B

         69.      From speaking with Ferrer and reviewing financial

   records and business agreements,         I learned the following:

                a.    SUBJECT ACCOUNT 21A is an account in the

   Netherlands held in the name of Gulietta Group BV.               According to

   Ferrer and the SLA, the funds and/or securities in this account

   are derived from selling advertisements online, most of which

   are for prostitution advertisements.           The SLAs state that 99.5%

   of the net proceeds are to be paid to Ad Tech BV which is owned

   by Backpage.      According to Ferrer, the arrangement between

   Guilietta Group BV and Ad Tech BV (Backpage) was put into place

   to evade the same credit card "blockade" described in with

   regard to SUBJECT ACCOUNTS 18D, 18E, and 18F.              Ferrer explained

   that these accounts are owned by Backpage and are not co-mingled

   with other funds and/or securities, and are therefore subject to

   seizure and forfeiture to the United States.

               b.     SUBJECT ACCOUNT 21B is an account in the

   Netherlands held in the name of UnivsersAds BV.              According to

   Ferrer and the SLA between the companies, the funds and/or

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   securities in this account are derived from selling

   advertisements online, most of which are for prostitution

   advertisements.        The Service Level Agreements state that 99.5%

   of the net proceeds are to be paid to Ad Tech BV which is owned

   by Backpage.        According to Ferrer, the arrangement between

   UniversAds BV and Ad Tech BV or Backpage was put into place to

   evade the same credit card blockade described above.                         Ferrer

   explained that these accounts are owned by Backpage and are not

   co-mingled with other funds and/or securities, and are therefore

   subject to seizure and forfeiture to the United States.

      VI.         CONCLUSION

            70.   For the reasons stated above, there is probable cause

   to believe that the funds and/or securities on deposit in the

   SUBJECT ACCOUNTS are subject to seizure and forfeiture by the

   United States under the following provisions:

                  a.    18 U.S.C.   §       981(a) (1) (A), because the funds

   and/or securities in each of the SUBJECT ACCOUNTS are involved

   in, and traceable to, one or more transactions or attempted

   transactions in violation of 18 U.S.C.                  §   1956(h)     (Conspiracy to

   Launder Money), 18 U.S.C.            §    1956(a) (2)   (International Money

   Laundering for Promotion), and 18 U.S.C.                    §   1957   (Financial

   Transactions Involving Illicit Proceeds); and

                  b.    18 U.S.C.   §       981 (a) (1) (C), because the funds

   and/or securities in the SUBJECT ACCOUNTS constitute and are

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   derived from proceeds traceable to one or more violations of 18

   U.S.C.   §   1952, and 18 U.S.C.    §    1591).




                                                        Isl
                                             Lyndon Versoza
                                             U.S. Postal Inspector

   Subscribed to and sworn to me

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                                                                                                          OISTRIC OF AFUZONA
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     s                                                                                 SEALED
     6
                                          IN THE UNITED STATES DISTRICT COURT
     7
                                                   FOR. THE DISTRICT OF i\RlZ()NA
     8
                                                                                              CR-18-00422-PHX-SPL (BSE3)
     9      United States of America,
    10                                      Plaintiff~                                              lNDlCTMENT

    11                   V.                                                            VIO:     18 llS.C § 371
                                                                                                (Conspiracy)
    12                                                                                          Count 1
            l. tv1ichae1 Lacov
    13      Counts 1-70, 81, '83-84, 86, 88-92                                                  1,?, U.S.C. § 19.J2(a)(3)(1\) . .
                                                                                                ( r raveI Act-······l"'ac1htatc Prostttutwn)
    14      2. Jarncs Larkin                                                                    Counts 2-5 J                               •
            Counts ]-68 1 80, 87
    !.5                                                                                         18 lLS.C. § 1956(h)
            3. Scott Spear                                                                      (~onst;!:~~; to Commit Money
    16      Counts 1-68, 71-78, 85, 93                                                          I.,,1u.nd,...-1mt;)
                                                                                                Count 52
    ]7      4. John "Jed" Bnmsi
            Counts 52-70, 78-84, 86-93                                                          l.8 U.S,C. & l 956(a)(I)(B)(i)
    18                                                                                          (p)nc~aJ~11~:f Money Laundering)
            5. Dan Jlyer                                                                        Lormt.., 53~.>"'                       .
    19      Counts 1-68
                                                                                                18 U.S.(. § l956(a)(~)(A)
   20       6. Andrew Padilla                                                                   (International Pmmot1cma.! Money
            Counts J-51                                                                         Laundenng}
   21                                                                                           Counts 63-68
            7. Joye Vaught                                                                                 (1 C' J;;. ·1 (IS"7( •
            Counts 1-51                                                                         18, , l\,T.,), .... ';f .I .J~. , aJ
                                                                                                (!ransac!:io_!tal !\1foney Laundering)
   23                                       Dcfe:ndants..                                       Counts 69-93

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                ----···························································----<
   26
           THE GRAND JURY CHAR.GES:
   27
           A.       Introduction
    28
                    1.         The website wvvw.backpage.corn CBackpage") is notorious for being the




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         intcrnct's leading source of prostitution advertisements.           Backpage derives the
    2    overwhelming majority of its revenue from such ads, These practices have enabled
     3   Backpage to earn over $500 m.illion in prnstitntion-rdated revenue since its inccpti.m.1,
     4          2.     Backpage was created in 2004 by defondant !VHCHAEL LACEY
     5   ('"LACEY'')~ defendant JAM.ES LARKIN ("LARKIN"), and a thfrd individual~ C.F. From
     6   2004~:! 5, LACEY and LARKIN oversaw the website's policies and strategic direction.
     7   i\dditionally~ LACEY and LARKIN have retained significant control over the \.Vehsite (and
     8   have continued receiving tens of miUions of dollars of Backpage-related distributions)
    9    since purportedly selling thdr interests in Backpagc in 2015.
                3,     Defendant SCOTT SPEAR served as the Executive Vice President of one of
    11   Backpage's. parent cornpanics and. held, at times, an ovvnership interest fo Ba:ckpage of
    l2   approximately 4'%.
    l3          4,     Defendant JOI-IN "JEIY' BRJJNST ("BRlJNST") served as the Chief
    14   Financial Officer of Backpagc and several of Backpage' s parent con:ipanies and hdd, at
   15    times, an O\•vncrship interest in Ba.ckpage of approximately 6'%,
   16                  Defendant DAN BYER ("UYER") joined Backpages marketing department
   17    in or around 2006 and served as Backpage's Saks and Marketing Director,
   18                  Defendant ANDltEW PADILLA CPADJLLA") served as Backpage's
   19    Operations Manager.
   20                  Defendant JOYE VAUGHT ('"VAUGl-1T') served as Backpagc's assistant
   21    Operations Manager.
   22           8,     The defendants identified above are referred to at times in this indictment as
   23    the "BACKPAGE DEFENDANTS.''
   24           9,     As explained in detail below~ the.B/\CKP/\GE DEFENDANTS have utilized
   25    a variety of strategics tu make it appear that the prostitution ads appearing on Back.page
   26    are actually ads for "esc.orf' services, ''adult" companionship, dating, or other la 1,vful
   27    activities, For example, Backpage purports to bar customers from offering illegal services
   28




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     1    and has pcrlodicaHy used cmnputerizcd filters and hnman "moderators" to edit the wording
     2    of (or block) ads that explicitly offer sexual services in return for money,
     3                   These strategies arc a fiction designed to conceal the true nature of
     4    Backpagi,/s ads and customers.           Indeed, the BACK.PAGE DEFENDi\NTS have
     5    admitted--in internal cornpa11y documents aml during p1:ivate meetings ---~that they know
     6    the overv1hr.hning rnajority of the website's ads involve prostitution, ln one intema1
     7    document, LACEY aetu.aHy bragged <1bout the company's contributions to the prostitution
     8    indtrntry: "Back.page is part of the solution. Eliminating adult advertising wiH in no y.,.,ay
     9    eliminate or even reduce the incidence of prostitution in this country, , .. For the very first
   10     time, the oldest profession .in the world has transparency, record keeping and safoguards."
   11            11.    ·Notwithstanding       these     private     admissions,             BACKPAGE
    P     DEFENDANT'S have takcnpains to mfokad the public, regulators, and Jaw enforcement
   13     officials co11ccrning the snr:poscd sincerity ofBackpage~s efforts to prevent the publication
   14     of p1~ostitution-relatcd ads, For example, after reviewing LACE Y's written description of
    1:5   Back.page's contributions to the prostitution industry and editing practicei'l'.,, LARKJN
   16     instructed C.F. to prevent "any of the information in this being made public." P/\.DIU.,_A,
   17     who helped supervise Backpagc's moderators, threatened to fire any employee vvho
   18     acknowledged in writing that the ''escorts" depicted in the \.Vcbsite's ads were actually
    19    prostitutes: '"Leaving notes . , . implying that we're aware of prostitution ... is enough to
   20     lose your job over," And in one internal document_ B.aekpagc's media strategy was
   21     described sirnply as ''Do not admow-ledge the prostitution."
   22                    Many of the ads published on Backpagr. depicted children who \Vere victims
   23     of sex trafficking. Once again, although Backpage has sought to create the percept.ion that
   24     it diligently atte.mpts to prevent the publication o:f such ads, the reality is that Backpage has
   25     allowed such ads to he published vvhile declining---- for financial reasons------to take .necessary
   26     steps to address the problem. For example, for several years, Backpage's official pohcy,
   27     when presented with an ad featuring the prostitution of a chi id, was to delete the particular
   28




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     1   words 111 the ad denoting the child's age and then publish a revised version of the ad. Such
    2    editing, of course, did nothing to change the fact the ad foatured the prostitution of a chHd-······
    3    it only· created a veneer of dcniahihty and helpr.d Backpagc's customers (i,e., pirnps
    4    trafficking children) evade detection.
    5           13.     Backpage has also coniribnt.cd to the prohforatfrm of ads featuring the
    6    prostitution of children in other ways. For exarnple, an anti-sex trafficking organization
   ·7    once suggested t:hat Backpage provide an autornatic warning message whenever a customer
    8    scan:hed for particular terms indicative of tfo.i prostHufa.ni of a child, f.n response\ C.F,
    9    acknowledged the proposal \Vas a good one hut declined to adopt it because Backpagc
    IO   would not derive any public-relations benefit from doh1g so: "This is a good idea but it is
    I1   not visible to AGs [state attorneys general] so it has httle PR value. lt. is a I.ow prioTity. n
   J2    Backpagc has also daiincd it does everything in its pc)'-..ver to alert the National Center for
   13    Missing and Exploited Children ("'NCMEC'°) whenever it becomes aware that a child is
   14    being advertised on its website. However, the BACKP/\(IE DEFENDANTS implemented
   15    policies to ar!:ificbL!y limit such referrals, In one crnafl, PADILLA. instructed VAUGHT
   16    that "if we don't want to blow· past 500 [referrals to Nl\tlCECJ this month, v,,,re shouldn't be
   17    doing rnore than 16 pe:r day." In another training document, nmderntors were instructed
   18    not to send emergency akrts to NCMEC in response to complaints filed by the
   19    grandparents and other t\XJended family mernbern of chfldren being advertised on the
   20    website: «Neice [sic], nephew, grandchi1rk cousin, etc.doesn't count>;
   21            l.4,   Virtually every do11ar flowing into Backpage's coffers represents the
   22    proceeds of ilkgal activity. fo fact, by 2015, the n1c1jor credit card companies stopped
   23    processing payrnents for Baekpage and some banks dosed Backpage's accounts out of
   24    concern they \Vere being nsed for illegal purposes.             Jn response, the BACKPAGE
   25    DEFENDANTS have pursued an array of money !am.u-Jcring strategies. These strategics
   26    have included (a) instructing customers to send checks and money orders to particular Post
   27    Office box, depositing those payments in hank accounts held in the name of entities with
   28




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     1    no apparent comwcti(m to Backpagc 1 and then giving customers a corresponding "credit"
     2    on B-ackpagc to pun:.-hase new ads, (h) wiring the proceeds ofBackpagc's business to hank
     3    accounts held in fr)rcign countries and then redistributing the funds to 1.x.~rta.i11 BACKPAGE
     4    DEFENDANTS (as compensatkm) or redepositing the funds in bank accounts held in th0
     5    United States (to conceal the nature of those funds and promote Backpage's ongoing
     6    operations), and (c) converting customer payments, and. the proceeds of Backpage's
     7    business, into and out of cryptocurrency,
     8           15.        The BACK.PAGE DEFENDANTS have also engaged in other financial
    9     transactions designed to conceal their misconduct and evade seizure by law enforeemenL
    IO    For example, in November 201.6, LAC'.EY asked ern.p1oyees of an Arizona-based bank for
   l l.   advice on how to move his assets "offshore" to protect thern from seizure by the
   12     government. Soon ai:krwanL $16,5 miHion in Backpage-derived cas:b was wired from
   J3     LACEY's bank accounts in the United States to an overseas bank account in Hungary.
   !4            l.6.       For al! of these reasons, the BACKPAGE DEFENDANTS are charged in this
   !5     _indictment ,::vith the crimes of facilitating prostitution (18 U.S.C. § 1952\ eoncealrnent,
          transactional and international promotional money laundering (18 U,S.C. §§ 1956 and
                        1



   ]7     1957), and/or conspiracy to commit thes(~ offenses (18 lJ.S,C § 371 and 1956).
   18     B.     Back:r.age s Origins, Ownership, and Control
                              1




   19            l.7.       LACEY and LARKIN are the founders of the Phoenix Ne1,v Time5\ an
   20     alternative newspaper based in /\rizona.       Over time, L/\.CEY and LARKIN acquired
   2l.    several other alternative newspapers, which they came to operate through an entity called
   22     Village Voice Media J-Joldings ("VVMlT'). Additionally, SPEAR served as VVMH's
   23     Executive Vice President and BRUNS:1' served as vvrvnrs Chief Financial Officer.
   24                       The publications within the VVMH newgpapcr chain routinely featured
   25     illegal prostitution ads, 1n foct, more than 30 years ago, a federal court affirmed the
   26     conviction of the operator of a prostitution business (\:vhich masqueraded as a massage
   27     parlor) ,for publishing ads in the classified section of the Village Voice. /-,'ee (hilted States
   28




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     I   v. SigaloH', 812 F.2d 783 (2d Cir, 1.987), The conviction \-vas for violating 18 "U.S.C
    2    § l. 952, one of the same crim.es charged in this indictment

    3                   _By 2000, the rise of the intcmct----.,and, m particuJar, the \Vcbsitc
     4   www.craigs1istcom C'Craigslist''), which offered free classified ads ----began to
    5    significantly disrupt VV!vl!Ts business model, which depended on classified advertising
    6    revenue for survival
    7           20.     LACEY and LARKIN, with assistance fr·om CF,, sought to address fois
     8   threat by creating Backpagc. Their decision to create Hackpage was later described in an
    9    internal company document as follows: "In 2004, in response to the Craigslist threat that
    10   was decimating daily ne\vspapcrs, VV.tvl launched Jts own online classified site,
   11    Backpage.com, named afterthe back page of VVM's print publication.''
   12           2L      During its first few years of operation, Backpage accmmted fclr only a
   IJ    fraction ofVVMlJ's overall revenue, In January 2006, for example, VVMH estirnated that
   14    Backpage supplied only 11}'a of its overall advertising revenue but al.so noted that Back page
   15    had •'trerncndous upside potentiaL"
   16           22,     This prediction proved prophetic. By 2008, Backpage was generating over
   17    $5 rnillion in annual profit. 'This annual profit figure increased to over $1.0 million in 2009.
    l8                  ln 20 l 0~ Craig List chose to shut down its "adult" section due to the prevalence
    19   of ads for prostitution and other illegal services. The BACKPAGE DEFENDANTS,
   20    sensing an opportunity, rnadc a.n aggressive push for Backpage to capture Craiglisf s share
   21    of this markeL fa one internal document~ LARKIN commented: "Craigslist has fo1ded, .
   22    . , H is possible that this will rnean a deluge of adult content ads for hackpage,com . , , .
   23    We Irnvti wjth the Village Voice prnbabiy the longest nm of adult content adve1iising in
   24    the l.JS and it is, hke it or not, in our DNA.!'
   25           24,     This push was successful Jn internal documents, Backpage stated that it
   26    experienced "explosive gro\.vth" by "'capitalizing on displaced CraigsHst ad vo]mnc."
   27    Backpage's amrn.al profits grew to over $26 m.fflion in 20 I.O, over $52 1nil1ion in 20 l l, and
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     1    over $78 rni!lion in 2012.
     2                  'fhcse figures dwarfed the profits that VVMH's print publications were
     3    generating. ln fact, Backpage became so profitable that the BACKPAGE DEFEND/\.NTS
     4    decided to get ·rid of VVl\/1Tl's publishing business so they conkl focus on Backpage's
     5    further ckvdoprncnt and expansion.       Accordingly, in or around November 2012, the
     6    BACKPAGE DEFENDANTS spun off VVMlrs print publications and began utilizing
     7    several new corporate entities; including Medalist lfoldings, Inc, ("Medalist''), Dartrnoor
     8    HOidings LLC CDartmoor"), and Camarillo Holdings, LLC ("Camarillo"), to serve as
     9    Backpage's parent companies.
    1.0          26.    Following these transactions, LACEY held an mvncrship interest in Medalist
    I.I   (and, thcrefr)re, in Backpage) of approximately 45%, L/\R.KIN held an ownership interest
          of approximately 43°Ai, BRUNST held an ownership interest of approximately 6%), and
    i3    SPEAR held an ownership interest of approximately 4iy.;,
    !4           27.    Backpage 's annual profits continued to 1.,kyrocket during and after these
   15     changes. They grev,1 to over $ l l 2 million in 2013 and over $134 million in 20 14,
   16            28,    ln or around April 2015, L,\CIIY, LARKIN~ SP.EA.R; and BRUNST
   17     purported to sell their ownership interests in Backpage a.nd several rdated entities for
   18     around $600 mH1ion to various: Dutch entities. 'These Dutch entities included Atlantische
   19     Bodrijven, C.V., which agreed to purchase Backpage's U.S. operations for around $526
   20     n1fllion 1 and UG·C Tech G-roup C.V ., \vhich agreed to purchase Backpa.gc's overseas.
   21     operations for around $77 million,
   22            29,    In fact, these Dutch entities ,,vcre controlled by C.F., Vlho bo1Towed most of
   23     the $600 million from entities eontrnl!ed by d1e sellers to finance the purchase, l)uc to this
   24     financial a.rrnngement 1 LACEY, LARlCIN, SPEAR, and BRlJNST retained a significant
   25     financial interest in Backpage after the transactions were completed.
   26            30,    Additionally, LACEY, LJ\RKTN, SPEAR, and BRUNST retained significant.
   27     operational control over Backpagc following these transactions. For example, the April
   28
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     J    2015 loan agreement requ.ired C.F. to sign a six-year employment agreement, required CJ<
     2    to provide the lenders \Vith foH access to Backpage's books and records~ required C.F, to
     J    provide the lenders with an annual listing of all of C,F. 's personal assets, and prohihitcd
     4    CJ< from opening any new bank accounts on Back:page's behalf '>Vithout the lenders'

     5    consent
     6    C,
     7           JL     By 2008, if not earlier, the BACKPAGE DEFENDANTS \Vere aware that
     8    the overwhelming m,1jority of the website's "adult" ads involved prostitution,
     9    Nevertheless, the JJACKP AGE DEFENDANTS rnad.e a financial. decision to continue
    l.O   displaying those ads,
    I.I                 The BACKPAGE DEFENDANTS also sought to sanitize the ads by editing
    1.2   them------that is~ by removing terms and pictures that were particula1'ly indicative uf
    1.3   prostitution and then pub1ishi11g a revised version of the ad. This process \Vas s(m1etimcs
    14    referred to as ''moderation,,;
    1.5          33.    For example, in April 2008, C.F. wrote a-n email explaining that, although he
    1.6   was "'under pressure to clean up phoenix's adult content," he was unwilling to delete
    1.7   prostitution ads because <lofog so "would put us in a very uncompetitiv,1 position \vith
    1.8   craig[slistr and resu11 in ""lost pagevicws and revenue." Thus, he instn1cfod Backpage's
    1.9   technical staff to edit the word.ing of such ads, by removing particular terms that were
   20     indicative of prostitution, a-nd. then allow the remainder of the ad to be featured on
   21     Backpage's website.
   22            34.    On February 26, 2009, C.F. received an einaH from the classified-ads
   23     manager of a newspaper within the vvrvn-1 chain asking why Backpagc's tcrrns of service
   24     purpoii:ed to prevent customers froro ''suggcst[ing:J an exchange of sexual favors for
   25     money" in light of the frwt that "[c]lca.dy everyone on tho entire backpage network breaks
   26     tho rules." In response, C.F. didn't dispute the author's characterization and. explained that
   27     Backpage had sirnply added the terms of service at the behest of"our attorney in SF" in an
   28




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           att,:1npt to avoid liability in civil lawsuits,
      2           35.     On l\4ay 25, 2009, SPEAR received an ernail summarizing a plan to begin
      3    "rcmovf.ingJ sex act pies and cotk:d terms" from Backpage ads.         Later that day, C.F,
     4     fonvarded this email to HYER with the explanatory nole that ''Vv'e do not intend to be a
     5     craig[s1ist] here, just get out the most egregious stuff"
     6            36.     On March 8, 2010, C.F, testified in federal court (the united States District
     7     Court for the Southern District of Florida) in the crhni-nal trial of a pimp who had used
     8     Backpage to post prostitution ads . .During his tcstinHm)', CF. acknowledged the defendant
      9    had used the email address '"Y mmgpilnpin86" \,vhen posting the ads.              C.F, also
    l.0    acknowledged that the ads described one so-calkd escort as ''five-liiot-thret\ with a small
    l. l   wafat and an1azing ass you1U have to see to believe. XL, XL, XL, Lollipopn and described
    1.2    a different so-called escort as "discrete, sincere and extremely naughty. I am. the type of
    1.3    girl \Vho ahsolutd.y adores a man who understands the rnany desires of a young beautiful
    !.4    woman and how to acco1:nn1odate a variety of fantasies." This episode provided notice to
    l5     Backpage that it was implausible to pretend such ads were merely offering law fol escort
    16     services.
    17            37,     On Septcrnber l, 2010, PADILLA sent an email to HYER and C.F. stating
    18     that customers who engaged in "extreme and repeat" violations ofBackpage 1 s posting rules
    19     would have their ads deleted and be bam1ed from the website. However, PADILLA also
   20      stated the bans would only be temporary a:nd that '\veH do everything we can to affect
   21      only the \,vorst apples."
                  38,     On Septernber 1, 2010, SPEAR received an email ackno1vvkdging that
   23      Backpage's 111ocfora.tors \VCW being instructed to "Remove any sex act pies in escorts [ads]"
   2A      and. "Remove any illegal text in escorts [ads] to include any code words for sex act for
   25      money,"
   26             39.     On September 21, 2010, a group of state attorneys genera] wrote a letter to
   2.7     Backpage.     This letter observed that "ads for prostitution------including ads trafficking
   28




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         chfldren······are rampant on the site" and argued that '"[b]ecausc Backpage cannot, or 1-vill
    2    not, adequately screen these ads, it should stop accepting them altogether," The ktter
    3    acknmvlcdgcd that this step \Vonid cause Backpagc to "lose the considerable revenue
    4    generated by the adult services ads" but stated that "''no amount of money can justify the
    5    scourge ofiUcga1 prostitution, and the rnisery of the women and children who 1-vi11 continue
    6    to be victimized, in the rnarketp1ace provided by backpagc,"
    7            40,   On September 25, 2010, C.F. wrote an email explaining that Backpagc was
    8    unwilling to delete ads that .included tcr.rns indicative of prostitution because doing so
    ()   would "pissU off a Jot of users \.vho wm migrate clscwJiere" and force Backpage to refund
   10    those customers' !:ees. 'fhus, CF. a1111ounced thatBackpagc wonld "go back to having our
   l]    moderators remove bad content in a post ... ,"
   12            4L    On September JO, 20! 0, C,F. testified in federal court (the United States
   13    Distdct Court for the District of Minnesota) in the criminal trial of a pimp who had used
   14    Backpagc to post prostitution ads,        During his testimony, CF. ackno;,x.dedged that
   15    Ba.ckpagc's servers arc located .in Arizona and that the ads posted by the Mim1csota-based
   16    defm1dant had therefore ''traveled across state lines.''
   17            42.   On October 8, 2010, PADILLA sent an email (on which VAUGHT vvas cc'd)
   18    threatening to fire any Backpage em.ployee who ackno,.vlcdgcd, in writing, that a customer
   19    was a prostitute: '"Leaving notes on our site that irnply that we're a\v,u·e of prostitution, or
   20    in any position to define it, is enough to los.e your job over. , . . This isn't open for
   21    discussim1. If you don't agree 1-vith what Pm saying completely, you need to find another
   22    job."
   23            43.   On October J 6, 20] 0, PADILLA sent an email to a large group of Backpage
   24    employees (including HYER and VAUGHT),                The email had two attachments that
   25    provided guidance on ho-,.,.v to "moderate" ads, The first vvas a Povverpoint presentat1{n1 that
   26    displayed a series of 38 nude and partia.Hy~nude photographs~ some of which depicted
   27    graphic sex acts, Next to each picture was an instruct.ion as to whether it should he
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            approved or disapproved by a Backpage moderator. These instructions induded "Approve.
     2      Nude rear shots are okay as long the model is not exposing her anus or genitalia." and
     3      "Approve, Rear shot okay. Transparent wet panties okay," The second wus an Excel
     4      spreadsheet identifying 50 terms (all of \Vhich were indicative of prostitution) that should
     5      he '"stripped" from ads befr)re publicatim.1. PADILLA concluded the email by stating:
     6      ""[f!t's the language in ads that's rcal1y killing us with the Attorneys General. h:nages arc
     7      almost an aftcii.houg:ht to them."
     8...          44 .   On October 16, 20 U\ PADILLA sent a separate internal email (\vhic.h also
     9      included I-IYER anJ VAUGHT as .recipients). In this email, PADILLA c-xplained that ''l'd
   10       like lo stiH avoid Deleting ads \Vhcn possible," that "we 're still a!lcn,ving phrases Vlith
   n        nuance," and that '"[ijn the case of lesser violations~ editing should be sufficient."
   12              45.    On October 25, 2010, C.F. sent an email to SPEAR, llYER, and PADILLA
   13       ack:no\~'kdging that the "[i]Hcgal content removed" through Back.page's m.oderation
   14       processes was '"usually money for sex act'' This email also explafo.ed that, af:ler the "sex
   15       act pies are removed/ the ''ad text m.ay stay."
   16              46.    On October 26, 20 H\ HYER and PADILLA received an email explaining:
   17       "\Ve \Vill nut remove ads vvith vaginas or penis showing, jnst: the images unless they are a
   18       frequent offender. We will not remove ads \-Vith rates under an hour, just the text with the
   19       m1ninn.1m rates. Users nt:cd time to react to this change,"
   20              47.    On October 27, 2010, PA.DILL/\ sent an email to the head of a group of
   2 l.     contractors from lndia who had been hired to mod,ffatc Backpage' s adult ads, In this email,
   22       PADILLA criticized the contractors for deleting too rnany ads, stated that this approach
   23       was bad for hn:-ducss, and instructed the contractors to simply edit the ads to remove the
   24       more-obvious 1anguagc: "As Jong as your crew fa editing and not removing the ad entirdy,
   25       we shouldn't upset too many users. Your crnv has permission to edit i:)ut text ·violations
   26       and images and then approve the ad. 1 '
   27              48,    On October 27, 20 l0, I-IYER sent a.n .internal. emai1 stating that Backpagc
   28
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         was "editing 70 to 80~•1<->'' of the ads it received frrnn customers, In other wonb, JJYER
    2    acknowledged that a large proportion of the ads originally submitted by Baekpage's
    3    customers contained text and pictures that vvcrc imhcative of _prostitution and. that
    4    Back.page was still choosing to publish those ads after editing them.
    5           49.    On Novernber 4, 2010, C.F. sent an email to Backpa.ge's India-based
    6    moderators (on which PADILLA \Vas cc' d) explaining that "[m]any of the ads need to have
    7    15 mfoute and 30 minute: pricing removed'' and that 'Tm being evaluated by lawyers [i.e.,
    8    state attorneys general! later this week so cleaning up old stuff is irnportant.''
    9                  On November 17, 2010, HYER. and PADILLA received an cma.i1
   10    acknowledging that the term Lolita is "code for under aged girl" but explaining that this
   1!    term could simply be stripped ont frorn ads (as opposed to refusing to publish the ad). The
   12    email also explained that customers should ho allowed to include their identification
   13    mimbers from a notorious prostitution •,,vchsitc~ The Erotic Review: "[ AJHow users to put
   14    in TER IDs (just no live links)."
   15           5L     On November 30, 20! {\ LARKIN, SPEAR., and other Backpage
   16    representatives participated in a conference call with representatives from NCM.EC.
   17    During this caU, the Backpage representatives were advised that a large portion of the ads
   18    on Backpage \Vere blatant prostitution ads, that many of those ads featured children, and
   19    that the posting ofs.uch ads was illegal in every state.
   20           52.    In Deccrnhcr 20 l 01 HYER, PADiLLi\, and other8 exchanged a series of
   21    emails entitk'.d "Deep deaning strip out." These emails identified a lengthy Est of tcnn.s
   22    that \Vere indicative of proi~titution and discussed plans for removing the terms from the
   23    old ads in Backpage's archives, During this exchange, C.F. stated that .Backpago wasn't
   24    willing to delete the old prostitution ads because "our users love" having access them,
   25    ''[sjo, best to do deep cleaning and not kill a valuable feature." C.F, later encouraged
   26    Backpage~s staff to complete t.he project quickly to avoid scrutiny: ''This task is urgent
   27    since CNN is nming [sic] a report soon."
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                53.    On January l. 3~ 20 !. 1, H.YE1{ and PADfLLA received an oma:il swnmarizing
    2    instrn.ctions that had been provided to members ofBackpage's tedmfoal staff. lt explained
    3    that the technical staff had been instructed "not to display the moderation log" in a
    4    particular section of Backpago~ s database "since we pdf this page for subpoenas, I would
    5    rather not testify in corut as to why my staJf \.ippruvcd' ... postings."
    6           54,    ln January 20 I. L LARKIN and LACEY met with a representative from
    7    NCJvfEC. During this mooting, LACEY asked which types of sex ads would be acceptable
    8    from NCMEC's perspective. When the NCMEC representative declined to say that any
    9    such ads would be acceptable, LACEY made a statement to the effect of'"adult prostitution
   10    is none of your business."
   n                   On January 31, 201 J, and February 1~ 20"! I., CF. engaged in an ernail
   12    exchange conc01.·n1ng \vhether to n.unove links to othe.r prostitution websites (such as The
   I3    Erotic Review) from expired Backpagc ads. C. F, stated thati although SPEAR and his
   14    "internet safety guy" \Vere n.:cornmendfog that such ads be removed, he thought this vvould
   15    "be a stupid move" because it \vould hmt Backpagc financially (by reducing the number
   16    of referrals from other sites).. C.F . added that '"this overly zealous focus on moderation at
   17    the expense of other devcloprnent is a lot of hull.shit .... "
   18           56.    On February 2, 201 l, C.F. sent an email acknowledging that •'[t]hc strip out
   19    affects almost every adult ad." In other words, C. F. acknowledged that "almost every adult
   20    ad°' on Backpage was a prostitution ad that had been edited to remove the xnost damning
   21    text and pictures.
   22           57.    On February 3, 20 l l, a Baekpage customer who \~'cnt by the name "Licks
   23    Alof' wrote an email to Uackpage complaining that aH of the pictures in one of her ads
   24    (entitled "Athletic SWF (Juanmteed Lovv Mileage Boys!!!") had been deleted.              CF.
   25    responded to "'Licks Alot" by cxpl.aini-ng that 0110 of her photos had been removed because
   26    "[o]ur crazy internet safoty experts do not want any genitalia shovving up around the
   27    thong.p lfowevcr, C.F. proceeded to apologize to «ucks Alot" over the removal. of her
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     1   rernaining photos, aHowed ber ad (which was obviously for prostitution} to remain on tho
    2    website, and offered her a free upgrade.
    3           58.    On February 8 1 20 I l, CF. testified in federal court (the United States District
    4    Conrt fen- the Middle District of Florida) in tho criminal trial of a pimp who had used
    5    Backpage to post prostitution ads. During his testimony, C.F., authenticated. one of the ads
    6    the defondant had placed on Backpage, whose titk was •'Extra horny sexy newbie,"
    7    confirmed that Bad,.page had allowed this ad to be posted rnu1tiple times in various East
    8    Coast cities, and acknowledged that Backpage published "a loC' of similar ads. This
    9    episode provided further notice to Backpage that it was irnplausible to pretend snch ads
    IO   \Vere 1nerely offering lawful escort services.

   11           59.    On February l.6, 2011, PADILLA s.cnt an ern.ail to Backpagc's 1n<lia-based
   12    moderators (on which VAIJGl-IT \Vas cc'd) explaining that Backpagc was adopting a
   n     "more lenient policy'' and fhat he \Vas instructing his. Phoenix-based employees to '"go easy
   14    on some types of violations." PADILLA ackm.nvlcdged this approach would "likely" result
   15    in rnore "violatkrns" but emphasized that "moderators should err on the side of the user!'
   16           60.    On February 1.6, 20 l.l, PADILLA sent a separate email. discussing \Vhether
   17    several terrns: should remain on Backpage's "filtered terms" list During this discussion,
   18    PADILLA. acknmvledged---by placing quote marks around the term '"companionship"---
   19    that he didn't actually believe the worncn being advertised on Backpage were :providing
   20    hnvfo.l escort services: "!_The tenn] implies sorne exchange ofbodi1y fluids which ki!Js our
   21    'companionship' argument, but i don't thi-nk \Ve~ve ever really gotten in tronhk for iL"
   22           61.    On February 22, 2011, PADILLA received an email requesting Backpage's
   23    "Est of banned~ stripped out adult terms,"         In response, PADILLA sent an Excd
   24    spreadsheet entitl.cd '"Phrase List 02211," which PADILLA described as '"the latest greatest
   25    version of the list'' The enclosed spn.iadsheet identified over 660 words or phn=rnes that are
   26    .indicative of prostitution, including an array of terms that are suggestive of child
   27    prostitution (e.g., "'lolitat "fresh/' "high schoo1:' "'tightt "yonntl The spreadsheet
   28




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     l    cxpiained that most such terms were sirnpl.:l to be "filtered" from the ads 111 \vhkh they
     2    appeared.
     3           62.      On February 23,201 l, PADILLA received an email concerning a particular
     4    ad that had recently been (.xlited by Backpage's India-based moderators. The ad was
     5    obviously :for prostitution-·····its title was «nev/-nevv~ncw-put me in your favodte position"
     6    and the poster had attempted to include two photographs that violated Backpage's post.lng
     7    rules, In response, the India-ba~{ed moderators had deleted both of those photos, as weU as
     8    a third photo that depicted the prostitute's face, and then all.owed the ad to be published.
     9    The email received by PADILLA did not criticize the rnoderatorn for aHm-ving an obvious
    IO    prostitution ad to be published after editing. To the contra.ry, it en1phasized that the ad
    1.1   should remain on Backpage and criticized the moderators i<)r removing the third photo,
    l2    threatening to fire them. ff they did it again: "2 out of 3 pies should have been rcrnoved.
    l3    But [theJ moderator deleted all three plcs, This is plain wrong, , , , I would fire a moderator
    l4    in Phoenix if they did this."
                 63.      In Ma.rch 20 I!, LARKIN, LACEY, S.PEAR., and other Backpagc
    16    representatives 1net with representatives from NCMEC. During this meeting, the Backpage
    17    representatives \vere again advised that a large portion orthe ads on Ba.ckpage '>Vere blatant
    !8    prostitutkm ads. The Backpage rcpres,~ntatives also were advised they could be criminally
    !9    prosecuted under federal law for their conduct.
   20            64.      On April 5, 2011, PADlLL/\. sent an email whose recipients included
   21     VAUCffJT and the supervisor of Backpage's Indian moderation team. The em.ail \Vas
   22     entitled "relaxed image standards" and 1nduded, as an attachment, a doc11ment that
   23     displayed a series of 30 nude and partially-nude photographs, Next to each picture was an
   24     instrud1on as to whether it should be approved or disapproved by a moderator. One picture
   25     sho\ved a woman sitting on a bed, wearing only a bra and pantks, with her legs spread
   26     open and her hand partially covering her crotch, The caption provided in part: "'okay -
          but barely.''
   28




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     l          65.     Betvveen April 2011 and JVIarch 2012, PADILLA, C.F,, and others
    2    participated in an email exchange acknowledging that Backpage was dC!eting thousands of
    3    pictures from customer ads each week a:nd seeking assistance in collecting all of the deleted
    4    pictures so they could he used for "entertainment" or to generate user «traffic for other
    5    projects,'' The crnail explained that the deleted pictures could be made available to the
    6    public on a new \,vcbsjtc called "11<:tkedpics,backpage,com" or "badpics.hackpage,com."
    7           66.     On April 19, 2011., LARKIN and SPEAR received an email seeking
    8    permission io tenninate the contract of a foird-party vendor that had been receiving $17 ~000
    9    per month to "remov[c] any nude pies" from the expired ads in Backpage's database.
    lO   LARKIN responded: ''do it!"
    u           67.     On Jnne 7, 200, C.F, received an inqu.iry from a law· cnforcernent officfa1
   12    about a particular ad. that included. the term "arnber alert." In response, C.F. acknowledged
   13    this might be "some kind of bizarre new code word for an under aged penmn.'' C.F, then
   14    forwarded this exchange to PADILLA and stated that he had instructed !TYER to add
   15    "amber alert" to Backpagc's "strip out" list ln other words, HYER, PADlLLA, and CF.
    16   did not require all future ads involving this particular coded term for the prostitution of a
    !7   child to be blocked fn:nn Backpage~----they merely required such ads to be edited hef<)re
   18    publication.
    !9          68.     On June 30, 201 I., several Backpagc representatives met with representatives
   20    frorn the office of the Washington State Attorney GencraL During this meeting, the
   21    Backpagc representatives initially attempted to daim that no prostitution ads appeared on
   22    their i.;vebs.ite. fn response, a repre~entative from the Attorney Ckncral's office stated:
   23    "·y uu mean to tell. .me that if someone responded to an advertisement, the woman they
   24    caHed for services would be offering to go out for coffee?" A Backpage representative
   25    responded to this question by looking at C.F., laughing, and acknowledging that Backpage
   26    couldn't '"deny the undeniable."
   27           69.     On July 27, 2011, C.F. sent an email to HYER and Pl\DfLLA~ and a nearly-
   28




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         identical ernai! to LARK.IN and LACEY, concernmg the possibility of using a.ge-
         vcrificatkrn software. Jn this email, C.F. acknowledged the soflwaro 111ight be beneficiaJ
    3    ("This might he our solution") but recommended against its wholesale adoption because it
    4    would cost "79 to 99 cents per query" and \Vonld thus cu.t foto Backpage 's profits.
    5           70.     On July 28,201 J, LACEY sent LARKIN a drafl editorial entitled "BackPage
    6    lffH..krstood.'' In this docum.ent, LACEY bragged about Backpage's contributions to the
    7    prostitution industry; "Backpagc is pali. of the solution. Eliminating our adult advertising
    8    will fo -no Vi!ay eliminate or even reduce the incidence of prostitution in this country ....
    9    For the very first time, the oldest profession in the ,,,vurld has transparency, record keeping
   lO    and safeguards." LACEY also acknov./ledgcd tfo1t Backpage used an automatic filter to
   11    rernovc particular phrases fmm ads that were indicative of prostitution but still published
   12    the ads after editing them.
                71.     Soon afte1ward, LARl(TN fo1warded the editorial to C.F ., with a cover note
   14    cautioning against some of LACEY's statements ''being made public" because "we need
   15    to stay ;:nvay from. the very idea of 'editing 1 the posts, ~ts you know." C.F ..1 in turn, revised
   16    the editorial to take out the paragraph lauding Backpagt/ s contrihutions to the prostitution
   17    industry.
                72.     On August 5, 2011, Backpagc received a letter from the mayor of Seattle.
   19    This letter warned that "Seattle Police have identified an ala.nning number of juvenile
   20    prostitutes advertised 011 Back.page.com since January 201 O" and explained that Backpage
   21    was dissimilar from othe,r companie& whose products and services are '"occasionally or
   22    incidentally" utilized by crirnina1s because '"[y]our company is in the business of selling
   23    sex ads" and "your services arc a direct vehldc for prostitution."               The letter also
   24    rccmmnended that Backpa.ge require in-person age vcr:ificaticm for all of the "escorts"
   25    depicted in its ads, A!:lerwan1, Backpagc declined to adopt these recommendations.
   26           73.     On 1\ugust 15, 201 l, PADILLA received an email containing an updated
   27    version of Backpage's moderation gniddines.            This. six-page document provided the
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         foHowing instructions concerning photographs: "Nude rear shots are okay as long the
    2    mode! is not cxpot-frng her anus or genitalia," "'fransparent vvet panties okay should not be
    3    able to see personal private part., Hand "cherry, lcc-crcmn keeping i.n mouth [is okay],,; The
    4    document a.1so explained that ''Bikini, lingerie, g-string, thong, and hands covering nipples
    5    arc all allowed/' ".f-lourly rates are OK/' and "Sessions a.re okay. E.g $50 session_;,
    6           74.     On August 3li 2011, Backpage received a letter from the National
    7    Association of Attorneys (knernL This letter characterized Backpage as "a hull' for
    8    human trafficking, identified '"more than 50 instances, in 22 states over three years~ of
    9    cfotrges filed against those trafficking or attempting to traffic minors on Backpage.corn,"
   IO    and noted that "'[n]carly naked. persons in provocative poifrti.ons are pictured in nearly every
   lI    adult services advertisement on Backpagc.c0111 and the site requires advertisements for
   12    escorts, and other similar 'services,' to include hourly rates, .ft does not require forensic
   13    training to understand that these advertisements arc for prostitution, H
   14           75.     On October 6, 20 l 1, C.F. sent an email discussing various proposals for
   15    addressing "the under aged. issue!'        \IVHh respect to one particular proposal, C.F.
   16    acknowledged it was a good one but recon1mended against adopting it bt~cause Baekpage
   17 • would not derive any pubhc-relations benefit from doing so: "This is a good idea but it is
   18    not visible to AG;s [state attorneys general] so it has little Pll value, It is a low priority."
   19           76,    In the fall of 2011, Backpage sought the assistance of a public relations finn
   20    based in Washington~ D,C. On October 12,2011; CF, received a written copy of the firm's
   2]    presentation. Later, some of the B/\.CKPA.CiE DEFENDANTS attended a meeting at
   22    which the presentation vvas discussed in more detaiL           The presentation ;,varned that
   23    Backpage~s business practices would .inevitably result in k~ga! trouble ("One day the
   24    proverbial is. going to hit the fan") and characterized .Backpage's ''media strategy' 1 as "Do
   25    not acknowledge the prostitution. 1 '    The presentation also noted that the "ads on the
   26    backpage.com sit,~" generally fall into three categories, one of which fa "Pimps and M.en
   27    Looking for Kids,"
   28




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                77.     On October 21., 2011, LARKIN received an emaH discussing whether the
    2    Backpage \Vchsite should include a warning message concerning the prostitution of
    3    children. This email contained the foHovYing joke: "'Andrc\v [PADILLA] thinks it to[o"j •
    4    heavy handed and thinks our web ~dte mmw '>Vill he entmpm.cntcom (J-Iilariotrn)::
    5           78.    On Nove1nber 16, 2011, HYER and PADILLA. received an ema.1 I asking for
    6    ''urgent" assistance in diminati-ng the word '"teen" from the ads appearing on Backpagc's
    7    website: "Rem.ove ads with teens or remove the text teen from . , , ads!' 'The following
    8    day~ .PADILLA wrote back with an update that he had found "76 pages of results" and that
    9    he ha.d simply "edile{f' all of the ads posted within the last two 1nonths (i.e., allo\.ved those
   10    ads to remain on the website after sanitizing them).
   H            79,    Between around January and March 201.2, many of Backpage's moderators
   12    (\.vho were supervised in part by PADILLA and VAUGHT) nndervvent performance
   13    appraisals. These appraisals revealed that many of the moderators did "not report young
   14    looking escorts." Nevertheless, these moderators were ailowed to keep their jobs, and
   15    sometimes were given strong overall performance ratings,
   16                  On February 16~ 20 l.2, PADILLA. sent an email to VAU(iHT stating that
   17    Backpa.ge should limit the number of child-exploitation -referrals it was making to
   18    NCMEC: "lf we don't want to blow past 500 this month, we shouldn't he doing more than
   J9    l.6 a day."
   20           81.    On February 23~ 201.2, CF. waH forvvarded a legal notice claiming that
   21    several of Backpage's ads included copyrighted content from two competing websites
   22    called Rub.tvlaps.com and Erotic.MP .com. C.F. also received copies of the underlying ads
   23    from the competing websites, which dearly involved prostitution. ln one of the ads., a
   24    customer stated that, in return for $45 and a $5 tip, he had received a "Bh)\V Job . , . w/
   25    condon/' from a woman who "had nice breasts." In a different ad, a customer stated that
   26    in retnm for $60, he had oral and vaginal sex with a prostitute. And in a different ad, a
   27    cus.torner stated: 'Tier bj \Vas slo\'\'' and erotic, and she was happy to go with whatever
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     ]   position I \Vanted." When CF. forwarded these materials to Backpagc's stan: 1w \Vas asked
     2   \Vhether the corresponding ads appearing on Backpage 's \vebsite should be removed
     3   immediately, C.F, replied that they should be all<nved to remain on .Backpag~ for another
     4   fov,,1 weeks without any modification,
     5           82.    On March 15, 2012, HYER received an email concerning the ads with the
     6   copyrighted materiaL        This email stated that the ads shouldn;t be deleted and that
     7   Backpage's technical staff should ffierdy "strip ouC the names of the competing
         prostitution vvt.~bsitcs:   '"Copyright infringement issue.   We need to strip out every
     9   appearance of rubrnaps.com and eroticmp.com." Vi/hen a staff member sought rnore
    10   guidance, J-IYER fote1:jected: "We don't need to delete ads or users."
    11          83.     On .April 7; 2012; .PADILLA vvas infrmned that a \Vom.an had contacted
    12   Backpagc to rcpuii that one of the "escorts" depicted on ihe site was only l? years ol.d,
    13   The woman provided the juvenile's full name and hirlh year and fu1ther stated that the
                                                                        7
    !4   juvcnilt'. had been attempting to recruit tho complaining party s daughter {who \Vas 15), In
   15    response, PADILLA. instructed his staff to refuse to ren10vc the ad because "she~s isn't
   16    claiming her own daughter is in the ad,''
   17           84.     On /\.pril 8, 2012, LACEY sent an email emphasizing that '~iim [LARKIN]
   18    and I believe in legalized prostitution" and stating that Hackps.ge\., efforts to prevent tho
   19    prostitution of children on the site were "not perfect, by any means."
   20           85.     On ApriJ 25 1 2012, a Backpagc representative spoke at a meeting of the Nc\-v
   21    York City Council's Women's Issues Cornrnittce. During this meeting, the representative
         stated it \-Vas better to have ads for sex \Vork appear on Backpagc than have them rnovc to
   23    other places on the internet The representative further stated: "I don't deny that Backpago
   24    is part of the problem, but the problem is the internet,"
   25           86.     On April 27, 201.2, a \Vot:nan wrote an email to Backpagc's support
   26    departrnent stating that her underage daughter had been kidnapped, drugget\ and \~'as being
   27    advertised as a prostitute against hor will. 'fhe ernail identified the specific phone munber
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     1   associated vvith the ads (754-229-xxxx\ stated that the ads appeared on a website ca11ed
    2    BackpagoPics.com, and asked that the ads be removed immediately: "l'his fa a drugged
    J    a.nd held against her will child ;,>ii·ho had photos taken under threat and duress . . . . Please
    4    remove." This email was forwarded to PADILLA by a subordinate\ vvho asked '"should
    5    ,ve     respond?"     PADILLA replied by explaining             that,   because the website
    6    BackpagePic:-tcom wasn't owned by· Backpage, there \<\'as no need to respond to the
    7    .mother.
    8             87,    On April 30, 2012 (t!m.::c days later), the same woman wrote another em.ail
    9    to Backpage\; support depa1tmenL 1n this e1nai1, the woman stated that "l have contacted
   10    hackpage on scvend occassions [sic] to remove these pictures which were posted against
   1J    her wm and \Vhile she was drugged and held captive. I have yet to receive a reply." This
   12    time,    lhe woman provided a frnk to her <laughtm· 1s ad on Backpage (not
   J3    BackpagePics.corn), which included tho sarno phone munbcr (754-229-xxxx) that had boon
   14    included in the other ad.
   15             88..   On May I, 2012 (the next day), the same woman \.Vrotc a third email to
   16    Backpage's support department In this email, the 'Nonum included a Hnk to another ad on
   17    Backpage depicting her underage daughter and stated: "I also fr,und a pix of my daughter
    18   within this url both girls are in protective custody." Later that day, the woman received an
    19   email from Backpage's support depa.rtnient stating: "The post fa confinnod removed."
   20             89.    Som.e of these emai !s were forwarded to LA.CEY and LARKI.N. In response,
   21    LARKIN applauded Backpage's ••good solid response'~ to the woman and remarked: "this
   22    whole rigamarolc seems a little odd to me.,;
   23             90.    On M:ay 10, 2012, !'he tdcvision news station CNN ran an expose on
   24    Backpagc that emphasized «hcn.v young S(JJ:ne of these girls look'' and deemed the webs.it,~
   25    "a huh for the sex trade.''
   26             9L     On l'Vlay 1 I, 2012, PADil,LA sent an email to VAUGHT and other Backpagt1
   27    mnployees entitled "forbidden pbneL" Enclosed with the email was an Excel spreadsheet
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     1    that identified over 600 words and phrases that arc indicative of prnstitutio11.          The
     2    spreadsheet also specified, for each \VOrd and phrast\ whether an ad containing the
     3    offending language should be banned or whether Ba.ckpagc 1:-1hould simply ""strip term fr()m
     4    ad" and then publish it after the revision.
     5            92.       On July 12, 2012, PADILLA sent an ernail (which was also shared with
     6    VAUGHT) to the head of Backpage's Indian 1:nodtTation team. in this email, PADILLA
     7    criticized the moderators for ddeting too many ads and provided the !<)Umving instruction:
     8    '"l agree that 'over cautiousness' is as big of a problem as moderators that mbs a fot of
     9    violations. ' 1
   10             93.       In or around November 2012, a researcher at Arizona State University
   ll.    published. a study concluding that rnosi of the ads on Backpage's Phoenix page involved
          prostitution and that many of the ads depicted juvenile trafficking victims. On December
   13     ! 9, 2012, LACEY vnis fon.varded a copy of the stndy's results. The researcher responsible
    14    for the study also met with a Backpage 1.cpresentativc to propose various rnedwnisms for
    15    reducing or eliminating the prostitution of children on the website. Backpage tfodined to
   !6     adopt these proposals.
    17            94.       Between around September 20 lO and October 2012, C.F. becarne a\varc that
   18     a particular Backpagc nrntomer, P.R., was posting prostitution ads. Rather than bar th.is
    i.9   customer !iom posting future ads, C.F. repeatedly restored. her posting privileges and gave
   20     her advice on h(nv to conform to Backpage's publication standards, The communications
   21     involving this woman's ads included the f(.1Hovving:
   22             ..        On September 26: 2010, C.F. received an email from a woman ·who was
   23     obviously posting prostitution ads on Backpagc, Tho \Votmn1, whose email address
   24     inch.1ded the phrase "'provider4u," wrote to complain that her escort ad ("'50 Red Roses
   25     special ---- Dont .t-.tliss out ! ! !") had bce.n removed cvon though "'[o]ther women have more
   26     explicit ads than me and they are up!" The \Voman continued: "I can not afford to have
   27     this ad removed. This is the only way I can got by and if its not on a.11 the tirnc I will not
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     !   be able tu pay my bills .... !vly fianc6 is in jail and he is not able to help rne at this
    2    point." In responSt'\ CF. arranged for the \V<m1an tu be allowed to continue posting ads.
    3                   On October 6, 2010, CF, received another ernail frorn the same woman. In
    4    this email, she complained that her most recent ad had been removed because it induded
    5    an explicit picture of her body, She provided a copy of the picture to C.F, and stated: "ff
    6    the person [who removed the adJ is such a p1Ti.de well rnaybe they should check out the
    7    other women's ads in that [escorts] section." On November 15, 2010, C.F. \Vrote back to
    8    foe woman to encourage her to t~dit the ad so it could be re-posted: "Ole please try editing
    9    the ad now:~ After this exchange, the woman was permitted to resume posting ads on
    lO   Backpagc.
                "      On June 6, 201 I, C.F. received another email !iom the same woman. It
    l2   stated: •·1 would rea!ly appreciate it if you \.vould please take the block off my ad for editing
   l3    ... , l wont post any rnore objectionable pies, ok?'" In response\ CF, arranged for the
   14    1-voman 's editing and posting privileged to he restored: "You should be able to edit
   15    no\v. Please let us know if you arc still having any trouble." After this cxc.hange, the
   16    1-voman resumed posting ads on Baekpagc.
    I7                 On July 14, 2012, C.F. received another email from the same v10.man. It
   18    stated: '\vould you please take the ed.it block off my ad, l need to change sorne info cm it
   19    and update it l prornise i \.vont put no more nude pies in it, yon have my wont . . . [M1y
   20    a.d says: 50 red roses special···· dont miss out." Atkr this exchange, the woman was allowed
   21    to continue posting ads rm Bac.kpa.gc.
   22           ,.     On Sept.ember 17, 2012, CF, rccd.ved another email from the same
   23    vvoman. T'his time, she complained that Backpagc ,vas editing her ads (whose title
   24    continued to feature the obvious prostitution tenn <•50 lfed roses special") to remove the
   25    most explicit pictures., She stated: "'l would Hke to k110w why my ad in the escort section
   26    of backpage keeps getting messed with ... , [SJomcone keeps erasing the !ink to rny pies
   27    on the ad. that fa so wrong. l am being deprived of income that I sorely need . . . . There
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     1   are other woman posting pies on their ads that show more nudity, , , ," After this exchange,
    2    tho woman \Vas pennitted to continue posting ads on JJackpagc,
    3                   On October I 6, 2012, the woman wrote another email to Backpagc. In this
    4    ernaiJ: she again corn.plained about how Backpage was editing her ads to remove the most
    5    explicit pictures, She stated: "lt is very hard for me to make any income fn)ffl this ad as:
    6    they continually go into my ad and remove the !ink from the ad. that goes to my
    7    pictures. They wont allow me to post my pies on the ad yet othtT women with other ads
    8    shrnv more nudity than my pict11rcs ever did."
    9                   This email was forwarded to VAUGHT and to PADII.,LA~ who asked
   :10   another Bac.kpage employee to "dig into this one a htlle: 1 On October 17 ~ 2012, PADILLA
    H    received a follow-up email from his co-\vorkcr stating that the ·wonmn 'sad had been posted
   12    on September 27, was still on the Backpage website, and that the pictures the woman had
   13    originally attempted to include in the ad (\vhich had been stripped by Backpage) were
   14    "topless shots.''
   15                   Following these exchanges, between October 2012 amiNovemher 2015, the
   16    same customer \Vas allowed to post over a dozen new ads on Backpagc, many of \Vhich
   17    utilized the same identifying infonn.ation.1 coded prostitution terms, and contact phone
   18    number as before,
    19          95.     On January 7, 2013, VAJJGHT ·was infiJrn1ed by a moderator that Backpage
   20    wasn't diligently pursuing rcporh; of child exploitation: "We 'vc supposedly been checking
   21    then1, but some seem to be ignored. 'J'hey get "rnarkcd as read', hut nothing gets done with
   22    them, It's aggravating and irresponsible,"
   23           96.     On June 6, 2013, Backpage received a letter from NC.MEC recommending
   24    the adoption of several specific security rneasurei~ to prevent the trafficking of children,
   25    The recommended security measures included (a) verifying the age and identity of users
   26    who submitted adult ads, (b) verifying the age and identity of individuals depicted in
         photographs \vithin adult ads, (c) prohibiting the use of anonymous payment sources such
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     1    as prepaid credit cards, and (d) reqn.iring users to utilize verified email addresses and
     2    telephone mnnhen;,          Afterward> Backpage declined         to :fi)lluw any of these
          recommend.ati ons.
     4           97.      On August 30, 2013, LARKIN, SPEAR, BRUNSJ\ JTYER, apd C.F.
     5    received an cm.ail notifying them that ;'Chase [Bank] was no longer ae(x~pting transactions
     6    from Backpage,com, due to their involvernent in human trafficking," In response, C.F.
     7    informed the group that he intended to begin "giv[ing] users free ads if they complain while
     8    we ,vait 011 directly transactions to another processor."
     9           98.      On September ] I, 201 \ a Backpage representative made a presentatim.1 to
    l.O   the Arizona Governor's Task Foree on Human Trafficking. Following this presentation
    I.I   (,,vhich took place in Phoenix), foe representative was asked whether there would. he any
    1.2   '·cons" to requiring verifiable identification of all escorts being advertised on Hackpage's
    1.3   website. In response, the representative did not identif\1 any financial or logistical hurdles
    1.4   to the adoption of such a requirement,        Instead, the representative stated that such a
    1.5   requirement would simply cause Backpagc to lose business to other prostitution websites
          like myRedifookcom or to overseas prostitufom websites. During this rncctiug, mem.hers
    l.7   of the task force also provided the representative with evidence sho\ving that Backpagc 's
   18     moderation efforts were ineffective at preventing the publication of prostitution ads.
   19            99.      On Aprfl 3, 2014, PADJLLA and \/AUGHT were forwarded an email that
   20     had been sent to Backpage by a credit card processing company in Canada. The email
   21     stated that   "r w]e have rnultipl.e user accounts that are paying for your services for what 1
   22     understand to be prostitution adverfo.,ements." and sought information c1hout "lmvv you arc
   23     processing these transactions."
   24            100,     On April 14, 2014~ LARKIN and BRUNST received an email from CF.
   25     discussing why Backpagc had experienced "past high growth" and identifying various
   26     ideas for achieving 1'foture growth." This emai! stated that Backpage had been the
   27     beneficiary of "[mJigration of content :from other ... marketplaces to the internet" and
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         identified one particular marketplace as a key source of Backpage's custorncrs: "[N]ct loss
     2   for brick and mortar marketplaces: Strip dubs, !.1otcfo., and gathering spots disp!at:ed by the
     3   internet." In other 1-vords 1 the crnail acknowledged that the supposed "escorts" advertising
     4   on :Backpage were actually prostitutes (lawful escorts did not congregate at strip dubs,
     5   hotels, and other hrick-and-rnortar '"gathering spots" during the pre-_internet age). This.
     6   email also attributed Backpage's success in part to its adoption of policies that allowed
     7   customers to post ads \:vithout leaving any meaningful identifying infi:mnation-·····ju a list of
     8   Backpage's advantageous policies, it identified '"Ancmymous/' ''"Prepaid card friendly/'
     9   "User can post paid ads withont a valid email address/' and "b1tcofo.''
    IO          l 01.   On A.pd! 24, 2014, VALJGHT sent an email to Backpage's moderators (while
    I]   cc'ing PADILLA). In this ernail, VAUGHT explained that if a moderator came across an
    12   ad containing a link to a ''sex for money'' website, the moderator should add the link to a
    13   list of banned tem1s but "don't bother removing it from the current ad."
    14          102.    On September 4, 2014, Backpagc was served with a brief that had been filed
    15   by NCMEC in a !awsl11t in Washington state court Tn this brief: NCMEC critidzed the
    16   sincerity of .Backpage' s efforts to prevent child sex trafficking: ''Backpage has. repeatedly
    17   claimed in public statements and court filings that it is v,,iorking to reduce child sex
    18   trafficking on its V-/l+,sitc. The unpleasant reality is that Backpagc publicizes can.'.foi!y
    19   selected operational processes as a subterfuge to avoid increased scrutiny, while providing
   20    traffickers with easy access to an nniinc venue to sell children for sex, 1n practice,
   21    Backpage's stated interest in doing son1cthing meaningful to stop child s.cx trafficking ads
   22    on its site is apparently overridden hy the enorrnous revenue H generates. from its escort
   23    ads., including ads sc11ing children for sex:i
   24           103,    On March 17, 2015, a law enforcement officer with the Ca1ffornia
   25    Depart1nent of Justice spoke with a Backpagc representative concerning the prevalence of
   26    blatant prostitution ads on Backpage, ln response, the representative did not dispute tJ1c
   27    ofl:iccr's characterizatfon and said the internet and. prostitution weTe not going away,
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     1          104.      On July 30~ 2015, a document entitled "trainingJuly2015" was distributed to
    2    Backpagc 's moderators. This training manual specifically told moderators that, if they saw
    3    a photograph depicting "a person [whoJ looks young/minor," they should "approve dont
    4    delete the ad unless it has a banned term." The training manual also identified, under the
    5    heading "THESE ARE .ALL OK.A Y," a Jong list of terms that are indicative of prostitution,
    6    such as '"99% CUM B.ACK. FOR JvlORE/' '"car service," and "loHipop speciaL' 1
    7           105,      In or around August 2015, as part of a l.awsuit in 1HimJis} Backpagc was
    8    served \Vith an affidavit from a detective employed by the Seattle Police De:partmcnt. In
    9    this affidavit, d1c detective avowed that '"[t]o date, no Detective withjn the Seattle Police
   10    Depari.mcnt's Vice/High Risk Victims Unit has ever found a legitimate 'escort' (person
   11    who charges simply for companionship with no offer of sex) or "rnasseuse' (person offering
   12    legitimate and licensed massage therapy rather than sex) while responding to ads placed in
   l3    these categories on Backpage,com" and that "'every tim.e the Seattle Pol-ice Depm:tmenfs
   14    Vice/High Risk Victims lJnit has responded to an ad in the adult section of Backpage,com 1
   15    we have found that the ad was a posting for iHegal activity,"
   16           l 06,     In or around August 2015.1 during the same hn-vsuit in JUinois, Backpage was
   17    st~rvcd \vith a different affidavit from a detective employed by the Boston Police
   18    Depa.rtment. In this affidavit, the detective avmved that "Backpage.com is the number one
   19    site in Boston for prostitution and sex trafficking," that his unit had "'[s]focc 2010 ...
   20    arrested over l 00 buyers of sex of both adults and minors through Backpago,com ads,'; and
   21    that "nearly aH the cases we find ass()ciatcd with it [Backpage] involve pim.p controlkid
   22    prostitution."
   23           107.      On October 7, 2015, PADILLA received an email from another .Backpage
   24    employee (which was later fonvarded. to VAlJGlIT) disclosing that there \Vero '"n1assivc
   25    mJmbcrn of live ads with banned tcnns and pictures out on the site.''
   26           108.      On Deccn1ber 9, 2015, Backpagc received an email from a reporter stating
   27    that "[o]f the 359 sex trafficking incidents Toronto Police have been involved in since
   28
                                                      - 27 -




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     1    2013, every single girl that was rescued 1-vas advertised on Backpagc,H The email also
     2    asked: ''Why has.n"t Backpagc closed down the adUlt escort ads portion of its site Wm
     3    Craigslist when it's known that nnderage girls are being exploited via Backpage?"
     4           109.    ln or around January 2016, Cornpany A was retained to serve as a payment
     5    processor for som.e of Backpage's \vebsitcs, On April 29, 2016, Company A informed C.F.
     6    that it had conducted "a review of your \<\'cbsite, <'Ind unfortunately we had to suspend your
     7    account ... [because] advertising of illegal activities is strictly forbidden."
     8           110,    Beginning in or around January 20 U\ Bm..:kpage)s moderatocrs were
     9    instructed to stop removing ads that contained the phrase "(}FE." For cxmnph.\ cm January
    IO    28, 2016, VAUGHT was sent an email from a Baekpage moderator explaining that '"As far
   ll     as lam aware we arc no longer rcrnoving ads for GFE," Similarly, on M<.'trch 9, 2016, a
    1.2   Backpagc rnodcrntor sent an email to his coworkers explaining that '"Andrew [PADILLA]
    1.3   and I talked about the GFE thing, going forwa.rd ,ve will not be removing ads for GFE''
   14     and clarifying "this includes even gfo \.-vith price.'~ A.nd again, on March 25, 20 l 6, an email
    1.5   was sent to Backpage's 1:no(ku-ation staff stating that ''\Ve are no longer rernoving ads for
    1.6   'GFE' or 'PSE. '"
    1.7          I:! L In fad, the BACKPA.GE DEFENDAN'fS repeatedly ackmAvledged that the
    18    term ''(1FE" (girlfriend experience) is a coded term for prostitution, For example:
   19            ..      On October 26, 2010, SPEAR., l-lYER, and PADILLA received an email
   20     from C.F, that explained: "No coded sex act for money: GFE,, PSE, BBBJ, DATY, etc,~'
   21            "       On May 4, 2011, HYER sent an email to PADILLA and others identifying
   22     GFE as a "code word' 1 that should be forbidden,
   23            "       On August 31, 2011, PADILLA and CF. excha11ged emails in ,vhich they
   24     discussed a Iist of 100 •'solid sex for money terms.'' The list included "GFE "" girlfriend
   25     experience."
   26            "       On November 2, 201 l., P/\DTLLA and. VAUG·FIT received a.n email from a
   27     co-vvorker idcntif)'ing GFE in a list of "sex phrases and coded terms" that arc ''not
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     1
    2           112.     HYER, PA_DJLLA, and other BACKPAGE DEFEND/\_NTS pcTiodically
    3    received a "Gong1e alert" when articles discussing Back:page appeared in the news.. :tvlany
    4    of the ne\vs articles identified in these alerts discuss instances in which prostitutes who had
    5    been advertised on Backpagc were kidnapped, raped, or mu-n:.forcd,
    6           113.     fn January 2017, after conducting a. lengthy invcstigation 1 the Senate
    7    SubcornmiHcc on Pennancnt Investigations ("Subcmnrnittee") issued a 50-page report
    8    entitled '"Backpagc.com's Knowing Facilitation of Online Sex Trafficking." This report
    9    concluded, arnong other things, that viii.uaily al! of Backpagc's "adulC ads arc actually
   10    solicitations for illegal prostitution services and that "'Back page has maintained a practice
   11    of altering ads bcfoTe publication by deleting \Von.ls,, phrases, and i1nages indicative of
   12    criminality, including child sex trafficking . . . . Those practices served to sanitize the
   13    content of inm.m.1ernbk advciiisements for 1!1egal transactions------cvcn as Backpage
   14    represented to tho public and the courts that it merely hosted content others had created."
   15           l l.4.   ln response to the Subcommittee's: report, Backpage purported to shut dcrwn
   16    the '"adult" section of its \:Vcbsite. However, the prostitution ads simply migrated to other
   17    sections of the website, where they remain to this day.
   18    D.     ~ptcrn.ationa1 Operations
   19           115.     ln addition to facihtating prostitution through its U.S. website, Backpage has
   20    also facilitated prostitution through .its websites in foreign countries, 1n this context,
   21    Backpagc o:fkn al:Iirmatively creates the content of the ilkga1 prostitution ads being
   22    published.
   23           116.     Around 2013 or 2014, Backpage hired a Philippines-based comp,my
   24    (Company B) in an attempt to increase the p.mfitability of Backpage's i:ntcrnationa.l
   25    operations. Company B's cn1p!oyecs vverc instructed to (I.) visit rival prostitution ;,vcbsites
   26    in other countries., (2) obtain l11c email. addresses of prostitutes who \Vere posting ads on
   27 • those websites (often by falsely posing as prospective customers), (3) use tho information
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    •l   from the other website to create a competing prostitution ad on Backpage (a process
    2    referred to internally as "preboarding") 1 and then (4) transmit the nc\v ad to the prostitute,
    3    often using the previously-harvested email account infonnation, in an atternpt to persuade
    4    the prostitute to becon1e a Backpage customer. Company B's employees were paid
    5    bonuses based on the amount of ad revenue tbey generated for Backpagc using these
    6    techniques,
    7           117,    Backpage's executives. were folly aware of the phm to use Conrpany B to
    8    create prostitution ads outside the United States. For example, on or around November 6,
    9    201.3~ C.F. made a presentation to LARKIN, SPEAR) and BRJJ.NST, Among other things,
    IO   this presentation smmnarized Backpage's plans for <•International Planning and
    I1   Ex.pans.ion,'' One of the plans was to use the Philippines as a "test'; market and hire Filipino
   12    contractors to '\.::ontact hy email leads, secure email address, add ad and email address in
   13    [cornputcr system] and assign to American staff An1erican sta:ff rnakcs contact"
   14           l.18.   On August 7, 2014; HYER sent an email stating that Cornpany B was "an
   15    ef1J.d.ent and cost effective \Vay fr.ir us to bring new users to back.page." This email. al.so
    i6   contained the following smnrnary of how Company B would operate: ''Process after hiring
    t7   company offering BPO services: l. Backpagc provides BPO \-vith sites, categories &
   18    countries to target. Backpage also provides sample 'scripts' and exarnplcs of phone
    I9   calls, 2. BPO contacts users via phone from sites backpage provided, obtains user email
   20    address & permission to preboard ad. 3, BPO prcboards ad as pnblic user. 4, After ad is
   21    proboarded, usorn receive verification link to verify the ad!' This email also stated that
   22    Hackpagc would of:fi:r a ''bonus per verified authenticated ad."
   23           119.    On April 10, 2015, a "five-year business plan" \Vas emailed to LARKIN,
   24    BRUNST, SPEAR, and CF. One of the goals for 2015 \Vas ·'Off shore marketing staff in
   25    the Philippines to grow to 166 and main task is international rmtrkct content acquisition."
   26    Thi::; email also included a separate attachment stating that H''{ER should he considered for
   27    prmnotion because "hfa strengths arc strong marketing and revenue growth skills" and he
   28




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      I   had been "heavfly involved in the user experience dcveloprnenf' and that VAlJGI-lT should
     2    . ht~ cornridered for a promotion because "[h]cr strengths .include six years of experience
     3    rnanaging moderators."
     4           120.      On JVlay 15 1 201.5, a Co:mpany B employee posing as a Backpagc ernployee
     5    sent an email to an apparent prostitute. The subject line was "Offering ·Free Advertiserncnt
     6    from Backpage.corn" and the text of1he crna.11 sought to persuade the prostitute to "upgrade
     7    your ad with sponsor placement or automatic repost." ln response, the prostitute wrote
     8    back that she had "managed to activate rny ad and could bny credits as wdL thanks fcff
     9    your help. I'm traveling today to fLondon] how can I change my location.n This email
   :l O   exchange \.Vas later forvvankd by HYER to C. F. with a cover note stating: ''1.I"Jdcal scenario
   1 l.   fnr [Company B] agent --- user activates ad, user purchases credit."
                  l.21.,   On December 14, 20 ! 5, C.F. was part of an email exchange concerning an
   13     ad that had an IP address associated with Coxnpany B. This em.ail contained the following
   :l 4   descriptfo-n of Company B's process for creating and selling prostitution ads on Backpagc:
   15     (1) "Staff found lead in assigned area.'' (2) "Staff entered all relevant into [database]
   :l 6   (phone/e1nai1/ctc. )" (3) «staff called lead to discuss creation of free ad" (4) Staff created
   :! 7   free ad for .k:ad (verification email sent), (5) Staff1:b1lm-ved under with an email reminding
   J8     lead of phone conversation and detailing verification of ad.,;
   19            Select Victim Surmnaries
   20            122.      Between in or ztrm:md 2009 and 2013, Victirn ] was sold for sex, through the
   2l     use of Backpage ads., i-n Ohio~ Indiana, and Georgia. Victim l's Backpage ads often
   22     included words and phrases that were indicative of prostitution, such as ''roses" (money),
   23     On at least one occasion, Victim I. contacted Backpage after a proposed ad had been
   24     rejected because it contained banned words and phrases.            In response, a. Backpage
   25     representative coached Victim l m.1 how to re-write the ad using different words, Victim
   26     l's trafficker took an of the money that \Vas earned through bcr acts of prostitution.
   27            123,      Bet\vecn in or around 2009 and 20 l 1 Victim 2 was sold for sex, through the
                                                                i



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     l   use of Backpage ads, in Arizona, Georgia, North Carolina1 Texas, New York~ New Jersey,
    2    and Louisiana. Victim 2's trafficker draHed her Backpage ads and Victim 2 initially did
    3    not know she was being nfiered on Backpage, The ads contained ,i.lords and phrases to
    4    make customers believe Victirn 2 was "baxely legal"' and also contained words and phrases
    5    indicative of prostitution, such as "roses" (money),
    6            124,   Behveen in or around 2009 and 2012, Victim 3 was sold for sex, through the
    7    use of Backpage ads, in Colorado and North Dakota. Victim 3's pimp instn.icted her to
    8    reviev•/ existing prostitution ads on Ba.ckpage to learn how to draft her o,..vn ads. During a
    9    pmtion of this period, Victim 3 was required by her pimp to make \vcck-long trips to North
    IO   Dakota to work as a prostitute. During these trips, \vhlch would ge:ncrate as much as $2 ,()00
    I1   in prostitutfotHfori vcd revenue each day, Victim 3 was fon:x.id to leave her children at home
   ]2    in the care of her pimp.
   ]3            125.   Tn or around 2010, Vict1m 4 \Vas sold for sex~ through the use of Backpage
   14    ads, in Washington. During this period, Victim 4 was. a juvenile ( 15 years old), Victim
   15    4's pimp drafted the ads that were pl.aced on Backpage. The wording of these ads was
   I6    edited by Backpage before publication. The ads contained words: and phrases such as
   17    ''\V'E'L'L-.- W'(YR'T'U ... I'T*** 1\***150lTR'; and "IT WONT TAKE LONG AT ALL''
                                    ,




   I8    and includ~.xi pictures of Victim 4 in provocati vc positions showing her breasts and
    I9   but.tocks.
   20            126.   Between in or around 201 I and 20 ! 6, Victim 5 was sold for sex, through the
   21    use of Backpage ads~ in l\tlassaclR1setts and .Rhode Island. During much of this period,
   22    Victim 5 was a juvenile (14-19 years old), Victhn S's female pimp instructed Victim 5
   23    that Backpage \Vas the safest place to advertise because it did not require age verification.
   24    On one occasion, Backpage declined. to accept a proposed ad that indicated Victim 5 \Vas
   25    only 17 years old. ln response, the ad was simply resubmitted with a new- (false) age of
   26    19. On other oec.asim1s~ Backpage removt~d provocative pictures of Victim 5 fro:m ads and
   27    then allowed edited versions of the ads to be published. Victim. S's Backpage ads included
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           words and phrases that were indicative of prostitution, such as "ro5c$" (money) and "back
      2    door" (anal sex} Some of the customers who responded Victim 5 's Backpage ads fi)rced
     3     Victim 5 to perfonn scxua1 acts at gun point, choked her to the point of having seiz11rcs1
     4     and gang-raped her.
     5             127.   ln or a.round June 201.2, Victim 6 was sold for sex, through the use of
     6     Backpagc ads, in 1\rizona, H.er traffickers utilized Backpage ads that did not offer a
     7     specific pt'.n;on hut instead generally offered a woman ,;,.vith a particular type of hair color
     8     and build. On Junc 22, 201.2, Victim 6 was d.ispatched to a customer who had responded
     9     to a Back.page ad foat:nring «Nadia;' who was described as a slender bnmctte woman.
    10     Upon her arrival at the location, Victirn 6 was stabbed to death.
    ]]             128.   Between .in or around2012 and 2015, Victim 7 was sold. for sex, through the
    12     use of Backpagc ads, in \Vas.hington and Oregon. Victim Ts pirnp drafted the ads that
    13     were placed on Backpage. The wording of these ads was edited by Back.page before
    14     pubhcatiun. The ads contained provocative nude pictures. of Victirn 7.
    15             129,   Between .in or around 2013 and 2014, Victim 8 was sold for sex, through tho
    16     use of Backpagc ads, in Maine, Connecticut, and .Massachusetts. During this period,
    l7     Victin1 8 \Vas a j uvenilc (15 years o[d). Victim 8' s uncle, as wdl as his friends, placed the
    18     ads on Backpagc, which indmlcd wo_rds and phrases that were indicative of pmstitution,
    l. 9   such as "roses" (money), "fetish friendly/' and 150 for 1/2 hour, 200 for foH hour.
    20     Through these ads., Victim 8 \Vas forced to do '"in-catls" ( vvhcrc she 'was raped in hotels) as
    21     wen as "out-caHs" (viihere she 1,vas raped at other locations chosen by the ,men paying for
    22     her).
    23             130.   Jn or around 2013, Victim 9 was sold for sex, through the use of Backpagc
    24     ads, in Fl.or.i<la, Victim 9's pimp taught her how to use codti words in her Backpage ads to
    25     indicate how much she \Vas charging f<1r certain sex ads. Victim 9 \.Vas brutally attacked
    26     by her trafficker1 causing bruises and a fractured cheek bone.
    27             13 L   Between in or around 2014 and 2015, Victirn 10 \Vas sold for sex, through
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           the use of Backpage ads, in Calif{}rnia and Arizona. During some of this period, Victim
     2     10 \Vas a j uveni1e (17 years old), An associate of Victim 10' s pimp took pictures of 111:.ir
     3     and drafted. the ads that were placed on Backpagc. The Backpage ads contained words and
     4     phrases such as "'NEvV rN TO\VN," ''sexy sweet," and '•s,.,vcet like honey but super hot like
     5     fin/' and. included pidurcs of \lictim 10 in provocative posit.ions shov-.ring her legs,
     6     stomach, shoulder, a.nd buttocks.
     7            132.   Bet.ween in or anmnd 2014 and 2015, Victim U. ,vas sold for sex, through
           the use of Back page ads, in Arizona, Colorado, l'vhnnesota, Oregon, California, Montana,
     9     Nevada, New Jvicxico, and Utah.          Thi:.i Backpage ads contained words and phrases
    10     fodicativc uf prostitution and included pictures of Victim 1I in provocative positions. On
    11     smne occasions, Backpage \<\'OUld remove certa.in explicit photos from t11e ads but publish
    l.2    the rernaining text and other photos. Victim J l's trafficker gave her drugs, took her
    l.3    identification docu.ments, sexuaHy assaulted her with a fireann, and forced her to work full-
    l. 4   time as a prostitute.
    l.5           133.   In or around 20 ! 5, Victim l 2 was sold for sex, through the use of Backpage
    l.6    ads, in California and Arizona, Victim 12 -..vas first adve1tiscd on Backpage in San
    l.7    Bernardino, California, but rnoved to the Phoenix metro area becaust~ the Su.per Bowl. was
    l.8    being held there. Victim 12's advertisements on Backpage contairwd words and phrases
    l.9    such as "New In Town" and "Sexy Dark Asian Bombshell with a Nice & Tight {Booty}"
    20     and included pictures showing Victim 12 's kgs 1 stomach, shoulders and buttocks.
    21            134.   In or around 2015, Victirn l.3 \Vas sold for sex, through the nsc of Backpagc
    22     ads, in Cafrfi?rnia. During this period1 Vi dim l. 3 was a ju venifo ( l. 5 years old). Victim 1J
           and her trafficker both posted the Backpagc ads, '-NhkJ1 fa1sdy represented that Victim. 13
    24     V'hlS 19 years old and sho1,ved pictures of her face and body,     On at least one occasion, a
    25     Backpage representative contacted Victim 13 with instructions on how to fix an ad so it
    26     could he published.
    27            :U5.   1n or around June 2015, Victim 14 was sold for sex, through the use of a
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      l    Backpagc ad, in Texas. This ad contained \Vords and phrases such as "fon young, exotic
                                                                                        1              1"



     2     "Ready to be your fantasy girL" "OUT CALLS ONLY," and "NO BLACK MEN" and
     3     included piclures of Victirn l4js stomach, breasts, shoulders, and buttocks, On or around
     4     June 20 1 2015, Victim 14 was nmrdercd by a customer. Aftenvard, the customer attempted
     5     to destroy Victim l.4's corpse by lighting it on fire. Victim M's hither Iater contacted
     6     Backpagc tu request that the ads shovving his deceased daughter be removed. Ba.ckpagc
     7     did not irnmcdiatcly comply with this request
     8            136.    Jn or around June 20 l 5, Victim 15 was sold for sex, through tlw use of
     9     Backpage ads, in Texas and Louisiana. 'fhcse ads contained \Vords ~md phrases such as
    l. 0   "Thick Glass of Chocolate fvhlk Looking for a CloodTim.e ! !!" and ''"sexy certified freak"
    11     and contained pictures showing Victirn l5's legs, shoulders and buttocks. On June 10,
    1.2    201\ Victim 15 was forced into a vehicle with her trafficker, who \Vas attempting to take
    l. 3   her to Texas against her \vilL In an attempt to escape, Victim 15 jumped out of thr;.i vehicle
    l.4    onto 1ntcrstate l 0 and ,vas kiL!cd after being hit by several vehicles at high speeds,
    15            137,    In or around July and August 2015, Vkti.m 16 was sold for sr;.~x, through the
    16     use of Hackpagc ads, in Michigan., These ads contained \Vords and phrases such as
    17     "'OUTCALLS ONLY,'' "Juicy Caramel Lady On Duty/' "'Sexy, Erotic Canund Dream,"
    18     and "No Thugs, Pimps Or Wcirdos' 1 and contained pictures showing Victim I6's breasts,
    19     legs~ lips, buttocks, and face, On August l.5, 20 ! 5, Victim 1.6 was murdered by a customer.
    20     A.!lenvard, the customer dumped her corpse in a park
    21            13 8.   Between in or around 2O! 5 and 20 16, Victim ] 7 was so Id for sex, through
    22     the use of Backpage ads 1 in Arizona and CalH<)mia, Victim l 7 averaged ten customers a
    23     day during this thne and turned over all of her prostitution earnings (approximately $1,500
    24     per day) to her pimp. An associate of Victim I Ts pimp took pictures of her and drafted
    25     the ads that were placed on Hackpage. The Backpage ads contained ;,vord.s and phrases
    26     such as ""IN/CALLS ONLY," '"'r'm here to make your \Vil<lest frmtasies come true!"' and
    27     «sorry, but NO BLACK MEN'' a.nd indudcd pictures of Victim 17's buttocks and face.
    28




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     1    F.     Money Laurnkring_Activitics
     2           139.    Hackpagc's custon1ers have ovcnvhehningty used the proceeds of criminal
     3    activity (i.e., money earned fron1 pimping and prostitution) when purchasing ads on
     4    Backpagc. In addition, because Backpage's publication of such ads is an independent
     5    crime (e.g:., violation of 18 U -8.C. § 1952t the fees it collects fmm nrntomcrs posting
     6    prostitl1tlnn ads·······CSt1mated at more than $500 million since 2004 ····Constitute the proceeds
     7    ofunlawful activity.
     8           140.    For these and other reasons, banks and financial institutions have repeatcdl.y
     9    refused to do business with Bar..kpage. In response 1 the BAC.KPAGE DEFENDANTS have
    l.O   pursued a variety of money laundering strategies, For exampk, on August 27s 2013~ C.F,
    l.1   was for\.varded an array of emails from Backpagc customers w·ho were complaining that
    l.2   their credit card companies had refosed to process Backpage-rdatcd transactions. One
    13    customer wmte: "}lave you resolved. the issue of Chase Bank not honoring payment for
    l.4   you for ethical reasons?'' C.F, forwarded these co1nplaint emails to LARK.IN, SPEAR, and
    15    BRUNST and proposed, as a "solution" to the problem, that Backpage reconfigure its
    16    website to fool credit ca.rd companies into believing the charges \.Vere being incurred on a
    17    different website.
    18           14 L    During a November 20 :13 presentation by C.F. to LARK.IN, SPEAR, and
    19    B.RUNST, CF, again discussed strategics for fooling credit card companies into bdicving
    20    that Backpagc-associated charges were being incurred on different websites, inchtding a
    21    •proposal to set up shell companies without any apparent com1cctio11 to Backpagc C"creatc
    22    new co111.panics with new principals") and use their ba.nk accounts to accept payment
    23    Another "solution" -,.vas to "allow users io fund an account thru several other sites" that
    24    ''have no adult or images."
    25           142,    On November 6, 2013, LARKIN, SPEAR, and BRUNST received an email
    26    entitled '\)pt.ions for the future of Backpage." This email discussed various strategies for
    27    creating new entities to process Backpage-rdated payrnents "without ever disclosing ties
    28




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      l    to Backpagc.''
     2            143.   On April L 2015, BRUNST and C,F, were infon:ned that Mastercard \Vas
     3     "snooping around'' Backpage and might stop processing payrncnts for Backpagc, .fn
     4     n.~sponse, C.F, offered several suggestions for setting up ne\v payment channels that \vouM
      5    concea.1 Backpuge' s involvernent. One such proposal was to begin routing Backpage-
      6    rclatcd transactions through banks located in the country of ·Mauritius.         In response,
     7     BRUNST stated: "Didnt we go down the Mauritius path once and the banks had the same
      8    issue with our contcnt't'
     9            144,   Notwithstanding these strategies, the three major credit card com.panics
    l. 0   stopped doing business with Backpage. On or about April 30, 2015, Backpagc learned that
    l. l   American Express wou]d no longer all.ow its cards to be -used for any purchases in
    !.2    Backpage 's adult section. In or around July 2015, .Backpage learned that Mastercard \-vould
    13     no 1ongcr allow its cards to be nsed for Backpagc-rdated. transactions. vVhen discussing
    14     this decision, MasterCard stated that it '•has rules that prohibit our cards from being ui:;t~d
    I. 5   for illegal activities." Around the same time, Backpagc learned that Visa would no longer
    1.6    allow its cards to be used for Backpagc-rclated transactions,          When discussing this
    1.7    decision, Visa stated. that its "rules prohibit our -network from being used for iHegal
    18     activity."
    19            145,   Simi!ady, some banks closed accounts that were held by Backpage (or
    20     Backpagc-related entities) out of concern the accounts were being used for iUegal purposes.
    21     For cxanipk, on Ap-ril 2, 20! 4, BRlJNST received a letter from U.S. Bank that \Vas
    22     addressed to "Bac-kpage.com." The letter explained; •'Dear fod .. , please be advised that
    23     we have elected to close your Account with us,"
    24            146,   Baekpagc responded to these developments in several ways. One ,vas to
    25     encourage customers to send checks and money orders to a .Post Of:fke box held in the
    26     mune of a seemingly-unrelated entity ca1k<l Posting Solutions LLC (""Posting Solutions1')
    27     and give sud1 customers a corresponding credit on Backpagc, For example, on July 31,
    28
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          2015, C.F. exchanged email correspondence with a representative from a payment
         processing company.            In this ernai1, C. F, identified hirnsdf as the CEO of Posting
     3    Solutions, described Ba.ckpagc as a "brand" operated hy Posting Solutions, and explained
     4    he was seeking to "find a way to posit.ion payn1ents under another company,''
     5            14 7.    The foHov-/ing episode provides an example of how the Posting Solutions
     6   :payment process Viiorked. On October 16, 2015, Backpage received an email fro111 a
     7    customer complaining ab<-iut her .inability to pay for ads using a credit canL b.1 response 1 a
     8    Backpage representative expia.ined------in an email exchange later fi)rwan:led to VAUGHT-----
     9   that "[i]f you would like to pay for upgrades or buy credits, we &mggest posting with
    10    alternative payment rnethods such as Bitcoin. If you are in the United States, you can also
    ll   pay by check or 1noney order. Please make payable to 'Posting Solutions.' WE CAN
    12    ONLY ACCEPT ClJECKS OR MONEY ORDERS MADE OUT TO 'POSTING
    13    SOLUTIONS.' Posting Solutions. Attn: A.ccounts. P.O. Box 192307. Dallas, TX 75219,
    14   Please send through the United States Postal Service. FedEx, UPS, or other mailddivery
    15    alternatives cannot deliver to a. .P.O. Box. When sending your payinent please be sure to
    16    include your email address, Pl.ease do not make your payments out to hackpagc.com as \VC
    17    wiH no longer be able to accept them_,,
    18           148.      Behvecn around September 2015 and Jmw 2016, over $7.1 million of checks
    l9    and money orders sent by Backpagc customers '1Nere deposited .in bank accounts held by
    20   Posting Solutions.
    21           149.      Backpagc also utilized a d.iffercnt entity, caHed Website Technologies, LLC
    22    ("Website Technologies"), to process Backpage-rdatcd funds a.nd took steps to 1nakc it
    23    appear that Back.page and Vlebsite Technologies were independent entities. For example,
    24    on March 10, 2014~ BRUNST, SPEAR, and others participated in an email exchange Vi/1th
    25    the subject Linc "Website Technologies vs Baekpagc (Vendors, audits, risk assessrnents,
    26    ernai1)."   During this exchange~ one person stated "!C.F.] and l were just discusi'>ing
    27    company         mnnes   and     the   possibility   of updating   our   email   addresses    to
    28




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         vvchsitotcdmo1ogics,com. '' ln response, BRUN ST cautioned: ''W' e need to think this thrn
     2   or aH the work to separate it from BP will be lost'' Similarly, on April 3, 2014, BRUNST
     3   sent an email to SPE/\.R and others explaining that "[b]y rvtay I. we wiU have to be out of
     4    US Bank. \~Tc w1U move all hanking under Vv'ebsite Technologies at [a different bank,
     5   HMO flan-is]!'
     6           150.   ln .many instances, Backpage-related money that vvas initially deposited into
     7   accounts hc!d hy Posting Solutions was later transmitted to accounts held by \V cbsite
     8   'fed1nologies. For example:
     9           .      On October 27, 2015, C\F. received an email entitled "'Two packages corning
    ]0   your vvay1 (MOney Orders)." 'fhe entail stated that two UPS packages filled \.Vith m.oney
    ]l   orders \Vere being scnt ...... one containing $47,647.25 ofn:1oney orders made out to Backpagc
    12   and tho other containing $52,251.48 of money orders made out to Posting Solutions.
                 .      Similarly, on November 16, 2015, C.F. received an email entitled "'Three
    14   packages sent today $441,408.69.'' The email stated that three packages filled with 1noney
    l5   orders were being scnt--..--one containing $129, I. 93.61 of money orders made out to
    16   Backpagc, another containing $244,353.63 of money orders made out to Posting Solutions,
    17   and the hrnt containing an additional $67,86:! .75 of money orders made out to Posting
    18   Solution:,;,
    19                  And again, on January 29, 2016, a Posting Soh1tiuns account wired $2,4
    20   million to a \Vebsite Technologies account. PADILLA and C.F. vvere both authorized
    21   signers on the recipient account.
    22           151.   fo addition to receiving mi111{ms. of dollars from Posting Solutions, the
    23   Wcbsite Tcdmologim, accounts also served as. the repository for rnillions of dollars of wires
    24   from international bank accounts controHcd by Backpagc-associated entities. For example,
    25   betvvcen January 2015 and December 201.6, \Vebsitc Tcdmo1ogics accounts received over
    26   $45,4 n1iHion in \Vire transfers from Backpage-associatcd bank accounts in Licchtt.'.nstein,
    27   over $30. I. 1nfrlion in Vv'frc transfers from Backpage-assoc.iated bank accounts. in Iceland,
    28
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          and over $3.9 m.illion in wire tnnwfors from Backpagc-associated bank accounts in the
          Netherlands.
     3           152.    In many instances, the next stage of the money~l.aundering: process was for
     4    money to be Vi"ired from \Vebsite Technologies accounts to hank accounts held by a
     5    different entity caHed Cercus Properties LLC ("Cereus Prope1iks)'). The authorized
     6    signers on the Cereus Properties accounts included SPEAR and BRUNS'I'. Bet,veen
     7    around December 2015 and October 2016, Website Technologies accounts sent wire
     8   transfers totaling over $47 million to accounts held by Cereus Properties.
     9           153.    Accounts held by Cereus Properties also received money d.ircct1y frorn
    IO   international bank accounts controlled by Backpage-associated entities, For example,
    11    bchveen around August 2016 and Novernhcr 2016, Cercus Properties accounts received
    12    over $11.3 rnillfon in deposits and \Vire transfers from Backpage-associated acconnts in the
    13    Netherlands.
    14           154.    Afr.er money reached Cereus Properties, large portions of it were funneled
    15    back to Backpagc or to certain BACKP.AGE DEFENDANTS. For example~ between
    16   Janua.ry 201.6 and January 2017 1 LACEY (and LACEY's fami1y n1ernbers) received
    17    distributions totaling over $30,3 million and LARKIN separately received distributions
    I8   totaling over $21 million.
    19           ! 55.   Backpage also fo.rthercd its money laundering efforts through the use of
    20    bitcoin processing companies. Over time, Backpage utilized companies such as CoinBase,
    2!    GoCoin, Paxful, Krakcn, and Crypto Capital to receive payments from customers and/or
    22    route money through the accounts of rnlated companies.
    23           I56,    Backpage also furthered its rnnncy laundering efforts by developing ways frw
    24    custornern to purchase ads using gift cards issued by third-party vendors. This process was
    25    described in a July 23, 2015, ernail exchange between various Backpage employees on
    26    which HYER and others ,vere copied. This exchange included the foHo\ving: "!_W]ha1 if
    27    we used a customers ["sieJ payment method, say visa prepaid ca.rd, to buy [bitcoin] from
    28
                                                     -40-




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          our selkr account . , . giving said bitcoin to our catch-aH walkit dse\.vhere (instead of to
     2    user), sinm1tancous1y adding credits/purchasing paid ad or upsells? From the user's
     3    perspective they just input their prepaid card and get their credits or purchase.~'
     4                                                  COUNTJ
     5                                              (Conspiracy}
     6              1.57.   The fodual allegations 111 Paragraphs 1-156 are incorporated by reference
     7    and re-alleged as though fully set forth herein.
                    l 58.   Beginning in or around 2004, and continuing through the present, in the
     9    District of Arizona and elsewhere, defendants LACEY, L/\RKIN 1 SPliAR, HYER.
    10    PADILLA, and VAUGHT~ and others kno\vn and ur1kno<vvn to the grand jury, knowingly
    11    and intentionally agreed, cnnfoderated, and conspired \v1th each other, and \Vith others
    12    k11cnvn and unknown to the grand jury, to comrnit the following offenses against the United
    13    Stales:
    14                            18 O,S.C: § l.952(a)(3)(A) (Travel Act······Facilitate Prostitution).
    15                                  OBJECT OF 'l'IIE CONSPIRACY
    16              159.    The object of the conspiracy was to obtain rnoney.
    17                          MANNER AND M·E1\NS OJ<' THE CONSPIRACY
    18              160.    The .manner and means of the conspiracy are described. in paragraphs 1-156
    19    above, incorporated by reference and re-alleged as though fuHy set forth herein.
    20                                             OVER'f ACTS
    21              16 l.   Overt acts were cmnmiited in furtherance of the conspiracy, includfog but
    22    not limited to those described in paragraphs 1-156 above, incorporated by reference and
    23    re-alk:ged as though fully set forth herein.
    24              h1 violation of :!8 U.S.C. § 371.
    25
    26
    27
    28




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                                                                           COUNTS 2-5_1
     2                                            (Travd Ad-Facilitate Prostitution)
     3              162,      The factual allegations in ft;;i.ragraphs 1~ l. 6 l are incorporated by reference
     4     and re-alleged as though fully sot forth herein.
     5              163.      On or about the dates set forth below, each instance constituting a separate
     6     count of this l:mHctment, in the District of Arizona and elsewhere, defendants LACEY,
     7     LARKJN, SPEAR, HYER, PADILLA, and VAUGHT, a.nd others known and unknown to
     8     the grand jury, used the mail and any facility in interstate and foreign commerce \.vith intent
     9     to otherwise promote, manage, establish, carry on~ and facilitate the promotion,
    l.O    1nanagernent, establishment, and carrying on of an unlavvful activity, to wit: prostitution
    l.1    offenses in violation of the laws of the State .in \Vhich they arc coimnitted and of the United
    12     States, including but not limited to Title 13~ Arizona Revised Statutes, Section L3-32l4,
    l. 3   and thereafter performed and attempted to perform an act that did promote, manage,
    14     establish, cm:ry on, and facilitate the promot.ion 1 management, cstablishrncnt, and can:ying
    15     on of the unfavvful activity, as fo!luws:
    l.6
           ~--···························--- - - - ----····························----
    17      Count Q!!!£                              Description
                                     -----'-····························                      ---·······························---
    18      2.          Sept 10, 2013                Publish ad depicting Victim 5 entitled "Get freaky Tuesday .
    19                                               , Come spend ur day ,vith us -- 19," with accompanying text
    20                                               "Doin 1ncaHs and out.calls''
                 ··························---                      ---·······························-------- ----···················
    21                  Jan.27,2014                  Publish ad involving P.R. entitled ''50 Red R*O*S*E*S
    22                                               S*P*E*C*l*A*L - DONT MJSS OOT!n!!"
                              ---································---                      ---·····························----- _ _____,
                        Jan.29,2014                  Publish ad depicting Victim 8 entitled "Puerto Rican marni in
    24                                               walpolc area INCALLS --·-19" after deleting une pkturn from
    25
           ··-···················· ····--- ----+---t·_!1_c origi.nal.~_y~~.~~~:!!!}.~.tcd ad  -----·························
    26       5,                     Ja.n. 31, 20 14    Publish ad depicting Victim 8 entitled '"Exotic 1atina, south
    27
    28
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                                                                 19'' after deleting one picture from the original1y-s.ubm1tted
      2                                                          ad
           ............__   ........ ··················-- --~~~--------···························------·----.-.-.-.-.-.---.---················-----------··

      3       6.                     Feb.6,2014                 PnhHsh ad involving PJC entitled "75 Red R*O*S*E*S
     4                                                           S*P*E*C*I*A>"L - DONT !vUSS OUT!!l!!''
                                           --···························----------~------······················---··~--·······--··································
      5                               Apr. 20, 2014              Publish ad involving PJt entitled ""50 Red R*O*S*E*S
      6                                                          S*P*E*C*I*A*L - DON'T MJSS OUT!t!!!"
           ~--············ ············--------·---~.-.-.-.-.--•························---
      7       8,                      J'Vfoy 7, 2014            Publish ad involving P.K entitled ·'50 Red R*O*S*E*S
      8                                                         S*P*E*C*I*A*L - DONTMJSS OU'Tltl!l"
               - - - ----------· ..................... -1-----------·························---···--···---------·························

     9        9,                      May 31, 2014               Publish ad involving P.R. cntitl.ed "50 Red R*O*S*E*S
                                                                S*P*E*C*I*A*L - DONT rvnss OUT!!!!!"
           !-----••••••••••••••••   •••••---v~--••+---••••••••••••••••••••••••---                  •--~          --····················-------·---
              !O,                                               Publish ad involving P.R. entitled "50 Red R *O*S*E*S
    12                                                          S*P*E*C*T*A*L - DONT MISS OUT!!!!!"
           •~-                 -1----•••••••••••••••••••--+----v--•-•••---••••••••••••••••••••••--- ~--~•---•••••••••••••••••••••••••----<


    1.1       I.L                     Aug. J9, 2014             Publish ad involving P.R. entitled ''50 Red R.*O*S*E*S
    14                                                          S*P*E*C*l*A*L - DONT MTSS OOTl!l!ln
           ····················--1--                   --+--·······················-----~--···--······················-- · - -
    15        12,                     Nov, 23, 2014             Publish ad depicting Victim 10 entitled '"Ncvv in To\vn Super
    16                                                          Hot Skinny M.ixcd Cuban (hr! W'ith Long Black lfalr - 1W'
      '7
    1
    . I
                                                                after deleting.picture frnrn origirutl1y-suhmitted..ad·····--
                     ---4--••·················---
    18        13.                    Jan. 29, 2015              Publish ad depicting Victim. 12 entitled ''Nevv in Town Sexy
    19                                                          Dark Asain Bomhshefl \vith a. Nice & Tight {Booty} ···· 23"
    20
                                      --···--·········· .?i:!c,r ddetir1.~ one .P~.ctnrc }!·:~?:::~. ~~!e originally-subi!1itt.ed a.~1.......... .
    21.       14.                                                Publish ad depicting Victim 10 entitled ''NE\\7 IN TOWN
    22
           •·---···•·················--- ~-+-scx.y sweet.European mix?:1Cuban California.girl.··· 21i,_
    23        15.                    Jan. 3 l., 20! 5           Publish ad depicting Victim l.2 entitled. "Ne\.v in Town Sexy
    24                                                          Dark Asian mixed Bombshell --23" after deleting one picture
    25
                ----+-···------··········· ..                   from the orig1nally-suhmitted.. al_i___ ----·---···············
    26
              16.                    Fcb.4~2015                 Publish ad depicting Victim l l. entitled "Upscale Independent
    27                                                          BRUNETTE BOrvlBSHELL 5-Sta.r Fantasy                                                     26," after
           ,____······················--·-----~                              ····························---·--~---        ·····································-----
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     1    ,....... ,. .._ ___,_····----····· .. deleting pictwcsfrom originally-submitted. a~l----······················-
     2         17.           Feb. 18, 2015      P1Jblish ad depicting Victim 11 entitled '"Alexis Foxx the
     3                                             HOTTEST in town!!! 1! ··- 26,'' after deleting six pictures from
     4                                             th? originaHy-subrnittcd. ~ ··--······················- ........          ·-~-------


     5     ] 8,        Feb. 26,201.5               Publish ad. .involving P,R. entitled. ""'50 Red R*O*S*E*S
     6                                             S*P*E*C*I*A *L - DONT rvuss OUT!! 1!!"
            ---·-+---··--··········· ·········--------·~------- ---·····················-----------·----···-•~----·······················
     7     19.         May 18, 2015                Publish ad depicting Victim l 5 entitled ''GORCiEOUS ebony
     8                                             PLAY.MATE Pt::-rfoct Cmves ... Skills to make ur TOES
     9                                             CURL ···- l.9," after ren1oving one picture of originally-
    l.O                                            subrnittod ad, with accompanying text "you agree ... you arc
    l.l                                            not affiliated 1-vith any law enforcement agency" and "Incalls
    12                                             &. Outcalll !!')
              ····················--···--·-            ······················---··~-··--······················
    13     20.          May F), 2015               Publish ad depicting Victim 15 entitled "Hot & Driping
    14                                             Submissive Ebony Playrnatcs ·--· 20,1' after removing one
    15                                             picture of originaUy-subn1ittcd ad, with accompanying text
    16                                             "you agree, , , you aro not affiliated vvith any la;,v enforcement
    17                                             agency" and '"We're ready to pl.case and accommodate aH of
    18                                             your needs and wants!! With a mouth that' 11 ROCK your Ll
    19                                             aml '.~. [pictu~~: ..~?.!..~:,itJ that'.U ka:? you Pl.~~(}~~.!f.Jbr more.'.~'--·,
                        ······················--
    20     2L          July 1; 201.5               Publish ad depicting Victim 17 entitled. "'AbSoLuTeLy
    21                                             AmAziNg CoMe PLaY Wffh Me #1 .!VfoST W'aNtEd SwEeT
    22                                             SEXii PlAymate ···· 20t with accompanying text "By
    23                                             contacting me you agree that you arc not affiliated vvith any
    24                                             form of law enforcem_ent" PER.FEC'f & wrn satisfy your
    25       ___               ------·············· __eycry neeJ;'arrd_ '"IN/q,t.\:~:~s • • ONL_Y_·"~ ---························
    26     22.         July 2, 201s                Publish ad depicting Victim 17 c.ntitlod "SoXy! ! ·Exotic
    27                       - - · ·_____ playmatc.can .. me! thegirl.you NEED .. to .. See! -~ 20," wi~h
    28




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                                                                      accompanying text "I DO NOT OFFER 40$, 50$; 60$
     2                                                                SPECIALS" and '"IN/CALLS···· ONLY"
            ................ ----------~-- ···-························--- --···-·-·--······················--···---····---
     3    23.               Aug. 13, 2015                             .Publish ad depictfag Vktim 13 entitled "Young SEXY
     4                                                                .PUERTO RJC/\N ··· 19," \vhich accompanying text "l do half
     5                                                                hour sessions that vary in donation prices, 80 for head, 120
     6                                                                fur hooking up without head and 150 for hooking up v,dth
     7                                                                head"'
                --I--••·····················~---- -------.----·····••·························-------·-·--·······---·····················---
     8    24.               Aug. 15, 2015                            .Publis.h ad depicting Victim ! 6 entitled. '"OutcaUs Now
     9                                                             .. :!~~:~~~~.:Y.S;urv:y..Caramc_l Lady (?!_!.!.~:::~\J.LS ·~ow --~23"
    10    25,               Sept 13, 2015                            Publish ad involving PJt entitled "50 Red R*O*S*E*S
    11                                                                S*P*E*C*l*A.*L - DONT MISS OUT!!tl!"
            •••---••••••••••••••••••••••••--                     ••-~••••--•••••••••••••••••••••••----•v--•••--•••••••••••••••••••---



                            Nov. 28, 2015                            Publish ad involving P.R.. entitled "50 Red R*O*S*E*S
                                                                      S*P*E*C*I*A*L - DONT MISS OUT!l!l !"
            --+···~·~~····--····················--····--· ----······················--···
                            Apr, 21 20 l 6    0
                                                                      Publish ad entitled "FinaHy! ! PSE & GFE - Kimber Rae and
                                                                      MIA      Marie Tog-ether BOOK NOW"
                                                                      ~.-----···················";:... ______-_~.-----····················--- --~~~------
          28.               Nov. 3~ 20 l.6                           Publish ad entitled "GFEE New ··· 18"
                                    -~-.-.-.•--·············· ······--------···---···················--                                                                        ---························
    17                      Nov, 11, 20 16                           Publish ad entitled "M-ind blowing Tiffany. lncaH in Taunton
    18                                                                ···· 37/" with accompanying text "Son GFE .. , Tm real and
    19                                                                reviewed"
            ·····················---···--···                                  -······················--···--··--······················-------·---.~.-.-.-.
    20    30,               Nov, l. 4, 20 I. 6                       Publish ad entitled "Top M.odel 2016 Special < Best Looking
    21                                                               ·young Asian' ... ···· 22/} 1.vith accompanying text "Sexy Asian
    22                                                                Girl lncaU Service" and '\}FE"
              -....-.-+---- - - · · · · · · · · · · · · · · · · · · · · · · · - - - - - - - · - - - - ~ - - - - - - - · · · · · · · · · · · · · · · · · · - - · · · - -   ---·························
    23    3L                Nov. 14, 2016                             Publish ad entitled "Sometimes Ifs All About The Journey,
    24                                                                And The Destination ..... Erectile Dysfunctional G F E
    25                                                                Provider··· 44_," with accompanying test "Yon can find a fow
    26                                                                current reviews at T'3R xxxxxx#'' and "l have been EROS
    27                                                                auth(mticatcd''
           ·······················--·····--·                                    ·······················--··••-'~·~·--···························--
    28




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           32.          Nov. 19, 2016                   Publish ad entitled ''The True (G)irl (F)ri.end (E)xpcricnce ...
                                                        \/isiting         November         27th        Sunday ,-., PRE-BOOKING
     3                                                  SPECIAL ..,, - l 00;' with accompanying text "Let's blur
     4                                                 restrictions behvccn financial transaction & Romantic
     5                                                 Connectio11"
                                                              ····························---- · - - ---·····················----
     6     33.          Nov. 24 1 2016                 Publish ad entitled "Top Asian Grand Opening l 00 1l-'[i Young
     7                                                  IO(VYo Sexy            ... ···· 23," with accmnpanying text "BEST
     8                                                 1NCALL IN TO Vv'Nr' and '\}FE"
              -----!--····························-1---··~·--·--·····---····························-- · - -
     9     34.          Nov. 26, 2016                  Publish ad entitled ..J LOVE MEN!l rm a GFE. OutCaU and
                                                       Incall with exception un the JncalU ! ···· 42"
                                          ·---·························          ···-          •••••        ·························---
           35.          Dec, 20, 2016                  Publish ad entitled ''OMG                        Sexy Sensual 36DD-24-36
    12                                                 Stacked Cu!!cge Coed With The Best Mouth Ever! BOOK
    13                                                  NOW! -24," with accompanying text "I do ALL the things
    14                                                 YOU Wish 'f..?.~.~!..~.~.~~ Did!!" and "(G).:(F),(E) }~(!.::!!.:/~. ~. ~.9"
    15     36.          Jan. 15,201.7                  Publish            ad   entitled       '"Real.     &      R.eviev11ed           Girlfriend
    16                                                 Thconeswect.1,vceh!y.com ···· JOt with accompanying text
    17                                                 "250 G FE"
                       ---························--- - - - · ----·························---
    18     37.          Apr. 4, 2017                    Publish ad entitled "KISSING & GFE KOREAN GIRLS.~
    19
          ··························---                  ---····························----·"--····---······································
    20     38,          Apr. l l, 20 I. 7              Publish ad entitled "Pettit Sexy #Corey# 4407239339 - 39,"
    21
                      +----························· .. with ac~~~rnpanying text            ".~'.\'.::!P..~.?..~e GFE experience''
    22     39.          July 3, 2017                   Publish ad entitled "WANNA UANG OUT NO\V UpScale
    23                                                  Ne\V In Townl c:all ME now for an 1mfcirgettabk visit -- 20t
    24                                                 with ..<1~~~?.~:?.Jt~!1Ying te~.! "1 OO?i GFE ,vit!~... ~.gQ.:~~ . ~~~?.}~Jmps"
          ·················--1--- · - - - ·
    25     40.          July ! 5, 2017                 Publish ad entitkd "Ready for some fun daddy? This: is your
    26                                                 chance too have a amazing time - 21 ," with accompanying
    27
          · · - - -·-------·•······················ .. · .. text "Shrn .bDD)\nice tits,. freaky ,_(}FE"
    28




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           4L             July 15, 2017                      Publish ad entitled ··New m town BiGBubhle lfooty
     2                                                       SWEETLiPS FIOT BODY                                  24/'       with        ''GFE''        m
     3      ....................... ____ _ _---J..._ accornpanying .text····-----·      ,------·························-·---
     4     42,                  July 21~2017         Publish ad entitled "Pettit Sexy #Corey# 4407239339 ···· JOt
     5
     6     43.           July 23, 2017                   Publish ad entitled "_ASIAN GODDESS young - 20;' with
     7                                                   acc(m!P..~\!~.X~Y.W.t.cxt "lfHY'.~o D1sc.r?ct ser~/~:~:~~.?!.1.~l "#GFE" __ _
     8     44.           Ja.n. 26~ 20 I. 8               Publish ad entitled "GFE Service Available!                                            Private
     9                   ---························ .. Encounters w/ Pa.mpering. Beauty'~--------------------
           45,           Jan.30,20]8                    Publish ad entitled ''24- ! & \Vhite plans area Carf11n Perfoct
                                                         Treat        Available No Rush," with "Sweet Sexy GFE'~ in
    12                                                   accompanying text
          ................. __._________~----~----                                                        ---······················----
    13      46,                 Jmi- 30, 2018            Pubhsh ad entitled ''GFE _REAL HOT Sweet DREAM
    14                                                   /\M_AZING BEST RELAX"
            ---+·······························-------                  ---··························--- - - - ----······························
    15     47.           Jan. 30 2018 1
                                                         Publish ad entitled "Tall, Slim & Sexy Luxe Goddess *
    16                                                   NARCISA * Sensual Body Ruh + Fetish Sessions," \vith
    17                                     - - - - - l ...   ~:~:~:~!.!~:~P..~::nying te:xt '"gfo ~!:_I_h: $16~... L~.: ....~?2_0_"______
    18     48.           Jan, 31, 2018                   Publish          ad     entitled      "Exotic            Asian          Bcautyt            with
    19                                                   r~eeumpanying text '"J am an independent GFE with excellent
    20
          ---··························---                                                                                ----······························-
    21     4·_f:_)._-1-I-~eb. 1, 20_1_8_---1J~~.!?.Y~!:.?~l entitl~d '"Nurn (Best GFE.ever) incaH on1-y~"--
    22                   Feb. 6, 2018                        Publish ad entitled '"Tuesday \Vith Ashleigh. Avai!abfo now,''
    23                                                   with "G_FE" i.n ?.?.?.~?_~?:Jlanying __t~-'~x_t__
         •f------·· ···················---                                                                                ---····························-
    24     51.                                           .Publish ad entitled "GFE                  Kisskisspop 100%i Real Photo
    25                                                                                              1

                                ---·· 5?~:.?~YY ..?Asian girl Nunmude                                   '······························---

    26               ln violation of 18 U.S.C. § 1952(a)(3)(A) and (b)(I)(i).
    27
    28
                                                                                - 47 -




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                                                  COUNT52

     2                          {Conspiracy To Commit :Money l,aundedng)
     3           1.64.   The factual allegations in Paragraphs !-163 are i:ncmvoratcd by reference
     4    and re-alleged as though fully set forth herein.
     5           165,    Beginning in or around 2004, a.nd continuing through the present, in the
     6    District of Arizona and c1scwhcre, defendants LACEY, LARKIN, SPE/\.R, BRJJNST, and
     7    HYER, and others known and unknown to the grand jnry, knowingly and intentfonally
     8    agreed, confederated, and conspired with each other, and with others known and unknown
     9    to the grand jury, to con unit the following ofl:enses against the United States:
    10                   a.     !8 U..S.C. § l956(a)(I)(A)(i) (Promotional Money Laundering)
    11                          ! 8 U.S.C. § L956(a)(l)(B)(i) (ConctialnH.mt l'vfoney Laundering)

    12                          ! 8 U.S.C. § L956(a)(2)(A) (Inn Prornotiona] Money Laundering)

    13                   (t     ! 8 U.S.C. § L956(a)(2)(B)(i) (Int'I Concealment Money Laundering)

    14                   C.     18 U.S.C. § !597 (Transactional Money Laundering)
    15           In violation nt' 18 lLS.C. § 1956(h).
    16                                          COUNTS 53-62
    17                               (Concealment. Money Laundering)
    18           I 66.   The factual allegations in Paragraphs 1-165 a.re incorporated by reference
    J9    and re-alleged as though fully set forth herein.
    20           I 67.   On or about the dates set hnth bekn,v, each instance constituting a separate
    21    count of this Indictment, in the District of Arizona and elsewhere, defendants LACEY,
    22    .LARKIN, SPEAI{~ BRUNST, and HYER, and others knmvn and unknovm. to the grand
    23   jury, knowing that the property involved in a financial transaction represented the proceeds
    24    of some fi)rm of unlawful activity, conducted and attempted to conduct such a financial
    25    transacfam which in fact involved the proceeds of specified unlawful activity lmo\ving that
    26    the transaction was designed. in whole and in part to conceal and disguise the nature, the
    27    location: the source, the ownership, and the control of the proceeds of the specified
    28




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          unlav1ful. acti vity,.as foUov.?,:                                               --······ .---·--······················---
     2    ...<:_"o_un_t. Date                      .. ····---- ...~.~~~.?.~.,~.t ..... _ _J_.=O=e~sc=i=·i5,pt=:.i=m=:! ___ ..................... _ _ __
     3       53.                 May 18, 2016                               $1,476,505.00 Website Technologies (x2008) to Ccrcus
     4                                                                                                            Prope1iics (x62 I l)
                                                                                          ---·····························                   ···---···--·········································
     5      54.                   May 18~ 2016                              $264,438.00                            Website Technologies (x2008) to Ccreus
     6                                                                                                            ..l~roperties (x62 !. D_··················-- ······-······-•---------------1
          I---······-·;............-..-~ -- - - - · · · · · · · · · · · · · · · · · · · · · · · · · · · · - - -

     7      55.                  1v1ay3l,20I6                               $3,171,675.80 V-/ebsitc Technologies (x2008) to Ccreus
     8
         ·1--------••························--·~-----+--                      ---··········· .. Properties (x621 I) ····-··---·······································-
     9      56.                  May 31, 2016                               $432,96L87           Website Technologies (x2008) to Cereus
    10                                                                                                            Propert_ies (x621)) .............. _ __
          ~-----~~--                         --············ ·············---
    1l      57.                  June 20, 2016                              $842,878.00                           WCbsite Technologies (x2008) to Cereus
    12
          1-----················ - - - - - - -                                                                                                     ---··································--
    13      58.                  June 30, 20 I 6                            $3,076,147.75                          Website Technologies (x2008) to Ccreus
    14
          -···--- ..                               ......................... · - - - ·~·----+-P·1:operties J:~.~~?.}}). ___ ____
    J5      59.                  July 27, 2016                              $3,252,681.62                          Website 'fcdmologies (x2008) to Cereus
    16
                                                                    ---+---··························             Properties (x6~__1_1.::....)--······························----
    17      60.                  July 27, 20! 6                             $438,818.86                           Website Technologies (x2008) to Cerew;
    18                                                                                                            Properties ..(x62.1_1.c.....)__ - - ~
                           -1----··························--+---
    19      6L                   Aug. I6, 2016                              $804,250.00                           Website Technologies (x2008) to Cercus
    20
                                                                 -+--···························--+--l-)r_op~rtics (x621 l)                           ·································---
    21      62.                  Aug. 3I,2016                               $3,171,264.42                          Website Technologies (x2008) to Ccreus
    22
                           .......L...---···························-~--
                                                                                              ---··---"_f:_:~r_o:.;__p_ertics.. (x621--'-1'--)__
    23                    1n violation of I 81J.S.C § l 956(a)(1 )(B)(i).
    24
    25
    26
    27
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     2                                       (International. .Promotional l\toney Laundt~.ring)
     3                        168,   The factual allcgatimrn 111 Paragraphs 1-167 arc incorporated by reference
     4   and re-alleged as though fully set forth herein,
     5                        I69,   On or about the dates set forth below, each instance constituting a separate
     6   count of this Indictment, in the District of Arizona and elsewhere, de fondants LACEY,
     7   LARKIN, SPEAR, BRUNST, and .HYER, and others known and unknmvn to the grand
     8   jury, transported, transmitted, and trnnsforred, and attempted to tnms.port, transmit, and.
     9   transfer, a monetary hrntrument and funds. fron1 a place in the United States to and through
    lO   a place ontside the United States, and to a place in the United States. from and through a
    l1   place outside the United States, with the intent to promote the can:ying on of specified.
    12   unlawful activity~ as follows:
         ··············•·""                                   ···························-~-
    13
           Count Date_····················•---l---=~<\=-1:-::::n=o=u=n=t- ----1-±D:-:::e-:-:-::'S:::::c:-:::.d~p:::::t-::-:-:io=n.=---- ___. ---·····························
    14     63.                  Mar. 4, 2014               $6,450.00                      LLS. Bank (xl165) to S,B. (web <levc!oper
    15                                                                                    in India)
                                                                                                      --~·······················--- - - - - .
    16     64.                  Aug, 5, 2016               $5,005J32.86                   Ad Tech RV. (Netherlands) to Cercus
    17                                                                                    Properties (x6211)
         -·--+--························--·· ·--····· - - - · · · ....................                            ··--             ---··························
    18     65,                                             $2,916,955.00                  Ad Tech B,V. (Netherlands) to Cereus
    19
         l--·-····"'+··--------      ---··········· ··········---
                                                                                 ~--+-------P!.operties...(~.?.?..~...1..2___ ·----------
   20      66.                  Oct. 3, 2016               $354,050.84                    Ad Tech B.V. (Netherlands) to Ccretrn
   21
           ---1······················--                        ---········ .Y~:~?p_erties ( x6211) ··---···························•--------1
   22     67.                   Nov. 2, 2016              $2,726,170.00 Ad 'fech B.V. (Netherlands) to Cerew;

         ,____ _ ---+-- - - - ......... ············~---------=                           Propcrtie~~.. ~::.~'.~?.1.-..1_)___ -~~-                           ----I


   24     68.                   Nov, 15, 2016             $351,403,54                     Ad Tech B,V. (Netherlamls) to Cercus
   25
          ---~···············-···--- _ ____,_____ --·············· .. ?.~opcrtics (x621 .1)_ _ _ ····························-------'
   26           ln violation of 18 U.S.C § l 956(a)(2)(A).
   27
   28




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     1                                                                                              COUNTS 69-.93
     2                                                                    ('l'rnnsactional l\'foncy l,aundering)
     3                     l. 70.          The fiwtuaJ allegations in Paragraphs l-169 are incorporated by reference
     4   and re-alleged as though folly set forth herein.
     5                     I. Ti.          On or about the dates set forth below, each instance constituting a soparntc
     6   count of this Indictment, in the United States and in the Dist1>ict of Arizona and elscwhert\
     7   the specified defendant, and others known and unkno\vn to the grnnd jury, knowingly
     8   engaged and attempted to engage in a 1nonctary transaction in criminaHy derived property
     9   ~:i~y~!Y~. weater than $10,000 an(~.f~.~~~~}Y.°.d from spccified.ynlawfi!}.?~~!.:"ity: as follt).~'S:                               ·~~


           Count Defendant Date                                                                           Amount                                       Des
                                                                                                                                               ..... .............
           69,                   LACEY 1                                                     21., $30,000.00                                           Ba.t1k of America (x 1793) to
    12                           BRUNST                           2013                                                                                 Stewart Title (pmthl payrnent
    ]3                                                                                                                                                 for Sedona..prope_r_ty_')__
          •······················                                                      ··························---
    l4     70.                   LACEY,                           Sept..                                                                               BM 0 Harris tu Stc1,,vmt Tit1o
    15                           HRUNST                           2013                                                                                 (partial payment for Sedona
    16                                                                                                                               ..........        pro1Jcrty)
         ~.------1--•···················-l----- - -                                                                                                                          ---····························
    17     71.                      SPEAR                         June l.l,201.4 $300/lOO,O0                                                           National            fJank       of      Arizona
    rn                                                                                                                                                     ! 78) to Spear Family Trust
                                                                                                                                                       (xO:..........................
                       -l----·---                             -<---·······················+---
    19     72,                      SPEAR                         Juno 20, 2014 $200/JOO.O()                                                          Nat ional            Bank        of      ,Arizona
    20                                                                                                                                                     l 78) to TD Am.critrade
                                                                                                                                                       (xO----.-.-.--    .............................
                ·--1--·························---+--                                                                                 ...                  ·~

    2]     73.                      SPEAR                         Nov, 4, 2014                            $1,000,000 .00                               Natio1tal           Bank        of      Arizona
    22                                                                                                                                                 (xO 178) to UBS Financial
         ·················---+-- - - - · 1 --······················· · · - - · · · - - - -                                                                                                   --~
    23     74.                      S.PEAR                        Kifay 14, 2015 $250,000.0 0                                                          National            Rmk         of       Arizona
    24                                                                                                                                                 (xO 178) to Lincoln National
    25                                                                                                                                                 Life
                  ·---+--························--+-------~---····~.--••.                                                                              ---~    --·····---··-······················
           75.                                                    May 26, 2015 $50,000.00                                                              National            Bank        of       Arizona
    27                                                                                                                                                 (xO 1.78) to Industrial :Prupcrty
          • • • • • • • • • • • • • • • • • - - - - - - · - - - - - . A - - - • • • • • • • • • • • • • • • • • • • • • • - - · · · - - ~·


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                                                                                                                              Trust
                                                                     ····················--+--·••-'--···-···· ·············----~····-~•························

     2      76.                   SPEAR                                                                                       National               Bank   of   Arizona
     3                                                                                                                        (xO 178).to.Aily Bar_1k_
                                                                                                                                                    . _________
     4                            SPEAR                        Dec, l, 2015                      $200,000.00                  National               Bank   of   Arizona
     5

     6      78.                   SPEAR,                       Jan. ll.; 2016                    $133,045.00                  Ccreus Properties (x62ll) to
     7                            BRl.JNST                                                                                    National               Bank   uf   Arizona
     8                                                                                                                        _(x0178)_···········--- ______
          ,._._._._._._..-.~-----+--···················
     9      79.                   BlUJNST                      Jan, 26, 2016                     $Hll ,974.00                  Cereus Properties (x621 l) to
    10                                                                         _ _. .. -----············ .. \Vdls J!arg(} (x489 l ).................. .
    l1      80.                   LARKIN,                      Feb. 3, 2016                      $1,507.944.00                Cercus Properties (x621 l) to
    12                            BRUNST                                                                                      Charles Schwab
          =··---4-·················--                                     --····················----·-··
    13      8L                    LACEY,                      :tvlar. 1, 2016                    $1,692/120.00                Cereus Prope.rtics (x62l1) to
    14                            BRUNST                                                                                      Bank of America  {x:5554)
               -------1····--···-----l···················--·••-'                                        --················-   -    •   --•-···:·................ _·'- -
                                                                                                                                              ....


    1.5                           BRUNST                      Apr. l., 2016                      $220,944.00                  Cereus Propert1cR (x62 l ! ) to
                                                                                                                              WClls Fargo (x489l)
          1----·················---                                                                                            ··················--··        ···--

    1.7     83.                   LACEY,                      June 27, 2016 $397,9500.00                                      Arizona Bank & Trust (x1793)
                                  BR.UNST                                                                                     to Fidelity Title (partial payrnent
    1.9
          ,......_ .... ~....-+--------············· ··········--· ---~····_,___ ................... _ _ _ for San Francisco. propertYL . . -.·-
    20      84.                   LACEY,                       July 20, 2016                     $12,859,152.57 Arizona Bank & Trust (xl793)
    21                            BRlJNST                                                                                     to Fidelity Title (partial payment
    22                                                                                                  ___________, ..for. San Vrar1cisco propm:~Yt ............ .
    23      85.                   SPEAR                        July 22, 2016                     $5{\000.00                   National               Bank   of   Arizona
    24                                                                                                                        {xO 178) to Strategic Storage
    25                                                                                                                        l'rust II
          r---------~".------------~--    - - · · · · · · · · · · · · · · · · · · · · · - - · · ~ · ·--················---

    26                            LACEY,                       Aug. 2, 2016                      $16,243.00                   Cercus Properties (x62 ! 1) to
    27                            BRUNST'
          -·······················-····· -~-----···············
                                                                                                      -··--···· .. \Vells FargoJx049?)                           .................... .
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     1                       LARKIN,                   Oct, 6, 2016                     $1.,206,356.00                     Cereus Properties (x6211) to
     2                       BRUNST                                                                                        Chad~:~ .sc.hwab.. (x4693_)__
     3      88.              LACEY~                    Oct 6, 2016                      $268,016.00                        Cereus Properties (x62 l.1) to

     4                       BRUNST                                                                      --··············. . . . . .
                                                                                                                                          'fnrnt (x l. 967) .
                                                                                                                           Arizona Bank&.........................
                                                                                                                                                   ~




     5      89.              LACEY,                    Oct. 6, 2016                     $268,016.00                        Cercus Properties (x621 I) to
     6    ,---···· .. :~.!.~\l!'J_·S_'T_. . _____ .... - - · · · ........................- -.. -- t'\ri~~1na Bai:.~...~~.. :Tmst (xl ~~?_~)
     7     90,        LACEY,                 Oct. 6, 2016          $268,016.00                    Cereus Properties (x62] I) to
     8                       BRUNST
                              -----·········· ............... _ _ .... .........+--

     9      91..             LACEY,                    Oct 6~ 20 l. 6                   $268,016.00                        Cemus Properties (x62 l]) tu
    10                       BRUNST                                                                                        Arizona Bank & Trust (x 1991)
          f - - - - · · · · · · · · · · · · · · · · - · · - - - - ~ · ·-----··-·····   ·····················----,...j,.........-.• -•--·······················
    11      92.              LACEY~                    Oct 6, 2016                      $268/ll6.00                        Cereus Properties (x6211) to
    12                       BRUNST                                                           ---················ ..Arizon.i:! Ban1~.. & TmstJ.~~.?.~?._l__~L._
                               --······················--
    13      93.              SPEAR~                    Oct. 6, 20Hi                     $141,444.00                        Cereus Properties (x62l 1) to
    14                       BR-UNS'f                                                                                     National               Bank            of   Arizona
    15
          ······················--- ...---.--.---······················-'-------                                           (x0'!78)········-- ~~
    16                 In violation of 18 ll,S.C. § 1957.




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                                        FORFEITURE Al,.LEGA.'HON ONE
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     3             L      Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, notice is
     4   hereby given that the United States will seek forfeiture as part of any scntencZ:\ pursuant to
     5   Title 18- United States Code, Section 98l(a)(l.)(C) .md Title 28, United States Cude,
     6    Section 246l(c), in the event of any defendant's conviction under Counts I through 51 of
     7   this indictment Each defendant so convicted shaH foTfdt to the United States the
     8   follo\ving:
     9                    a,     id! right, title, and interest in any and aU propc1i.y, real or personal,
    !0   constituting, or derived from, any proceeds obtained, directly or indirectly~ as a result of
    !I   the offense. Such property indudcs, hut is not limited to, the real property located at the
    !2   following addresses:
    !3        1.   1 WO UNION SI' #0700 SAN FRANClSCO CA 94109-2019
    !4      11.    2043 PLEAS/\.NT BlLL RD SEBAS'fOPOL CA. 95472-4947
    15      111.   343 PRESfDH) A VE, SAN FRANCISCO, CA 941.15
    16      iv.    2755 FILLMORE ST, SAN FRANCISCO, CA 94:l 23
    17       v.    5300 STELLA. LANE, PARADISE VALLEY, AZ 85253
    18      VL     16901 COLEGROVE DR., DALLAS, TX 75248
    19     v1L     10647 NORTH STATE ROUTE 89/\, SEDONA~ AZ
    20     viiL    493 ZlNFANDEL LN. ST l:LELENA, CA 94574
    21      ix.    5555 N. CASA BLANCA DR, PARADISE VALLEY, AZ 85253
             x.        1308 E. 56TH ST UNIT 2i Cl-HCJ\GO, IL 6063 7
    23   Such prnpmty also includes, but is not hmited to, fonds held m the fi)llowing bank
    24   accounts:
    25        L    Prosperity Bank account mnnber XXXXX7 l. 88
    26       11.   Corripass Bank A.ccou11t nnrnber XXXXXX3873
    27      iii,   Compass Bank Account nnmher XXXXXX3825
    28




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     1      iv,    National Bank of Arizona Account number XXXXO 178
     2       v,    National Bank of Arizona Account number XXXXOI 51
     3      vi,    National Bank of Arizona Account number XXXX3645
     4      v11,   Live Oak Bank /\ccount Number XXXXXXXXXX2523
     5     vm.     Ascensns Broker Dea1er Services Account Number XXXXX6943-0 I.
     6      ix,    Ascensns Broker Dealer Services account Nut:nber XXXXX5280-01
     7       x.    First Federal Savings & Loan of San .Rafa-tel account number XXXX3620
     8      xi.    Republic Bank of Arizona account 11:m:nbe.r XXXXl 889
     9     xu.     Repuhhc Bank of Arizona account number XXXX2592
    l.O    xiii.   Repuhl.ic Bank of Arizona account number XXXX2912
    l.1    x1v.    Republic Bank of 1\Tizuna account number XXXX2500
    12      xv.    Republic Bank of Arizona account number XXXXl 938
    13     xvL     Bank of America A.ccount number XXXXXXXXXXXX8225
    14    xvii.    Bank of America Account number XXXXXXXXXXXX7054
    15    xvHL     Bank ofAmerica ,1-\ccount number XXXXXXXXXXXX9342
    16     xn<,    Bank of America Account number XXXXXXXXXXXX007 l.
    17      xx,    San Francisco Fire Credit lJnion Account Number XXXXXXXXXX2523
    18     xxL     Ally Bank Account Number XXXXXX6292
    19    xxiL     Branch Banking and Trust Bank account number XXXXXXXXX02 l 8
    20    xxHi,    Green Bank Account number XXX4832
    2l    xxiv,    Green Bank Ac,(X)tmt number XXXXXX4293
    22    xxv.     Plains Capital Bm1k account number XXXXXX l. 098
          Such property further includes, hut is not limited to, the following dornain names:
    24        L    atlantabackpage.com
    25       1.L   backpage.be
    26      nL     backpagc.com
    27      iv.    backpagc.com.br
    28




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     _l       V.    backpage.cz
     2       V!,    bac~kpage.dk
     .,
     ~)     Vll.    backpage.cc
     4      VllL    backpage.cs
     5       IX.    backpage.fi
     6        x.    backpage.fr
     7       XL     backpage.gr
     8      xii.    backpageJrn
     9     XUL      backpage.ie
    l.O    XlV.     backpage,it
    l1      xv.     backpageJt
    l.2    XVL      backpage,mx
    l.3    XV1L     backpage,net
    l.4   XVlU.     backpage,no
    15      XlX.    backpage.pl
    16      xx.     backpage.pt
    17     XXL      backpage.rn
    18     xxii.    backpage.si
    19    xx iii.   backpage.sk
    20    xx1v.     backpage.us
    21     xxv.     backpag:e-insi<lcr.com
    22    XX'./1.   bestofoackpagi:.'..corn
    23    xxvii.    bestofoigcity,corn
    24 xxvii.i.     higcfry.corn
    25    XX1X.     chicagobackpage,com
    26     XXX.     denverbackpagc.corn
    27    xxxi.     new yorkbackpage.com
    28
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     1   xxx11,    phocnixbackpage.com
     2 xxxiii.         sandicgohackpage.com
     3   xxx1v,        scatt!cbackpage.com
     4   xxxv,         tampabackpage.eom
     5                            To the extent such property is not av:.tilahle f<)r for!:citnre, a sum of
     6    money equal to the tuta.1 value of the property described in subparagraph (a).
                           Pursuant to Title 21, United Stales Code, Section 85J(p ), as incorporated by
     8    Title 28, United State~{ Code, Section 2461(c), the dcfondant shall forfeit substitute
     9    property, up to the total value of the property described in the preceding paragraph i( as
    10   tho result of any act or omission of the defendant, the property described in the preceding
    Il    paragraph, or any portion thereof: (a) cannot be located upon the exercise of due di1ige11cc;
    12    (b) has been transferred~ sold to or deposited \Vith a third party; (c) has been placed beyond
    13   the jurisdiction of the court; (d) has been substantially diminished in value; or (e) has been
    14    commingled with other property foat cannot be divided without difficulty,
    15                                FORF.RITURE ALLEGATION TWO
    16                                        [. 18 -l-!,.:-:,.(,..
                                                           .-, -, gt· .70.;..
                                                                      o,:r1( a-)(. i,]
                                                                                   i.)

    17             L       Pursuant to Rnie 32.2 of t]ie Federal Rules of Criminal Procedure, notice is
    18   hereby given that the United States will seek forfeiture as part of any sentence, pursuant
    19   Title 18~ United States Code, Section 982(a)(J ), in the event of any ddendant's conviction
    20    under Counts 52 through 93 of this Indictment. Each defendant so convicted shall forfeit
    21    to the United States the foHowing:
                           a,     All right, title, and interest in any and aU propc1iy, real or personal,
    23
          involved in or traceable to any transaction set forth in Counts 52 through 93 of this
    24
          Jndictrncnt. Such propciiy indudes, but is not lin1ited to, the real property located at the
    25
          foHowing addresses:
    26
              1.       1100 UNION ST' #0700 SAN FRANCISCO CA 94Hl9-201.9
    27
             n.        2043 PLEASANT I-ULL RD SEBASTOPOL CA 95472-494 7
    28




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            m.         343 PRESIDIO AVE\ SAN FRANClSCO, C'.A 94115
     2      1v.        2755 FILLMORE ST, SAN FRANCISCO, CA 941.23
     3           v.    5300 STELJ,A LANE, PARADISE VALLEY, AZ 85253
     4      vL         1690 I COLEGROVE DR., DALLAS~ TX 75248
     5     vn.         10647 NORTil STATE ROU'fE 89A, SEDONA, AZ
     6     vHL         493 ZINFANDEL LN, ST lJELENA, CA 94574
     7
            1x.        5555 N. CASA BLANCA DR, PARADIS.E VALLEY, AZ 85253
     8
                 x.     1308 E. 56TH ST UNIT 2, CHICAGO, l:L 6063 7
     9
          Such property also includes, but is not limited to, funds hdd in the fo!low·ing bank
    10
          accounts:
    1:1
            1.        Prosperity Bank account nmnbc:r XXXXX7188
    12
             11.       Compass Bank Account nnrnbcr XXX:XXX3873
    13
            111.       Compass Bank Account mn:nbcr XXXXXX3825
    14
            1v.        National Bank nf Arizona Account number XXXX0 178
    15
                 v.    National Bank of Arizona Account number XXXX0:151
    16
            vi.        National Bank of Arizona Account number XXXX3645
    17
           vn.         Live Oak Bank Account Number XXXXXXXX.XX2523
    18
    19     v1u.        Ascensus Broker Dealer Services Account Number XXXXX6943-01

    20      1x.        /\sccnsus B.mker Dealer Services ac.eount Number XXXXX5280-01

    21           x,    First Federal. Savings & Loan of San Rafael account number XXXX3620

    22       XL        Republic Bank of Arizona account number XXXXJ 889

    23      xii,       1lcpublic Bank of Arizona account number XXXX2592
    24     xiii.       Republic Bank of Arizona account nurnber XXXX2912
    25     xiv,        1fopnblic Bank of Arizona account number XXXX2500
    26      xv.        Republic B,ink of Arizona account munber XXXXJ938
    27     XVL         Bank of America A.ccount number XXXXXXXXXXXX8225
    28




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           xvii.      Bank of Arnerica Account number XXXXXXXXXXXX7054
          xviii,      Bank of America. Account number XXXXXXXXXXXX9342
     3     x1x.       Bank of America /\ccount number XXXXXXXXXXXX007 l
     4      xx,       San Francisco Vire Credit Union Accmmi Number XXXXXXXXXX2523
     5     xxi.       Ally Bank Aeun.mt Number XXXXXX6292
     6     xxii.      Branch Banking and Trnst Bank account number XXXXXXXXX0218
     7    xx 111.     Green Bank Account nurnher XXX4832
     8
          xxiv,       Green Bauk Aeeount number XXXXXX4293
     9
         xxv.        Plains Capita! B-ank aceount number XXXXXXl 098
    10
          Such property further includes, hut fa not limited to, the follo\ving dnmain names:
    1J
                L     atlantabackpage,corn
    12
              u.      backpagc.be
    13
             .iii.    backpage.com
    14
             1v.      backpagc.com.br
    15
                v.    backpage,cz
    16
             v1.      backpagc.dk
    17
    l8
            vii.      backpage,ee

    ]9     viii       backpagc'.es

    20       1x.      backpage,fi

    21          x.    backpagc.fr

    22       x1.      backpage.gr
    23      xu.       hackpagc.hu
    24     X!U.       backpage.ie
    25     xiv.       hackpage.it
    26      xv.       backpfH!,eJt
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             XIX.         baekpage.pl
      4       xx.         back.page.pt
      5      xx1.         baekpage.ro
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            xxiii.        backpage.sk
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     9
             xxv,         backpage-insider.com
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            xxvL          bestotbackpagc.com
    l l.
           xxv11.     bestofhigcity.com
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           xxvrn.         bigcity.corn
    13
            xxix.         chicagobaCkpagc.com
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             XXX.         denvr.Jbackpagc.com
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           xxxil.         phor.nixbackpage.corn
           XXX11L         sandicgobackpagc.cmn

    ]9     XXX1V.         scattlebackpagc.corn

    20     XXXV.          tampabackpage.corn

    2!.                        h.        To the cxte11t such property is not available fi)r for!:citure, a sum of

    22      money equal to the total va]uc of such property.

    23               2,        Pursuant to Title 21, United States Code, Section 853(p\ as incorporated by
    24      T1tlc 18, United States Code, Section 982(b), each defendant convicted under Counts 52
    25      through 93 of this Indictment shall forfeit substitute property~ ff, hy any act or omission of
    26      that defendant, the propc1i.y described in the preceding paragraph, or any portion thereof,
    ~ry
    L I     cannot he located upon tho exorcise of due diligence; has been transferred, soki to, or
    28




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          deposited with a third party; has he.en placed beyond tho Jurisdiction of the court; has been
          substantially dfrninfahcd in value; or has been commingled with other properly that cannot
     3    be divided \vithout difficulty.
     4                                              A TRUE BILL
     5
                                                     i.{ I
     6                                              toREPERSON OF THE GRAND °JURY
                                                    Date: March 28, 2018
     7
     3    ELIZABET.FI A. STRANGE
          First Assistant United States Attorncv
     9    District of Arizona                  -
    10    JOHN P. CRONAN
          Acting A.ssistant Attorncv General
    l.l   Criminal Division, U,S. Depart.m,nit of Justice
    1.2
    1.3   KE\llN .iv1. RAPP
    14
          DOMINIC Li\NZA
          MARGA1tET PERLMlT"fER
    !.5
          JOFIN J. KUCERA
          Assistant LLS. Altorrwys
          REGJNALD E, JONES
    1.7   Se1?ior Trial Attom~ry .     ,. .      , . ,
          U.S, Department ot Jnst1ee; CTmHnal Ihv1mon
          Child Exploitation and Obscenity Section

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